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/LYHUDQG,QWHVWLQH'LVWULEXWLRQ
8VLQJ'LVWDQFHIURP'RQRU+RVSLWDO
%ULHILQJ3DSHU
OPTN/UNOS Liver and Intestine Transplantation Committee



                                                                      3UHSDUHGE\(OL]DEHWK&0LOOHU
                                                                           81263ROLF\'HSDUWPHQW



&RQWHQWV
([HFXWLYH6XPPDU\                                                                                
:KDWSUREOHPZLOOWKLVSURSRVDODGGUHVV"                                                         
:K\VKRXOG\RXVXSSRUWWKLVSURSRVDO"                                                            
  +RZZDVWKLVSURSRVDOGHYHORSHG"                                                               
  /LYHU$OORFDWLRQ                                                                               
  1DWLRQDO/LYHU5HYLHZ%RDUG 1/5%                                                              
  2WKHU$OORFDWLRQ&KDQJHV                                                                       
  2SHUDWLRQDO&KDQJHV                                                                            
:DVWKLVSURSRVDOFKDQJHGLQUHVSRQVHWRSXEOLFFRPPHQW"                                         
:KLFKSRSXODWLRQVDUHLPSDFWHGE\WKLVSURSRVDO"                                                 
  $JH6H[DQG5DFH(WKQLFLW\                                                                   
  6RFLR(FRQRPLF6WDWXV 6(6                                                                     
  1RQ&RQWLJXRXV3URJUDPV                                                                        
+RZGRHVWKLVSURSRVDOLPSDFWWKH23716WUDWHJLF3ODQ"                                           
+RZZLOOWKH2371LPSOHPHQWWKLVSURSRVDO"                                                       
+RZZLOOPHPEHUVLPSOHPHQWWKLVSURSRVDO"                                                        
  +LVWRFRPSDWLELOLW\/DERUDWRULHV                                                                
  7UDQVSODQW+RVSLWDOV                                                                           
  232V                                                                                           
  :LOOWKLVSURSRVDOUHTXLUHPHPEHUVWRVXEPLWDGGLWLRQDOGDWD"                                  
+RZZLOOPHPEHUVEHHYDOXDWHGIRUFRPSOLDQFHZLWKWKLVSURSRVDO"                                 
+RZZLOOWKHVSRQVRULQJ&RPPLWWHHHYDOXDWHZKHWKHUWKLVSURSRVDOZDVVXFFHVVIXOSRVWLPSOHPHQWDWLRQ"
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    $IIHFWHG3ROLFLHV                             'HILQLWLRQV$$FFHSWDEOH9DULDQFHV(2371&RPSXWHU
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    6SRQVRULQJ&RPPLWWHH                          /LYHUDQG,QWHVWLQH7UDQVSODQWDWLRQ
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    %RDUGRI'LUHFWRUV'DWH                       'HFHPEHU
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    7KH2371)LQDO5XOHVHWVUHTXLUHPHQWVIRUDOORFDWLRQSROLFHVGHYHORSHGE\WKH2371LQFOXGLQJVRXQG
    PHGLFDOMXGJHPHQWEHVWXVHRIRUJDQVDELOLW\IRUWUDQVSODQWKRVSLWDOVWRGHFLGHZKHWKHUWRDFFHSWDQ
    RUJDQRIIHUDYRLGLQJZDVWLQJRUJDQVSURPRWLQJSDWLHQWDFFHVVWRWUDQVSODQWDYRLGLQJIXWLOHWUDQVSODQWV
    DQGSURPRWLQJHIILFLHQF\7KH)LQDO5XOHDOVRLQFOXGHVDUHTXLUHPHQWWKDWDOORFDWLRQSROLFLHV³VKDOOQRWEH
    EDVHGRQWKHFDQGLGDWH¶VSODFHRIUHVLGHQFHRUSODFHRIOLVWLQJH[FHSWWRWKHH[WHQWUHTXLUHG´ E\WKHRWKHU
    UHTXLUHPHQWVRIWKH)LQDO5XOHOLVWHGDERYH
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    7KH8QLWHG6WDWHV6HFUHWDU\RI+HDOWKDQG+XPDQ6HUYLFHV ++6 UHFHLYHGFULWLFDOFRPPHQWVUHJDUGLQJ
    FRPSOLDQFHZLWKWKH1DWLRQDO2UJDQ7UDQVSODQW$FW 127$ DQGDVVRFLDWHGUHJXODWLRQVXQGHUWKH2371
    )LQDO5XOHZLWKUHVSHFWWRWKHJHRJUDSKLFXQLWVXVHGLQOLYHUGLVWULEXWLRQ$VRI-XO\++68126
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    7KHOLYHURUJDQGLVWULEXWLRQSROLFLHVFXUUHQWO\XVHGRQDWLRQVHUYLFHDUHDV '6$V DQG2371UHJLRQVDV
    JHRJUDSKLFXQLWVRIGLVWULEXWLRQ7KHVHDUHQRWJRRGSUR[LHVIRUJHRJUDSKLFGLVWDQFHEHWZHHQGRQRUVDQG
    WUDQVSODQWFDQGLGDWHVEHFDXVHWKHGLVSDUDWHVL]HVVKDSHVDQGSRSXODWLRQVRI'6$VDQGUHJLRQVUHVXOW
    LQDQLQFRQVLVWHQWDSSOLFDWLRQIRUDOOFDQGLGDWHV7KLVSUHVHQWVDSRWHQWLDOFRQIOLFWZLWKWKH)LQDO5XOH
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      &RPPLWWHH ZRUNHGWRGHYHORSDSURSRVDOWKDWGRHVQRWLQFOXGH'6$RUUHJLRQLQOLYHUGLVWULEXWLRQRULQ
    VFRULQJOLYHUFDQGLGDWHH[FHSWLRQV7KH%RDUGDOVRFRPPLWWHGWRFRQVLGHULQJVXFKDSURSRVDOLQ
    'HFHPEHU7KHUHIRUHWKH/LYHU&RPPLWWHHZRUNHGWRGHYHORSDSROLF\FRQVLVWHQWZLWKWKH2371
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    DVPXFKDVSRVVLEOHWKHUROHRIDFDQGLGDWH¶VSODFHRIOLVWLQJLQOLYHUDOORFDWLRQZKLOHFRQVLGHULQJWKHEHVW
    XVHRIRUJDQVRUJDQZDVWDJHSDWLHQWDFFHVVDQGWKHHIILFLHQWPDQDJHPHQWRIRUJDQSODFHPHQW,Q
    UHYLHZLQJWKHEHVWXVHRIRUJDQVDQGRUJDQZDVWDJHWKHFRPPLWWHHORRNHGDWWKHQXPEHURIWUDQVSODQWV
    7KH/6$0FDQQRWSUHGLFWRUJDQGLVFDUGVWKHUHIRUHWKH&RPPLWWHHIRFXVHGRQWKHQXPEHURIWUDQVSODQWV
    SHUIRUPHGIRUHDFKPRGHOWKHPRGHOLQJVKRZQRVXEVWDQWLDOGLIIHUHQFHVLQWKHQXPEHURIWUDQVSODQWV
    SHUIRUPHGEHWZHHQWKHPRGHOV:KLOHWKH)LQDO5XOHDOVRSHUPLWVWKHFRQVLGHUDWLRQRIIXWLOHWUDQVSODQWV
    WKDWLVQRWWKHIRFXVRIWKLVSURSRVDODQGLWZDVQRWFRQVLGHUHGE\WKH&RPPLWWHH,QFRQVLGHULQJSDWLHQW
    DFFHVVWKH&RPPLWWHHORRNHGDWWKHVHYHUDOPHWULFVLQFOXGLQJWKHYDULDQFHLQ00D7,QFRQVLGHULQJWKH
    HIILFLHQWPDQDJHPHQWRIRUJDQSODFHPHQWWKH&RPPLWWHHIRFXVHGRQWKHSHUFHQWDJHRIRUJDQVIO\LQJ
    EHFDXVHLQFUHDVHGIOLJKWVLQFUHDVHWKHWLPHDQGFRVWVDVVRFLDWHGZLWKSURFXUHPHQWDQGSODFHDGGLWLRQDO
    EXUGHQRQOLPLWHGSLORWDQGSODQHUHVRXUFHV7KHFRPPLWWHHEDVHGWKHLUGHFLVLRQLQVRXQGPHGLFDO
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 OLWHUDWXUHDQGFRPPXQLW\IHHGEDFN$WWKHFRQFOXVLRQRIWKHLUGHOLEHUDWLRQVWKHFRPPLWWHHFKRVHWKH%&
 PRGHOZLWKD0(/'WKUHVKROG7KHFRPPLWWHHGHWHUPLQHGWKDWWKLVPRGHOUHSUHVHQWHGWKHRSWLPDO
 EDODQFHRIWKHFRPSHWLQJ)LQDO5XOHUHTXLUHPHQWV
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 7KLVSURSRVDOHOLPLQDWHVWKHXVHRI'6$DQGUHJLRQLQOLYHUOLYHULQWHVWLQHLQWHVWLQHDQGOLYHUNLGQH\
 DOORFDWLRQSROLFLHV7KLVSURSRVDOUHIHUUHGWRDVWKH³EURDGHUFLUFOHIUDPHZRUN´ZRXOGDOORFDWHOLYHUVWR
 FDQGLGDWHVZLWKLQRUQDXWLFDOPLOHV QP RIGRQRUKRVSLWDOVEHIRUHRIIHULQJWKHPQDWLRQDOO\
 /LYHUVZRXOGEHDOORFDWHGWRVWDWXV$DQG%FDQGLGDWHVZLWKLQQPILUVW&DQGLGDWHVZLWKD0RGHOIRU
 (QG6WDJH/LYHU'LVHDVH 0(/' VFRUHRIDWOHDVWZRXOGWKHQEHRIIHUHGOLYHUVLIWKH\ZHUHZLWKLQ
 QPRIWKHGRQRUKRVSLWDO7KHQOLYHUVZRXOGEHRIIHUHGWRFDQGLGDWHVZLWKD0(/'RIILUVWZLWKLQ
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 $GGLWLRQDOO\WKHEURDGHUFLUFOHSURSRVDOUHSODFHVPHGLDQ0(/'DWWUDQVSODQW 00D7 LQWKH'6$RU
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 KRVSLWDOIRUSDWLHQWVWKDWDUHDWOHDVW\HDUVROGDQGZLWKWKHPHGLDQ3HGLDWULF(QG6WDJH/LYHU'LVHDVH
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 H[LVWLQJOLYHUDOORFDWLRQYDULDQFHVSURYLGHVDGGLWLRQDOSULRULW\IRUSHGLDWULFFDQGLGDWHVZKHQWKHUHLVD
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 PHGLFDOMXGJHPHQWEHVWXVHRIRUJDQVWKHDELOLW\IRUFHQWHUVWRGHFLGHZKHWKHUWRDFFHSWDQRUJDQRIIHU
 WRDYRLGZDVWLQJRUJDQVSURPRWLQJSDWLHQWDFFHVVWRWUDQVSODQWDYRLGLQJIXWLOHWUDQVSODQWVDQGWR
 SURPRWHHIILFLHQF\7KH)LQDO5XOHDOVRLQFOXGHVDUHTXLUHPHQWWKDWDOORFDWLRQSROLFLHV³VKDOOQRWEH
 EDVHGRQWKHFDQGLGDWH¶VSODFHRIUHVLGHQFHRUSODFHRIOLVWLQJH[FHSWWRWKHH[WHQWUHTXLUHG´E\WKHRWKHU
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 8QLWHG6WDWHVLQQHHGRIDWUDQVSODQWVKRXOGEHFRQVLGHUHGDVDSRWHQWLDOUHFLSLHQWRIHDFKUHWULHYHG
 RUJDQRQDEDVLVHTXDOWRWKDWRIDSDWLHQWZKROLYHVLQWKHDUHDZKHUHWKHRUJDQVRUWLVVXHVDUHUHWULHYHG
 2UJDQVDQGWLVVXHVRXJKWWREHGLVWULEXWHGRQWKHEDVLVRIREMHFWLYHSULRULW\FULWHULDDQGQRWRQWKHEDVLV
 RIDFFLGHQWVRIJHRJUDSK\´ 7KH,QVWLWXWHRI0HGLFLQH ,20 PDGHWKLVVDPHFRQFOXVLRQLQ ,Q
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 $SSHQGL[$7KH6HFUHWDU\FRQWLQXHGWKDW³JHRJUDSKLFFRQVWUDLQWVPD\EHDSSURSULDWHLIWKH\FDQEH
 MXVWLILHGLQOLJKWRIUHJXODWRU\UHTXLUHPHQWVEXWWKDW'6$VDQGUHJLRQVKDYHQRWDQGFDQQRWEHMXVWLILHG
 XQGHUVXFKUHTXLUHPHQWV2QWKLVEDVLVWKH2371%RDUGLVGLUHFWHGWRDGRSWDOLYHUDOORFDWLRQSROLF\
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 7KHSUREOHPIDFLQJWKHWUDQVSODQWFRPPXQLW\LVDOVRZKRVKRXOGPDNHGHFLVLRQVUHJDUGLQJRUJDQ
 GLVWULEXWLRQSROLFLHV7KH-XO\++6OHWWHUVWDWHGWKDW³,IWKH2371%RDUGIDLOVWRDGRSWDOLYHU
 DOORFDWLRQSROLF\WKDWHOLPLQDWHV'6$VDQGUHJLRQVDQGWKDWLVRWKHUZLVHFRQVLVWHQWZLWKWKHUHTXLUHPHQWV
 RIWKH2371)LQDO5XOHWKH6HFUHWDU\PD\H[HUFLVHIXUWKHURSWLRQVRUGLUHFWIXUWKHUDFWLRQFRQVLVWHQWZLWK
 KLVDXWKRULW\XQGHU&)5 G ´7KH2371EHOLHYHVWKDWRUJDQDOORFDWLRQDQGGLVWULEXWLRQ
 GHFLVLRQVDUHEHVWGHFLGHGE\WKHH[SHUWVLQWKHWUDQVSODQWFRPPXQLW\7KHUHIRUHLWLVLPSRUWDQWWKDWWKH
 WUDQVSODQWFRPPXQLW\ZRUNWRJHWKHUWRUHVROYHWKLVLVVXH,QWKHDOWHUQDWLYHWKHFRPPXQLW\ULVNVKDYLQJ
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 YLHZWKDWRUJDQVDQGWLVVXHVDUHDSUHFLRXVQDWLRQDOUHVRXUFHDQGWKDWRQO\WKURXJKWKHFROODERUDWLYHHIIRUWVRIDOO
 SDUWLHVFDQOLYHVEHVDYHG´KWWSVZZZJSRJRYIGV\VSNJ)5KWPOKWP
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 DPHQGPHQWVZDVWRHVWDEOLVKDQRUJDQDOORFDWLRQV\VWHPWKDWIXQFWLRQVHTXLWDEO\RQDQDWLRQZLGHEDVLVZLWK
 SURYLVLRQVIRURXWFRPHVUHSRUWLQJDQGHYDOXDWLRQ3ULRUWRWKHHQDFWPHQWRI127$GHFHDVHGGRQRURUJDQVZHUH
 DOORFDWHGUHJLRQDOO\EDVHGRQUHODWLRQVKLSVEHWZHHQWUDQVSODQWSURJUDPVDQGGRQRUKRVSLWDOV´
 *HRJUDSKLF2UJDQ'LVWULEXWLRQ3ULQFLSOHVDQG0RGHOV5HFRPPHQGDWLRQV5HSRUW23718126$G+RF&RPPLWWHH

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 SHRSOHRQWKHZDLWLQJOLVWDQGDZDLWWUDQVSODQWDWLRQSULRUWRWKHDGRSWLRQRUHIIHFWLYHGDWHRIWKHUHYLVHGSROLFLHVQR
 OHVVIDYRUDEO\WKDQWKH\ZRXOGKDYHEHHQWUHDWHGXQGHUWKHSUHYLRXVSROLFLHV 2IFRXUVHWKH2371ZLOODOVRKDYH
 RSSRUWXQLWLHVLQWKHIXWXUHWRUHILQHPRGLI\DQGLPSURYHDQ\2371OLYHUDOORFDWLRQSROLF\´*HRUJH6LJRXQDVOHWWHUWR
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 7KHSURSRVHGEURDGHUFLUFOHVROXWLRQUHPRYHV'6$VDQGUHJLRQVDVXQLWVRIGLVWULEXWLRQLQOLYHU
 DOORFDWLRQSROLF\DQGUHSODFHVWKHPZLWKUDWLRQDOO\GHWHUPLQHGXQLWVRIGLVWULEXWLRQWKDWDUHLQWHQGHGWR
 HQVXUHWKDWWKHPRVWXUJHQWFDQGLGDWHVDUHSULRULWL]HGWKHUHE\SURPRWLQJSDWLHQWDFFHVVWR
 WUDQVSODQWDWLRQ,WDOVRVWULNHVDQDSSURSULDWHEDODQFHRIWKHRWKHU)LQDO5XOHUHTXLUHPHQWVE\GLVWULEXWLQJ
 RUJDQVDVEURDGO\DVIHDVLEOHZKLOHSURPRWLQJWKHHIILFLHQWPDQDJHPHQWRIRUJDQSODFHPHQWE\PLWLJDWLQJ
 WKHORJLVWLFDOLVVXHVDVVRFLDWHGZLWKGLVWULEXWLQJRUJDQVDFURVVIXUWKHUGLVWDQFHVDQGDYRLGLQJRUJDQ
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 +RZZDVWKLVSURSRVDOGHYHORSHG"
 7KH&RPPLWWHHZDVGLUHFWHGE\WKH3UHVLGHQWRIWKH2371%RDUGRI'LUHFWRUVRQ-XQHWR
 ³SURSRVHUHYLVLRQVWR>DSSURYHGOLYHU@SROLF\WKDWSURYLGH)LQDO5XOHFRPSOLDQWUHSODFHPHQWVIRU
            7KHXVHRIUHJLRQDQG'6$LQOLYHUDQGOLYHULQWHVWLQHDOORFDWLRQ
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 GDWDDYDLODEOHWKH\XVHGWKHEHQHILWRIWKDWH[SHULHQFHDQGWKHZLVGRPJDLQHGWKURXJKH[SHULHQFHWR
 LQWHUSUHWLWDQGEDODQFHLW7KH\UHOLHGRQRQHDQRWKHUIRUWKHEHQHILWRIXQGHUVWDQGLQJWKHGLIIHUHQFHVLQ
 SUDFWLFHDQGWKHGLIIHUHQWFKDOOHQJHVIDFHGE\WKHSDWLHQWSRSXODWLRQDQGWKHWUDQVSODQWFRPPXQLWLHV
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 $GGLWLRQDOO\WKH&RPPLWWHHFROODERUDWHGZLWKPXOWLSOH23718126FRPPLWWHHVUHSUHVHQWLQJSDUWLFXODU
 SDWLHQWJURXSVRUSHUVSHFWLYHVGXULQJWKHGHYHORSPHQWRIWKLVSURSRVDO0HPEHUVRIWKH3HGLDWULF
 7UDQVSODQWDWLRQ&RPPLWWHHMRLQHGWKH&RPPLWWHHDQGFRQWULEXWHGWRGLVFXVVLRQVDERXWWKHLPSDFWRIHDFK
 FKDQJHFRQVLGHUHGRQSHGLDWULFFDQGLGDWHV0HPEHUVRIWKH.LGQH\7UDQVSODQWDWLRQ&RPPLWWHHMRLQHGIRU
 GLVFXVVLRQVDERXWKRZWRDPHQG6/.DOORFDWLRQ0HPEHUVRIWKH0LQRULW\$IIDLUV&RPPLWWHHDQGWKH
 *HRJUDSK\&RPPLWWHHSURYLGHGLQSXWRQKRZWRDGGUHVVDOORFDWLRQWRDQGIURPDUHDVRIWKHQRQ
 FRQWLJXRXV8QLWHG6WDWHV7KH3DWLHQW$IIDLUV&RQVWLWXHQW&RXQFLOSURYLGHGIHHGEDFNWRWKH&RPPLWWHHRQ
 KRZWRH[SODLQWKLVSURSRVDOWRWKHSDWLHQWVZKRZRXOGEHDIIHFWHGDQGH[SUHVVHGDGHVLUHWRWUHDW
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 7KH$G+RF*HRJUDSK\&RPPLWWHHUHFHLYHGUHJXODUXSGDWHVRQWKHZRUNRIWKH&RPPLWWHHDQG
 SURYLGHGIHHGEDFNDERXWZKHWKHUVRPHRIWKHVROXWLRQVWKH&RPPLWWHHFRQVLGHUHGZHUHFRPSOLDQWZLWK
 WKHSULQFLSOHVRIJHRJUDSK\,QSDUWLFXODUWKH*HRJUDSK\&RPPLWWHHFRQVLGHUHGDQLGHDSURSRVHGGXULQJ
 SXEOLFFRPPHQWWRXVHVWDWHVDVWKHILUVWXQLWRIDOORFDWLRQDQGDGMRLQLQJVWDWHVDVWKHLQWHULPXQLW7KH
 *HRJUDSK\&RPPLWWHHQRWHGWKDWVWDWHVZHUHVLPLODUWR'6$VLQWKDWWKH\ZHUHDQRWKHUSUHH[LVWLQJ
 DGPLQLVWUDWLYHERXQGDU\WKDWZHUHQRWRSWLPL]HGIRUWKHDOORFDWLRQRIRUJDQVDQGLWLVWKHUHIRUHXQOLNHO\
 WKDWXVLQJVWDWHVDVXQLWVRIGLVWULEXWLRQIRUOLYHUVLVPRUHFRPSOLDQWZLWKWKH)LQDO5XOHWKDQXVLQJ'6$VRU
 UHJLRQV7KH*HRJUDSK\&RPPLWWHHSURYLGHGIHHGEDFNRQLVVXHVWKDWZHUHDSSOLFDEOHWRRWKHURUJDQV
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 7KH$G+RF&RPPLWWHHRQ*HRJUDSK\ WKH*HRJUDSK\&RPPLWWHH ZDVIRUPHGLQ'HFHPEHUWRH[DPLQHWKH

 SULQFLSOHVRIJHRJUDSKLFGLVWULEXWLRQRIRUJDQV7KH*HRJUDSK\&RPPLWWHHZDVFKDUJHGZLWKHVWDEOLVKLQJJXLGLQJ
 SULQFLSOHVIRUWKHXVHRIJHRJUDSKLFFRQVWUDLQWVLQRUJDQDOORFDWLRQUHYLHZLQJDQGUHFRPPHQGLQJPRGHOVIRU
 LQFRUSRUDWLQJJHRJUDSKLFSULQFLSOHVLQWRDOORFDWLRQSROLFLHVDQGLGHQWLI\LQJXQLIRUPFRQFHSWVIRURUJDQVSHFLILF
 DOORFDWLRQSROLFLHVLQOLJKWRIWKHUHTXLUHPHQWVRIWKH2371)LQDO5XOH
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 KWWSVRSWQWUDQVSODQWKUVDJRYPHPEHUVFRPPLWWHHVDGKRFJHRJUDSK\FRPPLWWHH $ZDLWLQJSXEOLFDWLRQ 



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 :KLOHWKH/LYHU&RPPLWWHHEHJDQZRUNWRUHPRYH'6$VDQGUHJLRQVIURPOLYHUDQGLQWHVWLQHGLVWULEXWLRQ
 WKH([HFXWLYH&RPPLWWHHFKDUJHGVHYHUDORWKHU&RPPLWWHHVWREHJLQVLPLODUZRUN7KH.LGQH\DQG
 3DQFUHDV7UDQVSODQWDWLRQ&RPPLWWHHVZHUHFKDUJHGWRUHPRYH'6$VDQGUHJLRQVIURPWKHLUGLVWULEXWLRQ
 V\VWHPV7KH7KRUDFLF2UJDQ7UDQVSODQWDWLRQ&RPPLWWHHZDVFKDUJHGWRUHPRYH'6$VIURPKHDUW
 DOORFDWLRQ7KH9DVFXODU&RPSRVLWH$OORJUDIW 9&$ 7UDQVSODQW&RPPLWWHHZDVFKDUJHGWRUHPRYH
 UHJLRQVIURPWKHLUGLVWULEXWLRQV\VWHP7KHVHFKDQJHVDUHVFKHGXOHGIRUVSULQJSXEOLFFRPPHQW
 $GGLWLRQDOO\WKH*HRJUDSK\&RPPLWWHHZDVFKDUJHGZLWKHQVXULQJWKDWWKH&RPPLWWHHVPDLQWDLQHGUDSLG
 SURJUHVVRQWKHVHSURMHFWVZLWKFRQVLVWHQWLQWHUSUHWDWLRQDQGDSSOLFDWLRQRIRXUUHTXLUHPHQWVXQGHU
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                                -XO $XJ 6HS 2FW                           1RY 'HF -DQ   )HE      0DU    $SU    0D\ -XQ
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  'LVWULEXWLRQ                                                             
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  /LYHU ,QWHVWLQH                                                          
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  'LVWULEXWLRQ

  .LGQH\3DQFUHDV                                                                                              
                                                                          0RGHOLQJ                3&                       %2'
  'LVWULEXWLRQ

  7KRUDFLF                                                                                                     
                                                                          0RGHOLQJ                3&                       %2'
  'LVWULEXWLRQ


  9&$'LVWULEXWLRQ                                                                          3&                     %2'


  'HYHORS                                                                                                         
  65750RGHOLQJ                                                                                                   
  3XEOLF&RPPHQW                                                                                                  
  %RDUG                                                                                                           
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 ,QSXEOLFFRPPHQWDQGLQWKH&RPPLWWHH¶VGLVFXVVLRQVWKHFRPSRQHQWVRIWKLVSURSRVDOZHUHGHEDWHGDW
 OHQJWK7KHUHZDVQRFOHDUXQDQLPRXVSDWKIRUZDUGEXWXQDQLPLW\LVQRWUHTXLUHG ,QVWHDGRIUHO\LQJ
 RQXQDQLPLW\WKH&RPPLWWHH¶VUHFRPPHQGDWLRQLVEDVHGRQDEDODQFHRIWKH)LQDO5XOHIDFWRUV
 8OWLPDWHO\WKH%RDUGRI'LUHFWRUVZLOOEHUHVSRQVLEOHIRUDGRSWLQJDVROXWLRQDIWHUEDODQFLQJWKH)LQDO5XOH
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 GLVWULEXWLRQSROLF\FRQVLVWHQWZLWK127$DQGWKH2371)LQDO5XOH7KH&RPPLWWHH¶VVHFRQGDU\JRDOZDV

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 ³:HXQGHUVWDQGWKDWOLYHUDOORFDWLRQSROLF\LVFRPSOLFDWHGDQGWKDWWKHUHLVDQDEVHQFHRIXQDQLPLW\DPRQJ

 WUDQVSODQWVWDNHKROGHUVDQGWKHSXEOLFFRQFHUQLQJWKHRSWLPDOPHWKRGVRIOLYHUDOORFDWLRQ,WDSSHDUVWKDWDFKLHYLQJ
 FRQVHQVXVIRUDQHZOLYHUDOORFDWLRQSROLF\PD\QRWEHSRVVLEOH6XFKFRQVHQVXVLVQRWUHTXLUHGXQGHUWKH2371ILQDO
 UXOHDQGVKRXOGQRWEHDEDUULHUWRDGRSWLQJDOLYHUDOORFDWLRQSROLF\WKDWFRPSOLHVZLWKWKH2371ILQDOUXOH´*HRUJH
 6LJRXQDVOHWWHUWR6XH'XQQ23713UHVLGHQW-XO\



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 WRHQVXUHWKDWDQ\QHZO\SURSRVHGV\VWHPSHUIRUPHGDVZHOODVRUEHWWHUWKDQWKH'HFHPEHU
 SURSRVDOZLWKUHJDUGWRUHGXFLQJYDULDQFHLQPHGLDQ0(/'DWWUDQVSODQWDVDPHDVXUHRIHTXLW\LQDFFHVV
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 GLVWULEXWLRQV\VWHP7KH*HRJUDSK\&RPPLWWHHUHFHQWO\VSRQVRUHGDSXEOLFFRPPHQWSURSRVDOWRLGHQWLI\
 DVLQJOHGLVWULEXWLRQIUDPHZRUNIRUDOORUJDQV %HFDXVHWKDWSURMHFWLVDORQJWHUPHIILFLHQF\SURMHFWIRU
 WKH2371LWZDVQRWQHFHVVDU\WRFKRRVHDVLQJOHGLVWULEXWLRQIUDPHZRUNIRUDOORUJDQVILUVWKRZHYHUWKH
 /LYHU&RPPLWWHHZDVLQVWUXFWHGWRGHYHORSWKHLUUHYLVHGIUDPHZRUNFRQVLVWHQWZLWKRQHRIWKHIUDPHZRUNV
 EHLQJFRQVLGHUHGE\WKH*HRJUDSK\&RPPLWWHH2YHUWKHODVWVHYHUDO\HDUVWKH/LYHU&RPPLWWHH
 FRQVLGHUHGVHYHUDOIUDPHZRUNVIRURUJDQGLVWULEXWLRQ7KH&RPPLWWHHZDVZLOOLQJWRFRQVLGHUDQ\
 SURSRVDOVXSSRUWHGE\HYLGHQFHVXFKDVPRGHOLQJE\WKH6575DQGWKDWPHHWVWKHGXDOUHTXLUHPHQWVWR
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 7KH&RPPLWWHHLQLWLDOO\FRQVLGHUHGZKHWKHULWZRXOGEHSRVVLEOHWRDOORFDWHOLYHUVZLWKRXWDQ\
 FRQVLGHUDWLRQIRUJHRJUDSK\7KLVZRXOGIXOILOOWKH)LQDO5XOHUHTXLUHPHQWWKDWDOORFDWLRQ³QRWEHEDVHGRQ
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 FRPPHQWWKH$WWRUQH\*HQHUDOVRI1HZ<RUNDQG&DOLIRUQLDDQGVRPHRWKHUFRPPHQWHUVVXSSRUWHGD
 V\VWHPZLWKRXWJHRJUDSKLFFRQVWUDLQWV 7KH\FRQWHQGWKDWDQ\JHRJUDSKLFERXQGDULHVZRXOGFRQWLQXHWR
 GLVDGYDQWDJHVRPHSDWLHQWVEDVHGRQWKHLUOLVWLQJORFDWLRQEHFDXVHWKHUHZRXOGVWLOOEHDUHDVRIWKH
 FRXQWU\ZKHUHWKHOLNHOLKRRGRIGHDWKIURPOLYHUGLVHDVHLVKLJKHUWKDQRWKHUORFDWLRQV
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 UHTXLUHPHQWVUHJDUGLQJHIILFLHQF\DQGRUJDQZDVWDJH$VGLVFXVVHGLQPRUHGHWDLOEHORZDOORFDWLQJ
 RUJDQVWRFDQGLGDWHVZKRDUHFORVHUWRWKHGRQRUKRVSLWDOUHGXFHVWKHFRVWVRIWUDQVSRUWDWLRQUHGXFHV
 WKHORJLVWLFDOGLIILFXOWLHVWKDWFRXOGOHDGWRGLVFDUGVDQGUHGXFHVWKHDPRXQWRILVFKHPLFWLPHIRUDQ
 RUJDQ7KHUHIRUHWKH&RPPLWWHHRSWHGWRSXUVXHDSROLF\WKDWZRXOGLQFOXGHVRPHFRQVLGHUDWLRQRI
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 SODFHPHQW PLQLPL]LQJWUDQVSRUWWLPHDQGORJLVWLFVE\SULRULWL]LQJWUDQVSODQWDQGGRQRUKRVSLWDOVWKDWDUH
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 7KLVZRXOGPLWLJDWHDGGLWLRQDOFRVWVSRWHQWLDOOLPLWVRQDYDLODEOHSODQHVSLORWVDQGUHFRYHU\WHDPVDQG
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 7UDYHO´$P-7UDQVSODQWQR 2FW SJǦKWWSVGRLRUJM[
 $VVRFLDWHG3UHVV³0D\R&OLQLF:RUNHUV'LHLQ)OD+HOLFRSWHU&UDVK´$FFHVVHG1RYHPEHU

 KWWSVZZZFEVQHZVFRPQHZVPD\RFOLQLFZRUNHUVGLHLQIODKHOLFRSWHUFUDVK DFFHVVHG1RYHPEHU 
 7KHUHKDYHEHHQDWOHDVWSXEOLFDOO\UHSRUWHGIDWDORUJDQSURFXUHPHQWDFFLGHQWVEHWZHHQDQGLQWKH

 8QLWHG6WDWHVZLWKIDWDOLWLHVEHWZHHQWKHP7KHUHZHUHDQDGGLWLRQDOFUDVKHVLQWKDWWLPHSHULRGLQRWKHU
 FRXQWULHVZLWKDQDGGLWLRQDOIDWDOLWLHV6HH(QJOHVEH³5LVNLHVW-RELQ0HGLFLQH´DWQRWH
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    6FLHQWLILF5HJLVWU\RI7UDQVSODQW5HFLSLHQWV6575/,BB6HSW
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 LQFUHDVHLQWKHIO\LQJKRXUVUHTXLUHGIRUFRPPHUFLDOSLORWV WKHDJLQJSLORWZRUNIRUFHIHZHUQHZSLORWV
 FRPLQJRXWRIWKHPLOLWDU\DQGDJHQHUDOGHFOLQHRILQWHUHVWLQWKHFDUHHU´&RPPLWWHHPHPEHUVDOVR
 H[SUHVVHGDGGLWLRQDOWUDQVSRUWDWLRQFKDOOHQJHVUHVXOWLQJIURPQHZUHJXODWLRQVJRYHUQLQJFUHZGXW\DQG
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 *LYHQWKHLQFUHDVLQJVFDUFLW\RIERWKIOLJKWVDQGSLORWVWKH&RPPLWWHHFRQVLGHUHGWKHSHUFHQWDJHRI
 RUJDQVIORZQLQHDFKVFHQDULR6LJQLILFDQWLQFUHDVHVLQWKHQHHGIRUIOLJKWVFRXOGOHDGWRDQLQFUHDVHLQ
 RUJDQRIIHUVWKDWZHUHXQDEOHWREHDFFHSWHGEHFDXVHIOLJKWVRUSLORWVZHUHQRWDYDLODEOH,QWKDWFDVH
 DGGLWLRQDORIIHUVWRFDQGLGDWHVIXUWKHUDZD\IURPWKHGRQRUKRVSLWDOZRXOGLQFUHDVHDOORFDWLRQWLPHDQG
 GHFUHDVHHIILFLHQF\RIRUJDQSODFHPHQW
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 ,QWKHDEVHQFHRIGHILQLWLYHGDWDDERXWWKHHIIHFWRIWKHDYDLODELOLW\RISLORWVDQGIOLJKWVRQRUJDQUHFRYHU\
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 UHVSRQGLQJWKDWWKHUHKDYHEHHQWLPHVZKHQWKH\ZHUHXQDEOHWRILQGDSLORWIRUDVXUJHRQ  RUIRU
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 XQDEOHWRILQGDSODQHRUSLORWIRUDVXUJHRQRILQWHUYLHZHHVUHSRUWHGDLUSRUWUHVWULFWLRQVLQIOXHQFLQJ
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 WKHUHKDYHEHHQWLPHVZKHQVRPH232VH[SHULHQFHGLIILFXOW\ILQGLQJDLUSRUWVSLORWVRUSODQHVDOWKRXJK
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 &RPPLWWHHPHPEHUVGLGDFNQRZOHGJHWKDWLQFUHDVHGXVHRIORFDOUHFRYHU\WHDPVRURUJDQUHFRYHU\
 FHQWHUVFRXOGEHRQHZD\WRPLWLJDWHDGGLWLRQDOWUDYHOVLQFHWUDQVSRUWLQJDQRUJDQLVVLPSOHUWKDQ
 WUDQVSRUWLQJDUHFRYHU\WHDPURXQGWULS+RZHYHUQRWDOODUHDVKDYHSURFXUHPHQWFHQWHUVRUDUHVHWXS
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 6HH$LU6DIHW\,QVWLWXWH³$JLQJDQGWKH*HQHUDO$YLDWLRQ3LORW5HVHDUFKDQG5HFRPPHQGDWLRQV´$FFHVVHG

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 LQGXVWU\DQGUDLVHVLPSRUWDQWTXHVWLRQVDERXWWKHYLDELOLW\RIRXUFXUUHQWIOLJKWWUDLQLQJPRGHOWKHSHUFHSWLRQRI
 JHQHUDODYLDWLRQ *$ DPRQJQRQSLORWVDQGRWKHUIDFWRUV´ 
 0DULD*DUFLD)RUEHV³$GYRFDWHV:RUU\WKDW&KDQJHVWR*,%LOO:LOO0DNH3LORW&ULVLV:RUVH´DFFHVVHG2FWREHU

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 5DFKHO3UHPDFN³$LUOLQHVDUH GHVSHUDWH IRUQHZSLORWVDQGWKHVKRUWDJHLVFRQWULEXWLQJWRFDQFHOHGURXWHVWKDW

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 'HPDQG&XUUHQW6WDWHDQG(IIHFWVRI5HFHQW/HJLVODWLRQ´5$1'&RUSRUDWLRQ3 0DUFK 
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 ,QWKHFDVHRIRQHSURFXUHPHQWFHQWHUSDWLHQWDQGJUDIWVXUYLYDOZHUHVLPLODUZKHWKHUWKHOLYHUZDVSURFXUHGDWWKH

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 WRHQVXUHWKDWWKHUHDUHUHFRYHU\VXUJHRQVDYDLODEOHDWHYHU\GRQRUKRVSLWDO,QWKHIXWXUHLIPRUH232V
 XVHUHFRYHU\FHQWHUVRUGHYHORSWKHLUORFDOUHFRYHU\WHDPVWKHQUHFRYHU\WHDPVPD\QRWQHHGWRWUDYHO
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 6RPHFRPPHQWHUVZHUHDOVRFRQFHUQHGWKHUHZRXOGEHDQLQFUHDVHLQXQIDYRUDEOHRXWFRPHVRI
 WUDQVSODQWVLIOLYHUVLQFXUUHGPRUHFROGLVFKHPLFWLPHDVDUHVXOWRIWUDQVSRUWDWLRQ'HVSLWHWKHVH
 FRQFHUQVWKH6575PRGHOLQJUHVXOWVGLGQRWVKRZDSUHGLFWHGFKDQJHLQSRVWWUDQVSODQWPRUWDOLW\
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 HYLGHQFHWKDWWKHSURSRVDOZRXOGQRWUHVXOWLQIXWLOHWUDQVSODQWVDQGFRQWULEXWHVWRPDNLQJWKHEHVWXVHRI
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                     7UDQVSODQW              7UDQVSODQW   :DLWOLVW     :DLWOLVW      3RVW           3RVW
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 EHFDXVHWKH)LQDO5XOHSHUPLWVWKHFRQVLGHUDWLRQRIWKH³HIILFLHQWPDQDJHPHQWRIRUJDQSODFHPHQW´
 &RVWVUHODWHGWRWKHHIILFLHQWPDQDJHPHQWRIRUJDQSODFHPHQWDUHDVXEVHWRIWKHWRWDOFRVWWRFDUHIRU
 HQGVWDJHRUJDQIDLOXUHSDWLHQWVRURUJDQWUDQVSODQWDWLRQ7KH2371GRHVQRWURXWLQHO\FROOHFWFRVW
 LQIRUPDWLRQIURPPHPEHUVQRUGRHVWKH/6$0SUHGLFWWUDQVSODQWDWLRQFRVWV7KH/6$0FDQSUHGLFWWKH
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 RQ&LUFOH%DVHG$OORFDWLRQ
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 SODFHPHQW
 :KLOHVRPHZHUHFRQFHUQHGWKDWWKHLQFUHDVHVLQIO\LQJZRXOGLQFUHDVHWKHFRVWVRISURFXUHPHQWRWKHUV
 RSLQHGWKDWWKHFRVWVDYLQJVDVVRFLDWHGZLWKUHGXFLQJZDLWLQJOLVWGHDWKVZRXOGPRUHWKDQRIIVHWDQ\
 DGGLWLRQDOFRVWVDVVRFLDWHGZLWKDGGLWLRQDOIOLJKWV2QHDUWLFOHORRNHGDWWKHUHGLVWULFWLQJSURSRVDOV
 DQGIRXQGWKDW³'HVSLWHQRDGGLWLRQDOOLYHUVEHLQJWUDQVSODQWHGWKHH[SRUWLQJDQGVXEVHTXHQWLPSRUWLQJ
 RIRURIOLYHUVLQFUHDVHGWKHFRVWVRQWKHFRVWUHSRUWDWWULEXWHGWROLYHUVIRUHDFK232IURPDORZ
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 &RPPLWWHHGHFLGHGWKDWWKHUHZDVWKHSRVVLELOLW\RIXQLQWHQGHGFRQVHTXHQFHVEXWQRWDQ\FHUWDLQW\DQG
 FRPPLWWHGWRPRQLWRULQJWKHLPSDFWPRYLQJIRUZDUG
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      + 'RQRUIDPLOLHV
 6RPHFRPPHQWHUVVXJJHVWHGWKDWRUJDQGRQRUVZRXOGQRWGRQDWHLIWKH\GLGQRWEHOLHYHWKHLUOLYHUZRXOG
 EHXVHGORFDOO\ LQFOXGLQJVRPHFRPPHQWHUVZKRVDLGWKH\WKHPVHOYHVIHOWWKLVZD\ +RZHYHUDQDWLRQDO
 VXUYH\FRQGXFWHGE\WKH86'HSDUWPHQWRI+HDOWKDQG+XPDQ6HUYLFHVLQVKRZHGWKDWRI
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 WKH\OLYHLQWKH86´7KLVVXUYH\ZDVLQOLQHZLWKWKH&RPPLWWHHPHPEHUV¶H[SHULHQFH7KH&RPPLWWHH
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 KWWSVRSWQWUDQVSODQWKUVDJRYJRYHUQDQFHSXEOLFFRPPHQWOLYHUDQGLQWHVWLQHGLVWULEXWLRQXVLQJGLVWDQFHIURP

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 GHFLGHGWKDWWKHULVNRIOHVVGRQDWLRQVZDVPLQLPDODQGQRWDVXIILFLHQWUHDVRQWROLPLWRUJDQDOORFDWLRQWR
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 ZDVQRVROXWLRQWKDWSHUIHFWO\HTXDOL]HGGLVSDULW\LQ00D7DQGHOLPLQDWHGWKHULVNVDQGFRVWVRIIO\LQJ
 +RZHYHUWKH%&FRQFHSWLPSURYHVWKHYDULDQFHLQ00D7FRPSDUHGWRWKHFXUUHQWV\VWHPRUWKH
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 RZQFROOHFWLYHSUDFWLFHVWKH&RPPLWWHHDJUHHGWKDWQPZDVDSSUR[LPDWHO\WKHGLVWDQFHDWZKLFK
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 DVLJQLILFDQWMXPSLQFRVWVRIWUDQVSRUWDWLRQIRUDWUDQVSODQWDQGLQFUHDVHGFRVWVPDNHWKHSURFHVVIRU
 PDQDJLQJRUJDQSODFHPHQWOHVVHIILFLHQW7KH&RPPLWWHHEDODQFHGWKLVQHHGIRUHIILFLHQF\DVGLUHFWHG
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 LQHIILFLHQFLHVRIDV\VWHPZLWKRXWJHRJUDSKLFFRQVWUDLQWV7KH\WKHUHIRUHLQFOXGHGDGLVWULEXWLRQXQLW
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 ZKLFKWUDYHOFKDQJHGIURPGULYLQJWRIO\LQJYDULHGGHSHQGLQJRQORFDOIDFWRUVVXFKDVDFFHVVWRDLUSRUWV
 ORFDOWUDIILFSDWWHUQVDQGVXUJHRQSLORWDQGDLUSODQHDYDLODELOLW\,QVRPHDUHDVVXUJHRQVURXWLQHO\GULYH
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 7KH2SHUDWLRQVDQG6DIHW\&RPPLWWHHDOVRFRQGXFWHGDVHULHVRILQWHUYLHZVZLWKUHSUHVHQWDWLYHVRIRI
 WKH232VLQDGGLWLRQWRWUDQVSODQWKRVSLWDOV ZKLOHWKLVSURSRVDOZDVXQGHUGHYHORSPHQWDQG
 SURYLGHGWKHUHVXOWVWRWKH&RPPLWWHH2IWKH 232VDQGWUDQVSODQWKRVSLWDOV WKDWSURYLGHGD
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 PHGLDQFRVWRIDORFDOGRQRU LQFOXGLQJDOOORFDOGULYLQJDQGORFDOIO\LQJWUDQVSRUWDWLRQHSLVRGHV ZDV0HGLDQ
 OLYHUSURFXUHPHQWWUDQVSRUWDWLRQFRVWVLQFUHDVHGVLJQLILFDQWO\IRUUHJLRQDOIOLJKWWUDYHOUDQJLQJIURPIRUIOLJKWV
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 UHVSRQVHUHJDUGLQJWKHIXUWKHVWGLVWDQFHWKH\PLJKWKDYHWRGULYHWRGHOLYHUDOLYHUDUHZLOOLQJWRGULYH
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 DQRWKHURQHPD\GULYHXSWRPLOHV7KLVDSSHDUVWRVXSSRUWWKHUDQJHWKDWWKH&RPPLWWHHVHOHFWHG
 DVWKHFLUFOHVL]HV±WKDWVRPHIO\RYHUVKRUWGLVWDQFHVEXWRWKHUVPLJKWGULYHDVIDUDVPLOHV
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   YDULDWLRQVLQJHRJUDSK\DQGORJLVWLFVDFURVVWKHFRXQW\8VLQJGLIIHUHQWVL]HGFLUFOHVDOORZVIRUVRPH
   JHRJUDSKLFDOYDULDWLRQZKLOHDWWHPSWLQJWRPLQLPL]HWKHDGGLWLRQDOFRVWVDQGULVNVRIIO\LQJWKDWLPSDFWWKH
   HIILFLHQF\RIRUJDQSODFHPHQW$UDQJHRIQPIURPWKHGRQRUKRVSLWDOSURYLGHGDGLVWDQFHDWZKLFK
   PRVWEXWQRWDOOSURJUDPVZRXOGXVHDLUWUDQVSRUWDWLRQLIDGRQRUZDVDWWKHHGJHRIWKHUDQJH7KLV
   EDODQFHGWKHHIILFLHQF\RIDYRLGLQJDLUWUDYHODQGWKHYDULDWLRQRIKRVSLWDODQG232SUDFWLFH
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 SDWLHQWVFRPSDUHGWRWKHFXUUHQWV\VWHP0RGHOVXVHGODUJHFLUFOHVRIDQGQPWRUHVSHFWWKH
 2371)LQDO5XOHGLUHFWLYHWR³DYRLGZDVWLQJRUJDQV´EHFDXVHWKHGDWDVKRZWKDWQLQHW\ILYHSHUFHQWRI
 OLYHUVDUHFXUUHQWO\WUDQVSODQWHGZLWKLQQPDQGDUHWUDQVSODQWHGZLWKLQQPRIWKHGRQRU
 KRVSLWDO7KH&RPPLWWHHZDQWHGWRPDNHVXUHWKDWFDQGLGDWHVZKRZRXOGFXUUHQWO\KDYHDFFHVVWR
 OLYHUVZLWKLQQDXWLFDOPLOHVRIWKHGRQRUKRVSLWDOZRXOGFRQWLQXHWRDVFRPSDUHGWRDV\VWHPZKHUH
 WKHUHZDVQRFLUFOHELJJHUWKDQQP,QWKDWFDVHWKHOLYHUZRXOGEHRIIHUHGQDWLRQDOO\SRWHQWLDOO\
 E\SDVVLQJVRPHFDQGLGDWHVZKRZRXOGFXUUHQWO\KDYHDFFHVVGXHWRWKHLUORFDWLRQZLWKLQQPRIWKH
 GRQRUKRVSLWDO7KH&RPPLWWHHGLGFRQVLGHUWKHLPSDFWRQFXUUHQWO\ZDLWLQJFDQGLGDWHVDQGGLGQRWZDQW
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 GLIIHUHQFHLQWKHHIILFLHQF\RIUHFRYHULQJDOLYHUIURPQPDZD\DQGRQHWKDWLVQPDZD\
 EHFDXVHLQHLWKHUFDVHLWLVDVLJQLILFDQWIOLJKW,QERWKFDVHVDPRUHGHVLUDEOHOLYHUFDQZLWKVWDQGWKH
 FROGLVFKHPLFWLPH7KH&RPPLWWHHPHPEHUVDJUHHGWKDWWKHUHZDVQRQHHGWROLPLWDOORFDWLRQE\
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 &RPPLWWHHSURSRVHVDOORFDWLQJWROLYHUFDQGLGDWHVZLWK0(/'3(/'DQGKLJKHULQGHFUHDVLQJRUGHURI
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 FRQVLGHUDWLRQVIRUHIILFLHQF\DFFHVVDQGDYRLGLQJZDVWDJHRIRUJDQV E\PLQLPL]LQJWUDYHOIRUOHVV
 XUJHQWFDQGLGDWHVVRWKDWWKHV\VWHPFDQDEVRUELQFUHDVHVLQWUDYHOIRUWKHPRVWXUJHQWFDQGLGDWHV
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 7KH&RPPLWWHHGLVFXVVHGZKHWKHULWZRXOGEHEHWWHUWRXVHUHFRYHU\FHQWHUVRUGRQRUKRVSLWDOVDVWKH
 GRQRUORFDWLRQZKHQDUHFRYHU\FHQWHULVXVHG7KH&RPPLWWHHFRQVLGHUHGZKHWKHUWKHPRUHUHOHYDQW
 JHRJUDSKLFORFDWLRQZDVWKLVUHFRYHU\FHQWHU7KHDGYDQWDJHRIXVLQJWKHUHFRYHU\FHQWHULVWKDWLVWKH
 SRLQWIURPZKLFKDQ\FROGLVFKHPLFWLPHZLOOEHJLQDQGZKHUHWUDYHOZLOORULJLQDWH7KHDGYDQWDJHRIXVLQJ
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 FRQVWLWXHQWJURXSVZHUHUHSUHVHQWHGLQSXEOLFFRPPHQWUHVSRQGHQWV232VZHUHWKHRQO\FRQVWLWXHQW
 JURXSWKDWIDYRUHGWKH&RPPLWWHH¶VSURSRVHGFLUFOHVVL]HVWKHPRVW+LVWRFRPSDWLELOLW\ODEVDQG
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 WKUHVKROG&RPPHQWHUVZKRIDYRUHGODUJHUFLUFOHVWHQGHGWRIDYRUDORZHUWKUHVKROGDQGWKRVHZKR
 IDYRUHGDVPDOOHUFLUFOHIDYRUHGDKLJKHUWKUHVKROG7KLVLVQRWVXUSULVLQJVLQFHDODUJHUFLUFOHVL]HDQG
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 FHUWDLQSDWLHQWV2WKHUVZHUHFRQFHUQHGZLWKPDLQWDLQLQJDFFHVVIRUDUHDVRIWKHFRXQWU\ZLWKKLJK
 SUHYDOHQFHRIOLYHUGLVHDVH7KHFRPPHQWVDERXWDUHDVWKDWLQFOXGHWKRVHZLWKRXWGRQRUVVXFKDV
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 HIILFLHQWSODFHPHQWRIRUJDQVEHFDXVHLIDQRUJDQKDVEHHQRIIHUHGWRHQRXJKFDQGLGDWHVDOUHDG\ZKR
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 $GGLWLRQDOO\RQO\DVPDOOQXPEHURIFDQGLGDWHVDUHOLVWHGZLWKWKHVHVWDWXVHVDWDQ\JLYHQWLPHVRWKHUH
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 FRPPHQWHUVSURSRVHGDWKUHVKROGRILQRUGHUWRLQFUHDVHGLVWULEXWLRQDQGIXUWKHUUHGXFHZDLWOLVW
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 7KH&RPPLWWHHFRQVLGHUHG00D7IRUWKHQDWLRQDQPFLUFOHDQPFLUFOHRUDQPFLUFOH
 DURXQGWKHWUDQVSODQWKRVSLWDO7KHQDWLRQDO00D7IDLOHGWRDFFRXQWIRUWKHYDULDWLRQLQ00D7EDVHGRQ
 ORFDWLRQ6LQFHWKDWYDULDQFHLVWKHSUREOHPWKDW00D7EDVHGVFRUHVDGGUHVVDQDWLRQDOVFRUHZDV
 LQDSSURSULDWH7KH&RPPLWWHHWKHQFRQVLGHUHGWKHGLIIHUHQWUDGLXVFLUFOHV,WZDVLPSRUWDQWWREDODQFH
 NHHSLQJWKHDUHDVPDOOHQRXJKWRUHIOHFWJHRJUDSKLFGLIIHUHQFHVZLWKNHHSLQJLWODUJHHQRXJKWKDWWKH
 QXPEHUZRXOGQRWIOXFWXDWHZLOGO\ZLWKHDFKUHFDOFXODWLRQDQGZLWKSURYLGLQJDIUDPHZRUNWKDWZRXOG
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 UHVXOWDQGVLPLODUQXPEHUVRIFHQWHUVLQZKLFKWKH00D7ZDVFORVHWRZKDWLWZRXOGKDYHEHHQLIEDVHG
 RQWKHFHQWHU¶V'6$7KHUHODWLRQVKLSWR'6$LVUHOHYDQWEHFDXVHWKHEHQHILWRIXVLQJD00D7V\VWHP
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 LWLVUHDVRQDEOHWRDVVXPHWKDWDV\VWHPWKDWZDVDWOHDVWLQVRPHZD\VVLPLODUWRWKHRQHWKDWZDV
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 PRGHOHGZRXOGSHUIRUPVLPLODUO\7KHQPFRKRUWKDVDVOLJKWO\VPDOOHUUDQJHRI00D7VFRUHVDQGLV
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 GRQRUKRVSLWDODQGWKHRWKHULVGUDZQDURXQGWKHWUDQVSODQWKRVSLWDO WKHVHGLVWDQFHVZHUHFRQVLGHUHG
 WKHPRVWUHDVRQDEOHPHDVXUHVRIVLPLODUO\VLWXDWHGFDQGLGDWHVZKRWKHFDQGLGDWHZRXOGEHFRPSHWLQJ
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 WKH00D7XVHGIRUSDWLHQWVDWWKDWWUDQVSODQWKRVSLWDOZRXOGEHEDVHGRQDQPFLUFOHDURXQGWKH
 WUDQVSODQWKRVSLWDO7KHUHIRUHWKHUHFRXOGEHPXOWLSOHFDQGLGDWHVZLWKLQQPRIWKHGRQRUKRVSLWDOZKR
 HDFKKDYHH[FHSWLRQVWKDWDUH00D7EXWZKRKDYHGLIIHUHQWH[FHSWLRQVFRUHQXPEHUV2YHUWLPHWKLV
 LVH[SHFWHGWRHYHQRXWRQFHWKHLPSDFWVRIWKH1/5%DQGQHZDOORFDWLRQKDYHKHOSHGWRHYHQRXWWKH
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 KRVSLWDOIRUDOOFDQGLGDWHVZLWKD0(/'VFRUH DQ\FDQGLGDWHVUHJLVWHUHGDWDJHRUROGHU WRFDOFXODWH
 00D7$ODUJHUSK\VLFDODUHDPHDQVWKDWHDFKFRKRUWLVPRUHOLNHO\WRLQFOXGHPRUHWUDQVSODQWKRVSLWDOV




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 DQGWKHUHIRUHPRUHUHFLSLHQWV7KHODUJHUQXPEHURILQGLYLGXDOVLQFOXGHGPDNHVDQPUDGLXVPRUH
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 WKHVDPHGRQRUSRRO$QPUDGLXVZDVUHMHFWHGEHFDXVHRQFHWKHFLUFOHJHWVWKDWELJWKHSRROLVVR
 ODUJHWKDWLWIODWWHQVRXWFORVHUWRDQDWLRQDOPHGLDQ7KLVZRXOGGLVDGYDQWDJHH[FHSWLRQFDQGLGDWHVZKR
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 FDQGLGDWHV%HFDXVHWKHUHDUHVLJQLILFDQWO\IHZHUWUDQVSODQWVDPRQJWKLVJURXSDQGWKHELJJHUGLVSDULW\
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 WHQGWREHWUDQVSODQWHGLQFDQGLGDWHVORZHURQWKHPDWFKDWORZHU0(/'RU3(/'VFRUHV8QGHUWKHQHZ
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 PDWFKDVZHOOVLQFHWKH\ZLOOEHLQORZHUDOORFDWLRQVHTXHQFHV7KH\DUHPRUHDJJUHVVLYHWUDQVSODQWV
 DQGLQFOXGLQJWKHPLQWKH00D7FDOFXODWLRQFRXOGSRWHQWLDOO\VHUYHDVDGLVLQFHQWLYHWRXVHRIWKHVH
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 FKDQJHVLQRUGHUWRSURYLGHVXIILFLHQWWLPHIRUH[FHSWLRQVFRUHVWREHDGMXVWHGDQGIRUPHPEHUVWR
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 ZDVQRWLQWHQWLRQDODQGWKH&RPPLWWHHSURSRVHVWRFKDQJHLWWRUHIOHFWWKDWRQO\WKRVHWKDWGRQRWPHHW
 VWDQGDUGFULWHULDQHHGWREHUHYLHZHGE\WKH/LYHU&RPPLWWHH7KLVLVDFRUUHFWLRQRIDQLQDGYHUWHQW
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 FDQGLGDWHNHHSVWKHH[FHSWLRQVFRUHIRUORQJHU+RZHYHULWZDVDJUHHGWKDWWKLVZDVOHVVOLNHO\WR
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 SHGLDWULFSDWLHQWVZKRWKH&RPPLWWHHFRQVLGHUVHTXDOO\DVVLFNDQGLQQHHGRIDQH[FHSWLRQZKRZRXOG
 QRWPHHW0LODQFULWHULD7KHLGHDRIFUHDWLQJVHSDUDWHFULWHULDIRUSHGLDWULFFDQGLGDWHVZDVFRQVLGHUHG
 +RZHYHUDIWHUFRQVLGHULQJWKHVPDOOQXPEHUVRIWKHVHSDWLHQWVWKH&RPPLWWHHSURSRVHVWKDWSHGLDWULF
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 FULWHULDOLVWHG7KH&RPPLWWHHPHPEHUVSURSRVHGFKDQJLQJWKHOLVWKHDGHUWRVWDWHWKDW³DWOHDVWRQH´LV
 UHTXLUHG7KLVLVLQOLQHZLWKZKDWWKHUHTXLUHPHQWKDVEHHQKLVWRULFDOO\DQGWKHFRPPLWWHHEHOLHYHGWKDW
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 KDYLQJDQHMHFWLRQIUDFWLRQRIOHVVWKDQ$WWKHWLPHRIH[WHQVLRQHMHFWLRQIUDFWLRQLVUHTXLUHG
 ([WHQVLRQFULWHULDFXUUHQWO\LQFOXGHVQRPHQWLRQRIDKHDUWUHJLVWUDWLRQDVDQRSWLRQWRPHHWFULWHULDOLNHWKH
 LQLWLDOFULWHULDGRHV7KH&RPPLWWHHPHPEHUVSURSRVHWKDWDFDQGLGDWHEHDEOHWRFRQWLQXHWRTXDOLI\
 EDVHGRQEHLQJOLVWHGIRUDKHDUWRQH[WHQVLRQ,IDFDQGLGDWHQHHGVDKHDUWWUDQVSODQWWKDWVKRXOGEHD
 UHDVRQWRFRQWLQXHWRJUDQWDQH[FHSWLRQIRU)$37KH&RPPLWWHHGLGQRWVHHDQ\EHQHILWWRIRUFLQJD
 FDQGLGDWHWRDSSHDOWRWKH1/5%LQWKDWFDVHVLQFHWKH\ZRXOGDGYLVHWKDWWKH1/5%JUDQWWKHH[FHSWLRQ
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 SURSRVHVUHPRYLQJWKHRSWLRQIRUDVWDQGDUG0(/'3(/'H[FHSWLRQIRUSHGLDWULFFDQGLGDWHVIRUD+$7



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 SRWHQWLDOO\PLVOHDGLQJVHFWLRQDQGKHOSGLUHFWOLYHUSURJUDPVWRWKHH[FHSWLRQWKDWLVPRVWUHOHYDQWDQG
 DSSURSULDWHIRUSHGLDWULFFDQGLGDWHV,WZLOOKHOSDYRLGVLPLODUSDWLHQWVEHLQJWUHDWHGGLIIHUHQWO\EHFDXVH
 RQHSURJUDPUHDGWKH0(/'H[FHSWLRQSROLF\DQGDVVXPHGWKDWZDVWKHDSSURSULDWHH[FHSWLRQWRDSSO\
 IRUZKLOHDQRWKHUSURJUDPUHDGWKH6WDWXV$H[FHSWLRQSROLF\DQGWKHLUSDWLHQWUHFHLYHGDKLJKHU
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 OLYHUNLGQH\RQH[WHQVLRQDVZHOODVRQLQLWLDOUHTXHVW)RUFDQGLGDWHVZKRUHFHLYHDQH[FHSWLRQVFRUH
 EDVHGRQSULPDU\K\SHUR[DOXULDWKH&RPPLWWHHH[SHFWVWKDWWKH\ZRXOGFRQWLQXHWRQHHGDNLGQH\
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 JUDFHSHULRGRIGD\VWREHQHILWVLFNHVWSDWLHQWVE\DOORZLQJDQDGGLWLRQDOGD\VIRUFHQWHUWRHQWHU
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 UHFHLYHDWWKLVWLPH7KH&RPPLWWHHLVSURSRVLQJWKDWWKHSRLQWVDZDUGHGWROLYHULQWHVWLQHFDQGLGDWHVVWD\
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 7KHPHGLDQGLVWDQFHWKDWLQWHVWLQHVFXUUHQWO\WUDYHOLVQDXWLFDOPLOHV7KLVGLVWDQFHLVFORVHWRWKH
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 DVSRVVLEOHUHVSHFWVWKH)LQDO5XOHGLUHFWLYHQRWWREDVHDFFHVVRQDFDQGLGDWH¶VSODFHRIOLVWLQJXQOHVV
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 UHTXLUHPHQWVIRUZKHQNLGQH\VPXVWEHDOORFDWHGWROLYHUFDQGLGDWHVDVVLPLODUDVSRVVLEOHWRWKHFXUUHQW
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 7KH0(/'WKUHVKROGVDQGDUHDVZHUHFKRVHQEHFDXVHWKHVHRUJDQVDUHDOORFDWHGRIIWKHOLYHUPDWFKUXQ
 DQGDOLJQLQJZLWKWKHDOORFDWLRQVHTXHQFHVPDNHVDGPLQLVWUDWLRQRIWKLVUXOHHDVLHUDQGWKHUHIRUHPRUH
 OLNHO\WREHDSSOLHGFRQVLVWHQWO\WUHDWLQJVLPLODUFDQGLGDWHVVLPLODUO\,WLVDOUHDG\GLIILFXOWIRU232VWR
 NQRZZKLFKRUJDQVUHFHLYHSULRULW\UHODWLYHWRRQHDQRWKHUZKHQWKHUHDUHVHYHUDORUJDQVDYDLODEOHWKDW
 FRXOGEHXVHGIRUPXOWLRUJDQWUDQVSODQWV7KH&RPPLWWHHSURSRVHVNHHSLQJWKHVHLQDOLJQPHQWLQDQ

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 LQIODWLRQLQDUHDVZKHUHWKHUHDUHPRUHH[FHSWLRQV([FHSWLRQFDQGLGDWHVDUHW\SLFDOO\WUDQVSODQWHGDWD
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 VWDQGDUGH[FHSWLRQIURPEHLQJDVVLJQHGWRDQDGXOWFDQGLGDWHVRYHUH[FHSWZKHUHDVSHFLILFVHWVFRUH
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 FDUGLDFGHDWK '&' DQGGRQRUVRYHU\HDUVROGDVWKHVHRUJDQVKDYHEHWWHURXWFRPHVZLWKVKRUWHU
 FROGLVFKHPLFWLPHV7KLVLVFRQVLVWHQWZLWKWKH2371)LQDO5XOHUHTXLUHPHQWWRPDNHWKHEHVWXVHRI
 GRQDWHGRUJDQV7KH&RPPLWWHHFKRVHWRPDLQWDLQWKDWDSSURDFKLQWKLVSURSRVDODQGWKHDOORFDWLRQ
 VHTXHQFHVIRUWKLVJURXSSULRULWL]HFDQGLGDWHVZLWKLQQPRIWKHGRQRUKRVSLWDOHYHQIRUKLJKHU
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 VXSSRUW´&XUUHQWO\WKLVLVEHLQJXVHGIRUKHSDWRF\WHWUDQVSODQWDWLRQZKLFKLVUDUHO\GRQH ,WLVUDUH
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 SHUIRUPHGWKH&RPPLWWHHZDQWHGWRSUHVHUYHWKHSUHIHUHQFHIRUWKHVHEHIRUHRWKHUUHVHDUFK7KH
 &RPPLWWHHFRQVLGHUHGFKDQJLQJWKHWHUPLQRORJ\EXWZDQWHGWRSUHVHUYHWKHDELOLW\WRKDYHRWKHUVLPLODU
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 WKHUHDUHIHZSURJUDPVSHUIRUPLQJWKHVHW\SHVRIWUDQVSODQWDWLRQDQGWKHUHLVQRDGGLWLRQDOHIILFLHQF\LQ
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 FDQGLGDWHV,QVWHDGWKH&RPPLWWHHSURSRVHVWKDWDIWHURIIHULQJWKHVHGRQRUVWRDOO2FDQGLGDWHVDQG%
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 7KH&RPPLWWHHSURSRVHVDGGLQJDQHZOHYHORIVRUWLQJLQZKLFKFDQGLGDWHVDUHVRUWHGDFFRUGLQJWRWKH
 ILUVWWLPHWKH\ZHUHJUDQWHGDQH[FHSWLRQ6LQFHH[FHSWLRQVFRUHVZLOOEHUHFDOFXODWHGDQGLQGLYLGXDO
 VFRUHVZLOOEHXSGDWHGHYHU\GD\VDVDJURXSLWLVPRUHOLNHO\WKDWWKHUHZLOOEHPXOWLSOHFDQGLGDWHV
 ZLWKH[DFWO\WKHVDPHDPRXQWRIZDLWLQJWLPHDWDFHUWDLQVFRUH7KLVQHZOHYHORIVRUWLQJZLOODOORZIRU
 RUGHULQJWKHVHFDQGLGDWHVLQDZD\WKDWSULRULWL]HVWKHFDQGLGDWHVWKDWKDYHEHHQWKHPRVWPHGLFDOO\
 XUJHQWIRUWKHORQJHVW7KH&RPPLWWHHDOVRFRQVLGHUHGRUGHULQJWKHVHE\WKHGDWHRIWKHLQLWLDODSSOLFDWLRQ
 WKDWWKH\DUHH[WHQGLQJEXWZDVFRQFHUQHGWKDWZRXOGGLVDGYDQWDJHSDWLHQWVZKRPHUHO\ODSVHGLQ
 UHQHZLQJIRUDGD\RUKDGDQ\RWKHUJDSLQWKHLUH[FHSWLRQWKDWZDVQRWFOLQLFDOO\VLJQLILFDQW
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 VRUWLQJUXOHVIRUORZ0(/'3(/'VKRXOGEHUHPRYHG7KHVRUWLQJUXOHVIRUFDQGLGDWHVZLWKD0(/'RU
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 WKLVJURXSDQGWKHUHZDVQRUHDVRQWRKDYHGLIIHUHQWVRUWLQJUXOHVIRUWKLVJURXS
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     x 6SOLWOLYHU7KHVSOLWOLYHUYDULDQFHLVGHVFULEHGLQ23713ROLF\$,WGRHVQRWFRQWDLQDQ\
          UHIHUHQFHVWR'6$VRUUHJLRQVLWLQFOXGHVDUHVHDUFKSODQDQGLQFOXGHVVWUXFWXUHGFRQGLWLRQVIRU
          LWVUHYLHZ 'XHWRWKHSURMHFWHGVPDOOYROXPHRIWKLVYDULDQFHLWVUHYLHZLVGHSHQGHQWXSRQWKH
          YROXPHRISDUWLFLSDWLRQLQVWHDGRIDVSHFLILFWLPHOLQH 7KHUHIRUHWKHFRPPLWWHHUHFRPPHQGVQR
          FKDQJHWRWKLVYDULDQFH
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           7KHSXEOLFFRPPHQWSURSRVDOGLGQRWLQFOXGHDYDULDQFHIRU3XHUWR5LFREXWGLGLQFOXGHRQHIRU
           +DZDLL)RUEORRGW\SH2GRQRUVUHFRYHUHGLQ+DZDLLWKHYDULDQFHFKDQJHVWKHRUGHURI
           DOORFDWLRQWRLQFOXGHDQ\EORRGW\SHUHFLSLHQWVLQWKHVDPHFODVVLILFDWLRQV7KLVUHPRYHVWKH
           SULRULW\IRU2DQG%FDQGLGDWHVWKDWZRXOGRWKHUZLVHH[LVWZKHQDOORFDWLQJ2GRQRUVDQGDOORZV
           IRUDOORFDWLRQRI2GRQRUVWR$DQG$%FDQGLGDWHVLQ+DZDLLEHIRUHQDWLRQDORIIHUVWR2DQG%
           FDQGLGDWHV7KH&RPPLWWHHZDVVWLOOFRQVLGHULQJZKHWKHUWRDSSO\WKHYDULDQFHWR3XHUWR5LFRDW
           WKHWLPHRISXEOLFFRPPHQWDQGVSHFLILFDOO\UHTXHVWHGIHHGEDFNIURPWKHFRPPXQLW\
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           7KH/LYHU&RPPLWWHHLVQRZSURSRVLQJFKDQJHVWRWKLVYDULDQFHWKDWZHUHUHFRPPHQGHGE\WKH
           0LQRULW\$IIDLUV&RPPLWWHH 0$& 7KH0$&UHYLHZHGWKHVLPLODULWLHVEHWZHHQ+DZDLLDQG3XHUWR
           5LFRLQWHUPVRIWKHLUJHRJUDSKLFLVRODWLRQDQGHWKQLFSRSXODWLRQVDQGUHFRPPHQGHGWKDW3XHUWR
           5LFREHDGGHGWRWKLVYDULDQFH$YHUVLRQRIWKLVYDULDQFHKDVEHHQLQSODFHVLQFH,Q
           +DZDLL¶VMXVWLILFDWLRQIRUWKHYDULDQFHLQFOXGHG WKHLUJHRJUDSKLFLVRODWLRQDQG DSUHGRPLQDQWO\
           $VLDQSRSXODWLRQ7KHLUDSSOLFDWLRQVWDWHG³$VLDQVKDYHDKLJKHUSURSRUWLRQRIEORRGW\SH%2XU
           FXUUHQWZDLWLQJOLVWUHIOHFWVWKHDVVHUWLRQDVRIWKHSDWLHQWV  KDYHEORRGW\SH%
           8QIRUWXQDWHO\WKHEORRGW\SHGLVWULEXWLRQRIRXUGRQRUSRSXODWLRQGLVSOD\VDGLIIHUHQWSDWWHUQ
           6LQFHRQO\RIGRQRUV  ZHUHEORRGW\SH%$VDUHVXOWRIWKHODVWGRQRUV
           DYDLODEOHLQ+DZDLLZHPDGHXVHRIWKHYDULDQFHQLQH  WLPHV´
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           W\SH%,QDQGRI  OLYHUVUHFRYHUHGLQ3XHUWR5LFRZHUHEORRGW\SH
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           &RPPHQWHUVZKRH[SUHVVHGDQRSLQLRQRQWKHYDULDQFHDOODJUHHGWKDWLWVKRXOGFRQWLQXHWRDSSO\
           WR+DZDLL7KRVHZKRWKRXJKWLWVKRXOGQRWDSSO\WR3XHUWR5LFRGLGQ¶WEHOLHYHWKHVDPHORJLVWLFDO
           LVVXHVH[LVWIRUWUDYHOLQJWRWKHPDLQODQGIURP3XHUWR5LFRWKDWH[LVWIRU+DZDLL
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           $OWKRXJKPRVWFRPPHQWHUVGLGQRWWDNHDVWDQFHRQWKLVTXHVWLRQWKRVHWKDWGLGZHUHIDLUO\
           HYHQO\VSOLWZLWKVOLJKWO\PRUHIDYRULQJH[WHQGLQJWKHYDULDQFHWR3XHUWR5LFR
           &RPPHQWHUVZKRVXSSRUWHGDSSO\LQJWKHVDPHYDULDQFHWR3XHUWR5LFRSRLQWHGWRHTXLW\DQG
           DVVLVWLQJWKHSRSXODWLRQRI3XHUWR5LFR0DQ\FRPPHQWVUHJDUGLQJWKH$%2YDULDQFHVKRZHG
           VRPHFRQIXVLRQUHJDUGLQJWKHUDWLRQDOHIRUWKLVYDULDQFHDQGLWVUHOHYDQFHIRU3XHUWR5LFR0DQ\
           FRPPHQWHUVIRFXVHGRQWKHLVRODWLRQRI3XHUWR5LFR
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           7KH&RPPLWWHHSURSRVHVWKHEORRGW\SHYDULDQFHDSSO\WRRUJDQVUHFRYHUHGLQ+DZDLLDQG3XHUWR
           5LFR7KHYDULDQFHZLOOEHHIIHFWLYHIRUWZR\HDUV5HVHDUFKGDWDLVDOUHDG\FROOHFWHGDVSDUWRI
           WKHLQIRUPDWLRQDERXWGRQRUVDQGFDQGLGDWHVDOUHDG\UHTXLUHG7KHSODQIRUDQDO\VLVRIWKH
           YDULDQFHLVGHWDLOHGLQWKHVHFWLRQEHORZHQWLWOHG³+RZZLOOWKHVSRQVRULQJ&RPPLWWHHHYDOXDWH
           ZKHWKHUWKLVSURSRVDOZDVVXFFHVVIXOSRVWLPSOHPHQWDWLRQ"´
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           YDULDQFHZKLFKWUHDWHGWKHUHJLRQDVWKHILUVWXQLWRIDOORFDWLRQLQVWHDGRIWKH'6$IRUOLYHUV
           UHFRYHUHGLQ5HJLRQ7KH&RPPLWWHHQRZUHFRPPHQGVUHPRYLQJWKDWYDULDQFHVLQFHQHLWKHU
           '6$QRUUHJLRQZLOOEHXVHGIRUDOORFDWLRQXQGHUWKLVSURSRVDO

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 ,QRUGHUWRUHPRYHWKHXVHRI'6$VDQGUHJLRQVIURPOLYHUDQGLQWHVWLQHDOORFDWLRQFKDQJHVDUHUHTXLUHG
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    JHRJUDSKLFDODUHDVIRURUJDQDOORFDWLRQ7KHUHFRPPHQGDWLRQLVWRGHOHWHWKHFODULI\LQJFODXVHVVLQFH
    '6$VDQGUHJLRQVDUHEHLQJHOLPLQDWHGDVXQLWVRIDOORFDWLRQ7KLVFODULILFDWLRQLVQRWQHFHVVDU\IRU
    WKLVGHILQLWLRQWKHUHIRUHWKLVZLOOQRWLPSDFWRWKHURUJDQVZKLFKZLOOFRQWLQXHWRXVH'6$VRUUHJLRQVIRU
    GLVWULEXWLRQSXUSRVHVIRUWKHWLPHEHLQJ LHKHDUWVNLGQH\VDQG9&$V 
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    FXUUHQWO\VWDWHVWKDWUHJLRQVDUHXVHGIRU³WKHDGPLQLVWUDWLRQRIRUJDQDOORFDWLRQ´7KH
    UHFRPPHQGDWLRQLVWRUHPRYHWKHUHIHUHQFHWRRUJDQDOORFDWLRQDQGVLPSO\VWDWHWKDW2371
    PHPEHUVKLSLVGLYLGHGLQWRJHRJUDSKLFUHJLRQVIRU³DGPLQLVWUDWLYHSXUSRVHV
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    PDWFKUXQ7KHUHFRPPHQGDWLRQLVWRGHOHWHWKHFODULI\LQJFODXVHVVLQFHWKH\LQFOXGH³JHRJUDSKLF
    ORFDODQGUHJLRQDODUHD´
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 PXVWDSSO\WRDOOYDULDQFHV7KHUHFRPPHQGDWLRQLVWRGHOHWHWKHUHTXLUHPHQWIRUDVLQJOHZDLWLQJOLVWIRU
 HDFKRUJDQZLWKLQHDFK'6$VLQFHLWLVDQRXWGDWHGUHTXLUHPHQW$GGLWLRQDOO\WKHUHLVDUHFRPPHQGDWLRQ
 WRGHOHWHWKHSURFHVVIRUDOORFDWLQJRUJDQVWRWKHUHPDLQGHURIWKH'6$LIDQDOWHUQDWLYHORFDOXQLWLVWKH
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 PDWFKV\VWHPLVXQDYDLODEOH,WUHIHUHQFHVWKHUDQNLQJRI³ORFDO´WUDQVSODQWFDQGLGDWHVDQGXVLQJ³ORFDO´
 WUDQVSODQWSURJUDPZDLWLQJOLVWV7KHUHFRPPHQGDWLRQLVWRUHPRYHERWKUHIHUHQFHVWR³ORFDO´EHFDXVH
 232VVKRXOGEHXVLQJWKHPRVWUHFHQWPDWFKUXQDYDLODEOHDQGQRWVSHFLILFDOO\ORFDOWUDQVSODQW
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 LQFOXGHVDQRXWGDWHGSURFHVVWKDWWKH2UJDQ&HQWHUQRORQJHUXVHVLIWKH\UHFHLYHDUHTXHVWWRDOORFDWH
 RUJDQV7KH2UJDQ&HQWHUDOORFDWHVRUJDQVDFFRUGLQJWKHDSSOLFDEOHDOORFDWLRQSROLFLHV7KH
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 ZKLFKLQWXUQFDQLPSDFWWKHGLVFDUGUDWHDQGZKHWKHUWKHOLYHULVVWLOOYLDEOHWRWUDYHOWR3XHUWR5LFR 
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 VKLIWLQJIURPUHJLRQDOWRQDWLRQDOGLVWULEXWLRQIRUWKHVHDUHDVPD\GHFUHDVHWKHQXPEHURIOLYHUVIORZQIURP
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 H[WHQVLYHGLVFXVVLRQDERXWWKHSRWHQWLDOLPSDFWRIGLVFDUGVWKDWFRXOGRFFXUGXHWRWKHUHPRYDORI
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         FRXOGWUDYHOEHWZHHQ+DZDLLDQGWKHFRQWLQHQWDO8QLWHG6WDWHVEXWGRQ¶WDSSO\LWWRRUJDQVIURP
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 ORJLVWLFDOLVVXHVUHSUHVHQWHGE\WKHVHSURJUDPV7KH*HRJUDSK\&RPPLWWHHDOVRFRPPHQWHGWKDWLI
 RUJDQVDUHDEOHWRWUDYHOWKHVHEURDGHUGLVWDQFHVWKHQSHUKDSVWKHVPDOOHUGLVWDQFHEDVHGFLUFOHVVKRXOG
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 &RPPLWWHHSURSRVHVWUHDWLQJOLYHUVDQGLQWHVWLQHVUHFRYHUHGLQ$ODVNDDVLIWKH\ZHUHUHFRYHUHGDWWKH
 6HDWWOH7DFRPD$LUSRUW7KH&RPPLWWHHFKRVHWKH6HDWWOH7DFRPD$LUSRUWDVWKHYLUWXDOORFDWLRQIRUWKHVH
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      ,PSURYHHTXLW\LQDFFHVVWRWUDQVSODQWV7KLVSURSRVDOZLOOLPSURYHWKHGLVSDULW\LQ00D7DFURVV
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         UHJDUGLQJWKHPDQDJHPHQWRIWKH23717KLVSURSRVDOZLOODOVRLPSDFWWKHSHUFHQWDJHRIOLYHU
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 VWDIIWRWKHFKDQJHV7KHWLPHIUDPHIRUWKHVHFKDQJHVPD\EHRQHWRWKUHHPRQWKVPXFKRIWKLVZRXOG
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           FRVWLQJSUDFWLFHV6575PRGHOLQJIRUWKLVSURSRVDOQRWHGWKDWFDQGLGDWHZDLWLQJWLPHVZLOOFKDQJH
           DFURVVWKH86VRPHSURJUDPVPD\VHHORQJHUZDLWLQJWLPHVDQGVRPHSURJUDPVPD\KDYH
           VKRUWHUZDLWLQJWLPHV/RQJHUFDQGLGDWHZDLWLQJWLPHVPD\EHDVVRFLDWHGZLWKDQLQFUHDVHLQWKH
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           FDQH[SHFWWRVHHGLIIHUHQWSDWWHUQVLQWKHRIIHUVWKH\UHFHLYHDQGWKHORFDWLRQRIRIIHUVWKH\
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           SHUFHQWDJHRIIO\RXWVLQFUHDVHVDQLQFUHDVHGIUHTXHQF\RIIO\RXWVZLOOFRUUHODWHZLWKKLJKHU
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           ZRXOGEHDVXEVWDQWLDOFDSLWDOSXUFKDVHWKDWYDULHVDFURVVRUJDQVDQGGHYLFHSODWIRUPV
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          SRVWWUDQVSODQWFRVWVPD\EHVHHQZLWKRUJDQVKDYLQJKLJKHULVFKHPLFWLPHVDQGWKHSRWHQWLDOIRU
          FRPSOLFDWLRQV KLJKHUOHYHOVRIFDUHLQFUHDVHOHQJWKRIVWD\UHWXUQWR25HWF« 
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 ,QDGGLWLRQWRWKHILQDQFLDOLPSDFWWUDQVSODQWSURJUDPVPD\IHHOVWUDLQVRQORJLVWLFVIURPGHFUHDVHG
 DYDLODELOLW\RIFKDUWHUIOLJKWV/DUJHUFLWLHVZLOOKDYHJUHDWHUDYDLODELOLW\RIFRPPHUFLDODLUWUDIILFDQGVPDOOHU
 FLWLHVZLOOEHPRUHGHSHQGHQWRQFKDUWHUIOLJKWV
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 3D\HUV¶ZLOOLQJQHVVWRFRYHUWKHVHLQFUHDVHGFRVWVLV\HWWREHVHHQ$SD\HU¶VFRQWUDFWSHULRGPD\
 GHWHUPLQHWKHOHQJWKRIWLPHXQWLODWUDQVSODQWSURJUDPLVDEOHWRUHQHJRWLDWHFKDQJHVWRSD\HU
 UHLPEXUVHPHQW5HFLSLHQWVFRYHUHGE\FRPPHUFLDOSD\HUVDUHH[FOXGHGRQWKH0HGLFDUH&RVW5HSRUW
 WKHUHIRUHQRWDOORIWKHLQFUHDVHGFRVWVZLOOEHDOORZHG
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 232VPD\QRWLFHWKDWWKHKRVSLWDOVWKH\FXUUHQWO\ZRUNZLWKPRVWIUHTXHQWO\PD\FKDQJHDQGWKHSDWWHUQV
 RIWUDYHOPD\FKDQJH7KHILVFDOLPSDFWRILPSOHPHQWLQJWKLVSURSRVDOZLOOEHPLQLPDO$VPDOODPRXQWRI
 DGPLQLVWUDWLYHWLPHPD\EHUHTXLUHGWRHGXFDWHVWDIIWKRXJKWKLVFDQEHDFFRPSOLVKHGWKURXJKH[LVWLQJ
 PHFKDQLVPV6WDIIWLPHWRUHVHDUFKDQGPDNHDUUDQJHPHQWVZLWKRWKHUWUDQVSRUWDWLRQSURYLGHUVPD\DOVR
 EHUHTXLUHG
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 2QJRLQJFRVWVLVWKHDUHDZKHUH232VZLOOOLNHO\H[SHULHQFHWKHILVFDOLPSDFWRIWKLVSURSRVDO([LVWLQJ
 FRVWVIRUORFDOFDVHVVKRXOGUHPDLQVWDEOH&KDQJHVLQRQJRLQJFRVWVZLOOEHDVVRFLDWHGZLWKIO\RXWVYDU\
 DFURVV232VDQGDUHGULYHQE\FDVHYROXPH7KHVHIO\RXWFRVWVDUHSDVVHGWKURXJKWRWKHWUDQVSODQW
 FHQWHUVLQRUJDQDFTXLVLWLRQWUDQVSRUWDWLRQDQGSURIHVVLRQDOIHHV7KHQHHGIRUDGGLWLRQDO)7(VZLOODOVR
 YDU\DFURVV232V9DULDELOLW\LQIO\RXWVZLOOEHVHHQDFURVV232VDQGPD\UHVXOWLQLQFUHDVHGVWDIIFRVWV
   FRPPXQLFDWLRQFHQWHUVWDIISHUIXVLRQLVWVWDIIIDFLOLWLHVVWDIITXDOLW\VWDIIDQGGDWDVWDII 
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 :LOOWKLVSURSRVDOUHTXLUHPHPEHUVWRVXEPLWDGGLWLRQDOGDWD"
 1RWKLVSURSRVDOGRHVQRWUHTXLUHDGGLWLRQDOGDWDFROOHFWLRQ
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 +RZZLOOPHPEHUVEHHYDOXDWHGIRUFRPSOLDQFHZLWK
 WKLVSURSRVDO"
 7KHSURSRVHGODQJXDJHZLOOQRWFKDQJHWKHFXUUHQWURXWLQHPRQLWRULQJRI2371PHPEHUV$Q\GDWD
 VXEPLWWHGWRWKH2371&RQWUDFWRUPD\EHVXEMHFWWR2371UHYLHZDQGWKH2371&RQWUDFWRUZLOO
 FRQWLQXHWRUHYLHZGHFHDVHGGRQRUPDWFKUXQVWRHQVXUHWKDWDOORFDWLRQLVFDUULHGRXWDFFRUGLQJWR2371
 SROLF\0HPEHUVDUHUHTXLUHGWRSURYLGHGRFXPHQWDWLRQDVUHTXHVWHG
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 +RZZLOOWKHVSRQVRULQJ&RPPLWWHHHYDOXDWHZKHWKHU
 WKLVSURSRVDOZDVVXFFHVVIXOSRVWLPSOHPHQWDWLRQ"
 %HFDXVHWKLVSURSRVDOLPSDFWVPXOWLSOHDUHDVRISROLF\WKHSRVWLPSOHPHQWDWLRQSODQKDVEHHQVSOLWLQWR
 WKUHHFRPSRQHQWV
 1DWLRQDO/LYHU5HYLHZ%RDUG3RVW,PSOHPHQWDWLRQ(YDOXDWLRQ3ODQ
 8VLQJSUHYVSRVWFRPSDULVRQVDQDO\VHVZLOOEHSHUIRUPHGSRVWLPSOHPHQWDWLRQDWDSSUR[LPDWHPRQWK
 LQWHUYDOVDVDSSURSULDWHXSWR\HDUVWRDVVHVVWKHHIILFDF\RIWKH1DWLRQDO/LYHU5HYLHZ%RDUG 1/5% 
 $QDO\VLVRIVSHFLILFGLDJQRVHVWKDWFXUUHQWO\UHTXLUHUHYLHZE\WKH5HJLRQDO5HYLHZ%RDUG 55% FKDLU
 WKDWZLOOEHDXWRPDWHGXQGHUWKH1/5%V\VWHPPD\QRWEHGLUHFWO\FRPSDUDEOHSUHWRSRVWHUD$QDO\VHV
 ZLOOEHSHUIRUPHGE\VSHFLDOW\ERDUGW\SH LH+&&3HGLDWULF2WKHU DQGQDWLRQDOO\DQGUHJLRQDOO\
 ZKHUHIHDVLEOHDQGDSSURSULDWH
 5HOHYDQWDQDO\VHV



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     x    7RWDOQXPEHURIH[FHSWLRQFDVHVDXWRPDWLFDOO\DSSURYHGDQGWKRVHUHYLHZHGE\WKH1/5%
           RYHUDOODQGE\H[FHSWLRQGLDJQRVLV
     x    1XPEHUDQGSHUFHQWRI$SSURYHG'HQLHG$SSHDOHGH[FHSWLRQIRUPVRYHUDOODQGE\GLDJQRVLV
     x    1XPEHURIH[FHSWLRQFDVHVUHYLHZHGE\WKH1/5%ZLWKDQHZLQLWLDOIRUPVXEPLWWHGDQG
           DSSURYHGDIWHUSUHYLRXVO\GHQLHGLQLWLDOIRUP
     x    'LVWULEXWLRQRI0(/'3(/'VFRUHVRIH[FHSWLRQFDVHVUHYLHZHGE\WKH1/5%E\
           DSSURYHGGHQLHGVWDWXVLQLWLDOH[WHQVLRQDSSHDOIRUPW\SHDQGH[FHSWLRQGLDJQRVLV
     x    :DLWLQJOLVWGURSRXWUDWHV GHDWKRUWRRVLFN IRUFDQGLGDWHVZLWKDSSURYHGH[FHSWLRQVYHUVXV
           WKRVHZLWKRXWH[FHSWLRQV
     x    :DLWLQJOLVWGURSRXWUDWHVIRUFDQGLGDWHVZLWKGHQLHGLQLWLDOH[FHSWLRQ DQGQRUHVXEPLWWHG
           VXEVHTXHQWO\DSSURYHGH[FHSWLRQ 
     x    'LVWULEXWLRQRIGHFHDVHGGRQRUWUDQVSODQWVE\H[FHSWLRQVWDWXV \HVQR DQGH[FHSWLRQW\SH HJ
           +&&RWKHUVWDQGDUGH[FHSWLRQRWKHUVSHFLI\ 
     x    'LVWULEXWLRQRI0(/'DQG3(/'VFRUHVDWWUDQVSODQWE\H[FHSWLRQVWDWXV \HVQR DQGH[FHSWLRQ
           W\SH HJ+&&RWKHUVWDQGDUGH[FHSWLRQRWKHUVSHFLI\ 
     x    2WKHUPHWULFVGHHPHGUHOHYDQWDQGQHFHVVDU\WRWKHHYDOXDWLRQRIWKHSROLF\E\WKH/LYHUDQG
           ,QWHVWLQDO7UDQVSODQWDWLRQ&RPPLWWHHDWWLPHRIDQDO\VLV
 5HGLVWULEXWLRQ3RVW,PSOHPHQWDWLRQ(YDOXDWLRQ3ODQ
 8VLQJSUHYVSRVWFRPSDULVRQVDQDO\VHVZLOOEHSHUIRUPHGSRVWLPSOHPHQWDWLRQDWDSSUR[LPDWHPRQWK
 LQWHUYDOVDVDSSURSULDWHXSWR\HDUVWRLGHQWLI\WUHQGVDQGSRWHQWLDOO\XQDQWLFLSDWHGFRQVHTXHQFHVRI
 WKHSROLF\$QDO\VLVRISRVWWUDQVSODQWRXWFRPHVZLOOEHSHUIRUPHGDIWHUVXIILFLHQWIROORZXSGDWDKDV
 DFFUXHGZKLFKLVGHSHQGHQWRQVXEPLVVLRQRIPRQWKIROORZXSIRUPV$QDO\VHVZLOOEHSHUIRUPHG
 QDWLRQDOO\DQGUHJLRQDOO\ZKHUHIHDVLEOHDQGDSSURSULDWH
 0HWULFVWREHHYDOXDWHGLQFOXGH
     x    1XPEHURIGHFHDVHGGRQRUOLYHUWUDQVSODQWV
     x    6L]HDQGFRPSRVLWLRQRIWKHZDLWLQJOLVW
     x    9DULDQFHLQWKHPHGLDQVFRUHDWWUDQVSODQWE\DSSURSULDWHJHRJUDSKLFDUHDV
     x    :DLWLQJOLVWPRUWDOLW\UDWHVDQGWUDQVSODQWUDWHV
     x    7UDQVSODQWUHFLSLHQWGHPRJUDSKLFV DJHJHQGHUGLDJQRVLVHWKQLFLW\VRFLRHFRQRPLFIDFWRUVDV
           DYDLODEOHIRUDQDO\VLV 
     x    7UDQVSODQWVE\H[FHSWLRQVWDWXV \HVQR DQGH[FHSWLRQW\SH HJ+&&RWKHUVWDQGDUG
           H[FHSWLRQRWKHUVSHFLI\ 
     x    3RVWWUDQVSODQWVXUYLYDOUDWHV
     x    3RVWWUDQVSODQWOHQJWKRIVWD\
     x    'LVFDUGUDWHV 1XPEHURIOLYHUVUHFRYHUHGIRUWUDQVSODQWDQGQRWWUDQVSODQWHG 
     x    8WLOL]DWLRQUDWHV 1XPEHURIOLYHUVWUDQVSODQWHGRXWRIDOORUJDQGRQRUV 
     x    2UJDQWUDYHOGLVWDQFHFROGLVFKHPLDWLPHGRQRUULVNLQGH[
     x    1XPEHUDQGSHUFHQWRIOLYHUVWUDQVSODQWHGZLWKLQILUVWFODVVLILFDWLRQWLHURIDOORFDWLRQIROORZLQJ
           6WDWXVV
     x    2WKHUPHWULFVGHHPHGUHOHYDQWDQGQHFHVVDU\WRWKHHYDOXDWLRQRIWKHSROLF\E\WKH/LYHUDQG
           ,QWHVWLQDO7UDQVSODQWDWLRQ&RPPLWWHHDWWLPHRIDQDO\VLV
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 8VLQJSUHYVSRVWFRPSDULVRQVDQDO\VHVZLOOEHSHUIRUPHGDWDSSUR[LPDWHPRQWKLQWHUYDOVDV
 DSSURSULDWHXSWR\HDUVWRLGHQWLI\WUHQGVDQGSRWHQWLDOO\XQDQWLFLSDWHGFRQVHTXHQFHVRIWKHYDULDQFH
 $QDO\VHVZLOOEHSHUIRUPHGLQFRPSDULVRQWRWKHQDWLRQDQGVWUDWLILHGE\EORRGW\SHZKHUHIHDVLEOHDQG
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 0HWULFVWREHHYDOXDWHGLQFOXGH
     x    1XPEHURIGHFHDVHGGRQRUOLYHUWUDQVSODQWV
     x    6L]HDQGFRPSRVLWLRQRIWKHZDLWLQJOLVW
     x    :DLWLQJOLVWPRUWDOLW\UDWHVDQGWUDQVSODQWUDWHV
     x    'LVFDUGUDWHV 1XPEHURIOLYHUVUHFRYHUHGIRUWUDQVSODQWDQGQRWWUDQVSODQWHG 




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     x    1XPEHUDQGSHUFHQWRIRUJDQVGLVWULEXWHGWRDQGIURP+DZDLL
     x    1XPEHUDQGSHUFHQWRIRUJDQVGLVWULEXWHGWRDQGIURP3XHUWR5LFR   




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       3ROLF\RU%\ODZV/DQJXDJH
       3URSRVHGQHZODQJXDJHLVXQGHUOLQHG H[DPSOH DQGODQJXDJHWKDWLVSURSRVHGIRUUHPRYDOLVVWUXFN
       WKURXJK H[DPSOH 
     5(62/9('WKDWWKHFUHDWLRQRI3ROLF\' &DOFXODWLRQRI0HGLDQ0(/'RU3(/'DW7UDQVSODQW 
     DVZHOODVFKDQJHVWR3ROLFLHV  'HILQLWLRQV $ $FFHSWDEOH9DULDQFHV ( 2371
     &RPSXWHU0DWFK3URJUDP2XWDJHV % 2UGHURI$OORFDWLRQ & 2WKHU0XOWL2UJDQ
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      3HGLDWULF6WDWXV%5HTXLUHPHQWV ' 0(/'6FRUH ) /LYHU,QWHVWLQH&DQGLGDWHV 
      6WDWXVDQG/DERUDWRU\9DOXHV8SGDWH6FKHGXOH $ 5HFHUWLILFDWLRQRI6WDWXV$RU% 
      6WDWXV([FHSWLRQV $ 0(/'RU3(/'6FRUH([FHSWLRQ5HTXHVWV & 0(/'RU3(/'
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      5HTXLUHPHQWVIRU&KRODQJLRFDUFLQRPD &&$ 0(/'RU3(/'6FRUH([FHSWLRQV %
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    %\ODZV$SSHQGL[0 'HILQLWLRQV DVVHWIRUWKEHORZDUHKHUHE\DSSURYHGHIIHFWLYHSHQGLQJQRWLFH
    WRPHPEHUVDQGDWOHDVWWKUHHPRQWKVIROORZLQJWKHLPSOHPHQWDWLRQRIWKH1DWLRQDO/LYHU5HYLHZ
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    $OORFDWLRQ0(/'RU3(/'6FRUHLQFOXGHVOLYHULQWHVWLQHSRLQWV
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    IROORZLQJJHRJUDSKLFDODUHDVIRURUJDQDOORFDWLRQ'6$UHJLRQQDWLRQDQG]RQHV




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     SROLF\VWUXFWXUHWKHDGPLQLVWUDWLYHSXUSRVHV2371PHPEHUVKLSLVGLYLGHGLQWRJHRJUDSKLFUHJLRQV
     0HPEHUVEHORQJWRWKH5HJLRQLQZKLFKWKH\DUHORFDWHG7KH5HJLRQVDUHDVIROORZV
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     5HJLRQ 'HODZDUH'LVWULFWRI&ROXPELD0DU\ODQG1HZ-HUVH\3HQQV\OYDQLD:HVW9LUJLQLDDQGWKH
                   SDUWRI1RUWKHUQ9LUJLQLDLQWKH'RQDWLRQ6HUYLFH$UHDVHUYHGE\WKH:DVKLQJWRQ5HJLRQDO
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     5HJLRQ &RORUDGR,RZD.DQVDV0LVVRXUL1HEUDVNDDQG:\RPLQJ
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                :KHUHWKHDOWHUQDWLYHORFDOXQLWFUHDWHGE\DYDULDQFHLVDVXEGLYLVLRQRIWKH232 V'6$WKH
                   232ZLOODOORFDWHRUJDQVWRWKHUHPDLQGHURIWKH'6$DIWHUDOORFDWLQJRUJDQVWRWKLV
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                   MRLQWKHYDULDQFHWKHDSSOLFDQWPXVWVROLFLWWKHLUVXSSRUW
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               0XVWXVHORFDOWUDQVSODQWSURJUDPZDLWLQJOLVWVWRPDWFKWKHEHVWRUJDQZLWKZDLWLQJWUDQVSODQW
                  FDQGLGDWHV
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                                   GDWDZLWKWKH2371&RQWUDFWRU7KHKRVW232PXVWUHH[HFXWHWKHPDWFK
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                   RIIHULQJWKHVHRUJDQVWRDOOSRWHQWLDOUHFLSLHQWVRQWKHPDWFKUXQ0HPEHUVPXVWVXEPLWWKH
                   2UJDQ([SRUW9HULILFDWLRQ)RUPWRWKH2371&RQWUDFWRUSULRUWRH[SRUWLQJGHFHDVHGGRQRU
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              UHTXLUHGRUJDQZLOOEHDOORFDWHGWRWKHPXOWLRUJDQFDQGLGDWHIURPWKHVDPHGRQRUDFFRUGLQJWR
              7DEOHEHORZLIWKHGRQRU¶V'6$LVWKHVDPH'6$ZKHUHWKHPXOWLRUJDQFDQGLGDWHLV
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        DERYHLWLVSHUPLVVLEOHWRDOORFDWHWKHVHFRQGRUJDQWRWKHPXOWLRUJDQFDQGLGDWHUHFHLYLQJWKHILUVW
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              6WDWXV$-XVWLILFDWLRQ)RUPWRWKH2371&RQWUDFWRU$FDQGLGDWHLVQRWUHJLVWHUHGDVVWDWXV$
              XQWLOWKLVIRUPLVVXEPLWWHG:KHQUHSRUWLQJODERUDWRU\YDOXHVWRWKH2371&RQWUDFWRUWUDQVSODQW
              KRVSLWDOVPXVWVXEPLWWKHPRVWUHFHQWUHVXOWVLQFOXGLQJWKHGDWHVRIWKHODERUDWRU\WHVWV
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                        FDUHXQLW ,&8 GHILQHGDVWKHRQVHWRIKHSDWLFHQFHSKDORSDWK\ZLWKLQGD\VRIWKHILUVW
                        VLJQVRUV\PSWRPVRIOLYHUGLVHDVHDQGKDVDWOHDVWRQHRIWKHIROORZLQJFULWHULD
                        L ,VYHQWLODWRUGHSHQGHQW
                        LL 5HTXLUHVGLDO\VLVFRQWLQXRXVYHQRYHQRXVKHPRILOWUDWLRQ &99+ RUFRQWLQXRXV
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                        DVSDUWDWHDPLQRWUDQVIHUDVH $67 JUHDWHUWKDQRUHTXDOWR8/DQGDWOHDVWRQHRI
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                        GHFHDVHGRUOLYLQJGRQRUHYLGHQFHGE\DWOHDVWRQHRIWKHIROORZLQJ
                        L ,15JUHDWHUWKDQRUHTXDOWR
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              7RDVVLJQDFDQGLGDWHSHGLDWULFVWDWXV%WKHFDQGLGDWH¶VWUDQVSODQWKRVSLWDOPXVWVXEPLWD/LYHU
              6WDWXV%-XVWLILFDWLRQ)RUPWRWKH2371&RQWUDFWRU$FDQGLGDWHLVQRWUHJLVWHUHGDVVWDWXV%
              XQWLOWKLVIRUPLVVXEPLWWHG
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              7KHFDQGLGDWH¶VWUDQVSODQWSURJUDPPD\DVVLJQWKHFDQGLGDWHSHGLDWULFVWDWXV%LIDOOWKH
              IROORZLQJFRQGLWLRQVDUHPHW
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                        OHVVWKDQ\HDUVROGDWWKHWLPHRIUHJLVWUDWLRQZKRUHPDLQRQWKHZDLWLQJOLVWDIWHUWXUQLQJ
                         \HDUVROGEXWGRHVQRWLQFOXGHFDQGLGDWHVUHPRYHGIURPWKHZDLWLQJOLVWDW DQ\WLPH
                        ZKRWKHQUHWXUQWRWKHZDLWLQJOLVWDIWHUWXUQLQJ\HDUVROG
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                        3(/'H[FHSWLRQPHHWLQJVWDQGDUGFULWHULDVFRUHIRUPHWDEROLFGLVHDVHVFRUHRISRLQWV
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                        F &KURQLFOLYHUGLVHDVHZLWKDFDOFXODWHG0(/'JUHDWHUWKDQIRUDGROHVFHQW
                             FDQGLGDWHVWR\HDUVROGRUDFDOFXODWHG3(/'JUHDWHUWKDQIRUFDQGLGDWHV
                             OHVVWKDQ\HDUVROGDQGKDVDWOHDVWRQHRIWKHIROORZLQJFULWHULD
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                        KHPRILOWUDWLRQ &99+ RUFRQWLQXRXVYHQRYHQRXVKHPRGLDO\VLV &99+' 
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                        RU3(/'VFRUHJUHDWHUWKDQDFFRUGLQJWR3ROLF\)/LYHU,QWHVWLQH&DQGLGDWHVDQG
                        KDVDWOHDVWRQHRIWKHIROORZLQJFULWHULD
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              EDVHGRQ7DEOH/LYHU6WDWXV8SGDWH6FKHGXOHWKHWUDQVSODQWKRVSLWDOZLOOKDYHGD\VWR
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              $GXOWOLYHUF&DQGLGDWHVDZDLWLQJDOLYHULQWHVWLQHWUDQVSODQWZKRDUHDOVRUHJLVWHUHGDQGDFWLYHRQ
              ERWKZDLWLQJOLVWVWKHZDLWLQJOLVWIRUDQLQWHVWLQHWUDQVSODQWDWWKDWWUDQVSODQWKRVSLWDOZLOO
              DXWRPDWLFDOO\UHFHLYHDQDGGLWLRQDOLQFUHDVHLQWKHLU0(/'RU3(/'VFRUHHTXLYDOHQWWRD
              SHUFHQWDJHSRLQWLQFUHDVHLQULVNRIPRQWKPRUWDOLW\&DQGLGDWHVOHVVWKDQ\HDUVROGZLOO
              UHFHLYHDGGLWLRQDOSRLQWVWRWKHLUFDOFXODWHG0(/'RU3(/'VFRUHLQVWHDGRIWKHSHUFHQWDJH
              SRLQWLQFUHDVH7KHWUDQVSODQWKRVSLWDOPXVWGRFXPHQWLQWKHFDQGLGDWH¶VPHGLFDOUHFRUGWKH
              PHGLFDOMXVWLILFDWLRQIRUWKHFRPELQHGOLYHULQWHVWLQHWUDQVSODQWDQGWKDWWKHWUDQVSODQWZDV
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    7KH2371&RQWUDFWRUZLOOQRWLI\WKHWUDQVSODQWKRVSLWDOZLWKLQGD\VKRXUVRIWKHGHDGOLQHIRU
    UHFHUWLILFDWLRQZKHQDFDQGLGDWH¶VODERUDWRU\YDOXHVQHHGWREHXSGDWHG7UDQVSODQWKRVSLWDOVPXVW



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    UHFHUWLI\DFDQGLGDWH¶VYDOXHVDFFRUGLQJWR7DEOH7KHVHGDWDPXVWEHEDVHGRQWKHPRVWUHFHQW
    FOLQLFDOLQIRUPDWLRQODERUDWRU\WHVWVDQGGLDJQRVLVDQGLQFOXGHWKHGDWHVRIDOOODERUDWRU\WHVWV
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    UHFHQWUHVXOWVLQFOXGLQJWKHGDWHVRIWKHODERUDWRU\WHVWV,QRUGHUWRFKDQJHD0(/'RU3(/'VFRUH
    YROXQWDULO\DOOODERUDWRU\YDOXHVPXVWEHREWDLQHGZLWKLQWKHVDPHGD\KRXUSHULRG
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                                                            YDOXHVPXVWEH                 UHSRUWHGWKHQHZ
                                                            UHSRUWHGHYHU\                ODERUDWRU\YDOXHV
                                                                                            PXVWEHQRROGHU
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    6WDWXV%FDQGLGDWHVKDYHWKHVHIXUWKHUUHTXLUHPHQWVIRUFHUWLILFDWLRQ
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    WRWKHLUSUHYLRXVORZHU0(/'RU3(/'VFRUH7KHFDQGLGDWHPD\UHPDLQDWWKDWSUHYLRXVORZHUVFRUHIRU
    WKHSHULRGDOORZHGEDVHGRQWKHUHFHUWLILFDWLRQVFKHGXOHIRUWKHSUHYLRXVORZHUVFRUHPLQXVWKHWLPH
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              FDQGLGDWHUHJLVWUDWLRQVZLWKLQWKHGRQDWLRQVHUYLFHDUHD '6$ DWWKHWUDQVSODQWKRVSLWDO$UHYLHZ
              ZLOOQRWRFFXULIWKHUHTXHVWZDVIRUDFDQGLGDWHPHHWLQJWKHUHTXLUHPHQWVIRUKHSDWREODVWRPDLQ
              3ROLF\&3HGLDWULF6WDWXV%RUDPHWDEROLFGLVHDVHLQ3ROLF\)5HTXLUHPHQWVIRU
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              DSSURSULDWHO\UHIOHFWWKHFDQGLGDWH¶VPHGLFDOXUJHQF\IRUWUDQVSODQWWKHWUDQVSODQWSURJUDPPD\
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              7UDQVSODQWDWLRQ&RPPLWWHHZLOOUHWURVSHFWLYHO\UHYLHZDOOH[FHSWLRQFDQGLGDWHVUHJLVWHUHGDV
              VWDWXV$RU%DQGPD\UHIHUWKHVHFDVHVWRWKH0HPEHUVKLSDQG3URIHVVLRQDO6WDQGDUGV
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              IURPWKHGD\WKDWWKHSUHYLRXVH[FHSWLRQRUH[WHQVLRQH[SLUHG
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              WLPHRIWUDQVSODQWRIDOOUHFLSLHQWVDWOHDVW\HDUVROGZKRZHUHWUDQVSODQWHGDWKRVSLWDOVZLWKLQ
              QDXWLFDOPLOHVRIWKHFDQGLGDWH¶VOLVWLQJKRVSLWDOLQWKHODVWGD\V
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              WLPHRIWUDQVSODQWRIDOOUHFLSLHQWVOHVVWKDQ\HDUVROGLQWKHQDWLRQ
              
              7KH00D7DQG03D7FDOFXODWLRQVH[FOXGHUHFLSLHQWVZKRDUHHLWKHURIWKHIROORZLQJ
                   7UDQVSODQWHGZLWKOLYHUVIURPOLYLQJGRQRUV'&'GRQRUVDQGGRQRUVIURPGRQRU
                       KRVSLWDOVPRUHWKDQQDXWLFDOPLOHVDZD\IURPWKHWUDQVSODQWKRVSLWDO
                   6WDWXV$RU%DWWKHWLPHRIWUDQVSODQW
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              GD\FRKRUW,IWKHUHKDYHEHHQIHZHUWKDQTXDOLI\LQJWUDQVSODQWVZLWKLQQDXWLFDOPLOHV
              RIDWUDQVSODQWKRVSLWDOLQWKHSUHYLRXVGD\VWKH00D7ZLOOEHFDOFXODWHGEDVHGRQWKH
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              ([FHSWLRQVVFRUHVZLOOEHXSGDWHGWRUHIOHFWFKDQJHVLQ00D7RU03D7HDFKWLPHWKH00D7RU
              03D7LVUHFDOFXODWHG7KHIROORZLQJH[FHSWLRQVFRUHVDUHQRWDZDUGHGUHODWLYHWR00D7RU03D7
              DQGZLOOQRWEHXSGDWHG
               ([FHSWLRQVFRUHVRIRUKLJKHUDZDUGHGE\WKH1/5%DFFRUGLQJWR3ROLF\$0(/'RU
                  3(/'6FRUH([FHSWLRQ5HTXHVWV
               $Q\H[FHSWLRQDZDUGHGDFFRUGLQJWR3ROLF\'5HTXLUHPHQWVIRU+HSDWLF$UWHU\
                  7KURPERVLV +$7 0(/'6FRUH([FHSWLRQV
               ([FHSWLRQVDZDUGHGWRFDQGLGDWHVOHVVWKDQ\HDUVROGDWWLPHRIUHJLVWUDWLRQDFFRUGLQJWR
                  3ROLF\,5HTXLUHPHQWVIRU+HSDWRFHOOXODU&DUFLQRPD +&& 0(/'RU3(/'6FRUH
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                  WR3ROLF\,5HTXLUHPHQWVIRU+HSDWRFHOOXODU&DUFLQRPD +&& 0(/'RU3(/'6FRUH
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    &DQGLGDWHVDUHHOLJLEOHIRU0(/'RU3(/'VFRUHH[FHSWLRQVRUH[WHQVLRQVWKDWGRQRWUHTXLUHHYDOXDWLRQ
    E\WKH1/5%LIWKH\PHHWDQ\RIWKHIROORZLQJUHTXLUHPHQWVIRUDVSHFLILFGLDJQRVLVRIDQ\RIWKHIROORZLQJ
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             x &\VWLFILEURVLVDFFRUGLQJWR3ROLF\%5HTXLUHPHQWVIRU&\VWLF)LEURVLV0(/'RU3(/'
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             x +HSDWLFDUWHU\WKURPERVLVDFFRUGLQJWR3ROLF\'5HTXLUHPHQWVIRU+HSDWLF$UWHU\
                 7KURPERVLV +$7 0(/'RU3(/'6FRUH([FHSWLRQV
             x +HSDWRSXOPRQDU\V\QGURPHDFFRUGLQJWR3ROLF\(5HTXLUHPHQWVIRU+HSDWRSXOPRQDU\
                 6\QGURPH +36 0(/'RU3(/'6FRUH([FHSWLRQV
             x 0HWDEROLFGLVHDVHDFFRUGLQJWR3ROLF\)5HTXLUHPHQWVIRU0HWDEROLF'LVHDVH0(/'RU
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             x 3RUWRSXOPRQDU\K\SHUWHQVLRQDFFRUGLQJWR3ROLF\*5HTXLUHPHQWVIRU3RUWRSXOPRQDU\
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             x +HSDWRFHOOXODUFDUFLQRPDDFFRUGLQJWR3ROLF\,5HTXLUHPHQWVIRU+HSDWRFHOOXODU
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        VHFWLRQZRXOGEHORZHUWKDQWKHFDQGLGDWH¶VH[FHSWLRQVFRUHZLOOEH
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              KRVSLWDOPHHWVDOOWKHIROORZLQJTXDOLILFDWLRQV
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                   &RPPLWWHHWKDWPXVWLQFOXGHDOORIWKHIROORZLQJ
                   x &DQGLGDWHVHOHFWLRQFULWHULD
                   x $GPLQLVWUDWLRQRIQHRDGMXYDQWWKHUDS\EHIRUHWUDQVSODQWDWLRQ
                   x 2SHUDWLYHVWDJLQJWRH[FOXGHDQ\SDWLHQWZLWKUHJLRQDOKHSDWLFO\PSKQRGHPHWDVWDVHV
                        LQWUDKHSDWLFPHWDVWDVHVRUH[WUDKHSDWLFGLVHDVH
                   x $Q\GDWDUHTXHVWHGE\WKH/LYHUDQG,QWHVWLQDO2UJDQ7UDQVSODQWDWLRQ&RPPLWWHH
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               'RFXPHQWVWKDWWKHFDQGLGDWHPHHWVWKHGLDJQRVWLFFULWHULDIRUKLODU&&$ZLWKDPDOLJQDQW
                   DSSHDULQJVWULFWXUHRQFKRODQJLRJUDSK\DQGDWOHDVWRQHRIWKHIROORZLQJ
                   x %LRSV\RUF\WRORJ\UHVXOWVGHPRQVWUDWLQJPDOLJQDQF\
                   x &DUERK\GUDWHDQWLJHQJUHDWHUWKDQ8P/LQDEVHQFHRIFKRODQJLWLV
                   x $QHXSORLG\
                   7KHWXPRUPXVWEHFRQVLGHUHGXQUHVHFWDEOHEHFDXVHRIWHFKQLFDOFRQVLGHUDWLRQVRU
                   XQGHUO\LQJOLYHUGLVHDVH
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                   PDVVWKHPDVVPXVWEHVLQJOHDQGOHVVWKDQWKUHHFP
               'RFXPHQWVWKHH[FOXVLRQRILQWUDKHSDWLFDQGH[WUDKHSDWLFPHWDVWDVHVE\FURVVVHFWLRQDO
                   LPDJLQJVWXGLHVRIWKHFKHVWDQGDEGRPHQZLWKLQGD\VSULRUWRVXEPLVVLRQRIWKHLQLWLDO
                   H[FHSWLRQUHTXHVW
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                   VWDJLQJDIWHUFRPSOHWLRQRIQHRDGMXYDQWWKHUDS\DQGEHIRUHOLYHUWUDQVSODQWDWLRQ (QGRVFRSLF
                   XOWUDVRXQGJXLGHGDVSLUDWLRQRIUHJLRQDOKHSDWLFO\PSKQRGHVPD\EHDGYLVDEOHWRH[FOXGH
                   SDWLHQWVZLWKREYLRXVPHWDVWDVHVEHIRUHQHRDGMXYDQWWKHUDS\LVLQLWLDWHG
               7UDQVSHULWRQHDODVSLUDWLRQRUELRSV\RIWKHSULPDU\WXPRU HLWKHUE\HQGRVFRSLFXOWUDVRXQG
                   RSHUDWLYHRUSHUFXWDQHRXVDSSURDFKHV PXVWEHDYRLGHGEHFDXVHRIWKHKLJKULVNRIWXPRU
                   VHHGLQJDVVRFLDWHGZLWKWKHVHSURFHGXUHV
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              EHDVVLJQHGDVFRUHDFFRUGLQJWR7DEOHEHORZ
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              VWDQGDUGL]HG0(/'VFRUHH[FHSWLRQZLOOEHDVVLJQHGDVFRUHWKDWLVSRLQWVEHORZWKHPHGLDQ
              0(/'DWWUDQVSODQWIRUOLYHUUHFLSLHQWVDWOHDVW\HDUVROGLQWKH'6$ZKHUHWKHFDQGLGDWHLV
              UHJLVWHUHG
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              VWDQGDUGL]HG0(/'VFRUHH[FHSWLRQZLOOEHDVVLJQHGDVFRUHHTXDOWRWKHPHGLDQ0(/'DW
              WUDQVSODQWIRUDOOOLYHUUHFLSLHQWVLQWKH'6$ZKHUHWKHFDQGLGDWHLVUHJLVWHUHG
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              DVWDQGDUGL]HG3(/'VFRUHH[FHSWLRQZLOOEHDVVLJQHGDVFRUHHTXDOWRWKHPHGLDQ0(/'DW
              WUDQVSODQWIRUDOOOLYHUUHFLSLHQWVLQWKHUHJLRQZKHUHWKHFDQGLGDWHLVUHJLVWHUHG
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              KRVSLWDOVPXVWVXEPLWDQH[FHSWLRQH[WHQVLRQUHTXHVWDFFRUGLQJWR3ROLF\&0(/'RU3(/'
              6FRUH([FHSWLRQ([WHQVLRQVDQGSURYLGHFURVVVHFWLRQDOLPDJLQJVWXGLHVRIWKHFKHVWDQG
              DEGRPHQWKDWH[FOXGHLQWUDKHSDWLFDQGH[WUDKHSDWLFPHWDVWDVHV7KHVHUHTXLUHGLPDJLQJVWXGLHV
              PXVWKDYHEHHQFRPSOHWHGZLWKLQGD\VSULRUWRWKHVXEPLVVLRQRIWKHH[WHQVLRQUHTXHVW
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              $FDQGLGDWHZLOOUHFHLYHD0(/'RU3(/'VFRUHH[FHSWLRQIRUF\VWLFILEURVLVLIWKHFDQGLGDWH¶V
              GLDJQRVLVKDVEHHQFRQILUPHGE\JHQHWLFDQDO\VLVDQGWKHFDQGLGDWHKDVDIRUFHGH[SLUDWRU\
              YROXPHDWRQHVHFRQG )(9 EHORZSHUFHQWRISUHGLFWHG)(9ZLWKLQGD\VSULRUWR
              VXEPLVVLRQRIWKHLQLWLDOH[FHSWLRQUHTXHVW
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              EHDVVLJQHGDVFRUHDFFRUGLQJWR7DEOHEHORZ
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              SUHYLRXVGD\FRKRUW,IWKHUHKDYHEHHQIHZHUWKDQWUDQVSODQWVLQWKH'6$LQWKHSUHYLRXV
              GD\VWKHPHGLDQ0(/'DWWUDQVSODQWZLOOEHFDOFXODWHGIRUWKHUHJLRQZKHUHWKHFDQGLGDWHLV
              UHJLVWHUHG$WHDFKGD\XSGDWHFDQGLGDWHVZLWKH[LVWLQJVWDQGDUGL]HGVFRUHH[FHSWLRQVZLOO
              EHDVVLJQHGWKHVFRUHWRPDWFKWKHUHFDOFXODWHGPHGLDQ0(/'DWWUDQVSODQW7KHPHGLDQ0(/'
              DWWUDQVSODQWFDOFXODWLRQH[FOXGHVUHFLSLHQWVWUDQVSODQWHGZLWKOLYHUVUHFRYHUHGE\232VRXWVLGH
              WKHUHFLSLHQWWUDQVSODQWKRVSLWDO¶VUHJLRQ
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              KRVSLWDOVPXVWVXEPLWDQH[FHSWLRQH[WHQVLRQUHTXHVWDFFRUGLQJWR3ROLF\&0(/'RU3(/'
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                  DWWKDWWUDQVSODQWKRVSLWDORUKDVDQHFKRFDUGLRJUDPSHUIRUPHGZLWKLQGD\VSULRUWR
                  VXEPLVVLRQRIWKHLQLWLDOH[FHSWLRQUHTXHVWVKRZLQJWKHFDQGLGDWHKDVDQHMHFWLRQIUDFWLRQ
                  JUHDWHUWKDQSHUFHQW
               7KDWWKHFDQGLGDWHFDQZDONZLWKRXWDVVLVWDQFH
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              VWDQGDUGL]HG0(/'VFRUHH[FHSWLRQZLOOEHDVVLJQHGDVFRUHWKDWLVSRLQWVEHORZWKHPHGLDQ
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              WUDQVSODQWIRUDOOOLYHUUHFLSLHQWVLQWKHUHJLRQZKHUHWKHFDQGLGDWHLVUHJLVWHUHG
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              UHJLVWHUHG$WHDFKGD\XSGDWHFDQGLGDWHVZLWKH[LVWLQJVWDQGDUGL]HGVFRUHH[FHSWLRQVZLOO
              EHDVVLJQHGWKHVFRUHWRPDWFKWKHUHFDOFXODWHGPHGLDQ0(/'DWWUDQVSODQW7KHPHGLDQ0(/'
              DWWUDQVSODQWFDOFXODWLRQH[FOXGHVUHFLSLHQWVWUDQVSODQWHGZLWKOLYHUVUHFRYHUHGE\232VRXWVLGH
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              KRVSLWDOVPXVWVXEPLWDQH[FHSWLRQH[WHQVLRQUHTXHVWDFFRUGLQJWR3ROLF\&0(/'RU3(/'
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                       VKRZV6KRZVWKDWWKHFDQGLGDWHKDVDQHMHFWLRQIUDFWLRQJUHDWHUWKDQSHUFHQWZLWKLQ
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              \HDUVROGDWUHJLVWUDWLRQDQGKDV+$7ZLWKLQGD\VRIWUDQVSODQWEXWGRHVQRWPHHWFULWHULDIRU
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              VFRUHH[FHSWLRQIRUPHWDEROLFGLVHDVHLIWKHFDQGLGDWH¶VWUDQVSODQWKRVSLWDOVXEPLWVHYLGHQFHRI
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              SUHYLRXVGD\FRKRUW,IWKHUHKDYHEHHQIHZHUWKDQWUDQVSODQWVLQWKH'6$LQWKHSUHYLRXV
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              UHJLVWHUHG$WHDFKGD\XSGDWHFDQGLGDWHVZLWKH[LVWLQJVWDQGDUGL]HGVFRUHH[FHSWLRQVZLOO
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              DWWUDQVSODQWFDOFXODWLRQH[FOXGHVUHFLSLHQWVWUDQVSODQWHGZLWKOLYHUVUHFRYHUHGE\232VRXWVLGH
              WKHUHFLSLHQWWUDQVSODQWKRVSLWDO¶VUHJLRQ
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              KRVSLWDOVPXVWVXEPLWDQH[FHSWLRQH[WHQVLRQUHTXHVWDFFRUGLQJWR3ROLF\&0(/'RU3(/'
              6FRUH([FHSWLRQ([WHQVLRQVZLWKHYLGHQFHWKDWWKHFDQGLGDWHLVUHJLVWHUHGRQWKHZDLWLQJOLVWIRUD
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                  x 7ZHOYHWR\HDUVROGDQGWKH1DWLRQDO/LYHU5HYLHZ%RDUG 1/5% KDVGHWHUPLQHGWKDWWKH
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                      UHJLRQDOWKHUDS\WKHLUUHVLGXDOOHVLRQVPXVWVXEVHTXHQWO\PHHWWKHUHTXLUHPHQWVIRU
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                      DIWHUORFDOUHJLRQDOWKHUDS\&DQGLGDWHVZLWKOHVLRQVWKDWGRQRWLQLWLDOO\PHHWWKH
                      GRZQVWDJLQJSURWRFROLQFOXVLRQFULWHULDZKRDUHODWHUGRZQVWDJHGDQGWKHQPHHW
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                      LQLWLDOUHTXHVWRUWKHILUVWH[WHQVLRQUHTXHVWWKDWPHHWVWKHUHTXLUHPHQWVIRUD
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                            \HDUVROG        ROG                 ILUVWH[WHQVLRQ               00D7
                            $WOHDVW      /HVVWKDQ        $Q\                           
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                            \HDUVROG        \HDUVROG
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                      GD\VXVLQJWKHSUHYLRXVGD\FRKRUW,IWKHUHKDYHEHHQIHZHUWKDQWUDQVSODQWV
                      LQWKH'6$LQWKHSUHYLRXVGD\VWKHPHGLDQ0(/'DWWUDQVSODQWZLOOEH
                      FDOFXODWHGIRUWKHUHJLRQZKHUHWKHFDQGLGDWHLVUHJLVWHUHG$WHDFKGD\XSGDWH
                      FDQGLGDWHVZLWKH[LVWLQJVWDQGDUGL]HGVFRUHH[FHSWLRQVZLOOEHDVVLJQHGWKHVFRUHWR
                      PDWFKWKHUHFDOFXODWHGPHGLDQ0(/'7KHPHGLDQ0(/'DWWUDQVSODQWFDOFXODWLRQ
                      H[FOXGHVUHFLSLHQWVWUDQVSODQWHGZLWKOLYHUVUHFRYHUHGE\232VRXWVLGHWKHUHFLSLHQW
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                          UHTXLUHPHQWVIRUDVWDQGDUGL]HG0(/'RU3(/'VFRUHH[FHSWLRQZLOOEHDVVLJQHGD
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                               $QXSGDWHGQDUUDWLYH
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                          WUDQVSODQWSURJUDPPD\DSSHDOZLWKWKH1/5%EXWWKHFDQGLGDWHZLOOQRWUHFHLYHWKH
                          DGGLWLRQDO0(/'RU3(/'SULRULW\XQWLODSSURYHGE\WKH1/5%7KH1/5%ZLOOUHIHU
                          WKHPDWWHUWRWKH/LYHUDQG,QWHVWLQDO2UJDQ7UDQVSODQWDWLRQ&RPPLWWHHIRUIXUWKHU
                          UHYLHZDQGSRVVLEOHDFWLRQLIWKH1/5%ILQGVWKHWUDQVSODQWSURJUDPWREH
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                          WKH/LYHUDQG,QWHVWLQDO2UJDQ7UDQVSODQWDWLRQ&RPPLWWHHIRUUHYLHZ7KH/LYHUDQG
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              )RUVWDWXV$DQG%WUDQVSODQWFDQGLGDWHVWKRVHZLWKWKHVDPHEORRGW\SHDVWKHGHFHDVHG
              OLYHUGRQRUZLOOUHFHLYHSRLQWV&DQGLGDWHVZLWKFRPSDWLEOHEXWQRWLGHQWLFDOEORRGW\SHVZLOO
              UHFHLYHSRLQWVDQGFDQGLGDWHVZLWKLQFRPSDWLEOHW\SHVZLOOUHFHLYHSRLQWV%ORRGW\SH2
              FDQGLGDWHVZKRZLOODFFHSWDOLYHUIURPDEORRGW\SH$QRQ$EORRGW\SHGRQRUZLOOUHFHLYH
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              W\SHVLGHQWLFDOWRWKHGHFHDVHGGRQRUILUVWWKHQWRFDQGLGDWHVZKRDUHEORRGW\SHFRPSDWLEOH
              IROORZHGE\FDQGLGDWHVZKRDUHEORRGW\SHLQFRPSDWLEOHZLWKWKHGHFHDVHGGRQRU
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              x $Q\UHPDLQLQJEORRGW\SHFRPSDWLEOHFDQGLGDWHVRQFHWKHDOOEORRGW\SH2DQG%FDQGLGDWHV
                  RQWKHPDWFKUXQKDYHEHHQH[KDXVWHGDWWKHUHJLRQSOXVFLUFOHDQGQDWLRQDOOHYHO
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               6WDWXV$DQG%FDQGLGDWHVEORRGW\SH2FDQGLGDWHVDQGEORRGW\SH%FDQGLGDWHVZLWKD
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               %ORRGW\SH%FDQGLGDWHVZLWKD0(/'RU3(/'VFRUHOHVVWKDQ
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              WKDQRUHTXDOWRWUDQVSODQWKRVSLWDOVPD\VSHFLI\RQWKHZDLWLQJOLVWLIWKRVHFDQGLGDWHVZLOO
              DFFHSWDOLYHUIURPDGHFHDVHGGRQRURIDQ\EORRGW\SH&DQGLGDWHVDUHJLYHQSRLQWVGHSHQGLQJ
              RQWKHLUEORRGW\SHDFFRUGLQJWR3ROLF\%3RLQWV$VVLJQHGE\%ORRG7\SH
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              UHJLVWHUHGDWDWUDQVSODQWKRVSLWDOZLWKLQWKHFLUFOHRU232¶V'6$UHFHLYHVSUR[LPLW\SRLQWV
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                      WLPHRIUHJLVWUDWLRQRQWKH                                       WKHLUDOORFDWLRQ0(/'VFRUH
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                      WLPHRIUHJLVWUDWLRQRQWKH        DWOHDVW                   WKHLUDOORFDWLRQ3(/'VFRUH
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              :LWKLQHDFKVWDWXV$DOORFDWLRQFODVVLILFDWLRQFDQGLGDWHVDUHVRUWHGLQWKHIROORZLQJRUGHU
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               7RWDOZDLWLQJWLPHDWVWDWXV$ KLJKHVWWRORZHVW 
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              :LWKLQHDFKVWDWXV%DOORFDWLRQFODVVLILFDWLRQFDQGLGDWHVDUHVRUWHGLQWKHIROORZLQJRUGHU
              
               7RWDOZDLWLQJWLPHDQGEORRGW\SHFRPSDWLELOLW\SRLQWV KLJKHVWWRORZHVW DFFRUGLQJWR3ROLF\
                  /LYHU$OORFDWLRQ3RLQWV
               7RWDOZDLWLQJWLPHDWVWDWXV% KLJKHVWWRORZHVW 
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              WKDQRUHTXDOWRDUHVRUWHGLQWKHIROORZLQJRUGHU
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                       E :DLWLQJWLPHDWWKHFXUUHQWRUKLJKHUDOORFDWLRQ0(/'RUDOORFDWLRQ3(/'VFRUH KLJKHVW
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                       WKDQRUHTXDOWRVL[DUHUHGLVWULEXWHGEHWZHHQWKHSHGLDWULFFDQGLGDWHVDFFRUGLQJWRWKHLU
                       3(/'RU0(/'VFRUH KLJKHVWWRORZHVW 
              :LWKLQHDFK0(/'RU3(/'VFRUHDOORFDWLRQFODVVLILFDWLRQDOOFDQGLGDWHVDUHVRUWHGLQWKH
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               ,GHQWLFDOEORRGW\SHVFRPSDWLEOHEORRGW\SHVWKHQLQFRPSDWLEOHEORRGW\SHV
               :DLWLQJWLPHDWWKHFXUUHQWRUKLJKHU0(/'RU3(/'VFRUHH[FOXGLQJSUR[LPLW\SRLQWV
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              DOORFDWHGWRFDQGLGDWHVDFFRUGLQJWR7DEOHEHORZ
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                                                             3HGLDWULFVWDWXV%DQGLQQHHGRIRWKHU
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                                                             FRPSDWLEOH
                                                             $Q\0(/'RU3(/'DQGLQQHHGRIRWKHU
                                  5HJLRQRU&LUFOH       PHWKRGRIKHSDWLFVXSSRUWEORRGW\SH
                                                             FRPSDWLEOH
                                                             $Q\0(/'RU3(/'DQGLQQHHGRIRWKHU
                                  1DWLRQ                 PHWKRGRIKHSDWLFVXSSRUWEORRGW\SH
                                                             FRPSDWLEOH
              




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23718126%ULHILQJ3DSHU
                                                              $QGZLWKLQWKLV     'RQRU   &DQGLGDWH
                         &DQGLGDWHVZLWKD0(/'3(/'
       &ODVVLILFDWLRQ                                        GLVWDQFHIURPWKH   7\SH    7\SH
                         VFRUHRIDWOHDVW
                                                              GRQRUKRVSLWDO
                       $GXOWRU3HGLDWULF6WDWXV$        QP               $Q\     $Q\
                       6WDWXV%                           QP               $Q\     $Q\
                                                         QP               2       2RU%
                                                         QP               2       2
                                                         QP               1RQ2   $Q\
                                                         QP               2       2
                                                         QP               1RQ2   $Q\
                                                         QP               2       2
                                                         QP               1RQ2   $Q\
                                                        QP               2       2
                                                        QP               1RQ2   $Q\
                      $GXOWRU3HGLDWULF6WDWXV$        1DWLRQ              $Q\     $Q\
                      6WDWXV%                           1DWLRQ              $Q\     $Q\
                                                        1DWLRQ              2       2
                                                        1DWLRQ              1RQ2   $Q\
                      $Q\                                 QP               2       2
                      $Q\                                 QP               1RQ2   $Q\
                      $Q\                                 QP               2       2
                      $Q\                                 QP               1RQ2   $Q\
                      $Q\                                 QP               2       2
                      $Q\                                 QP               1RQ2   $Q\
                      $Q\                                 1DWLRQ              2       2
                      $Q\                                 1DWLRQ              1RQ2   $Q\
                                                        QP               2       %
                                                        QP               2       %
                                                        QP               2       %
                                                        1DWLRQ              2       %
                      $Q\                                 QP               2       %
                      $Q\                                 QP               2       %
                      $Q\                                 QP               2       %
                      $Q\                                 1DWLRQ              2       %
                                                        QP               2       $RU$%
                                                        QP               2       $RU$%
                                                        QP               2       $RU$%
                                                        1DWLRQ              2       $RU$%
                      $Q\                                 QP               2       $RU$%
                      $Q\                                 QP               2       $RU$%
                      $Q\                                 QP               2       $RU$%
                      $Q\                                 1DWLRQ              2       $RU$%
                         $GXOWRU3HGLDWULF6WDWXV$IRU
                                                           1DWLRQ              $Q\     $Q\
                         RWKHUPHWKRGRIKHSDWLFVXSSRUW




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                  Case 1:19-cv-01783-AT Document 1-10 Filed 04/22/19 Page 83 of 147
       23718126%ULHILQJ3DSHU




                                    6WDWXV%IRURWKHUPHWKRGRI
                                                                     1DWLRQ                  $Q\        $Q\
                                    KHSDWLFVXSSRUW
                                    $Q\0(/'RU3(/'IRURWKHU
                                                                     1DWLRQ                  $Q\        $Q\
                                    PHWKRGRIKHSDWLFVXSSRUW
              
              
        )*         $OORFDWLRQRI/LYHUVIURP1RQ'&''HFHDVHG'RQRUVWR<HDUV
        2OG
              /LYHUVIURPQRQ'&'GHFHDVHGGRQRUVWR\HDUVROGDUHDOORFDWHGWRFDQGLGDWHVDFFRUGLQJ
              WR7DEOHEHORZ
              
                     7DEOH$OORFDWLRQRI/LYHUVIURP1RQ'&''HFHDVHG'RQRUVWR<HDUV2OG

                      &ODVVLILFDWLRQ   &DQGLGDWHVWKDWDUHZLWKLQ $QGDUH
                                        WKH232¶V
                                      5HJLRQRU&LUFOH              3HGLDWULFVWDWXV$
                                      5HJLRQRU&LUFOH              $GXOWVWDWXV$
                                      5HJLRQRU&LUFOH              3HGLDWULFVWDWXV%
                                      5HJLRQRU&LUFOH              $Q\3(/'
                                      5HJLRQRU&LUFOH              0(/'RIDWOHDVWDQGWR\HDUVROG
                                                                       0(/'RIDWOHDVWDQGDWOHDVW\HDUV
                                      5HJLRQRU&LUFOH
                                                                       ROG
                                      5HJLRQRU&LUFOH              0(/'OHVVWKDQDQGWR\HDUVROG
                                      5HJLRQRU&LUFOH              0(/'OHVVWKDQDQGDWOHDVW\HDUVROG
                                      1DWLRQ                        3HGLDWULFVWDWXV$
                                     1DWLRQ                        $GXOWVWDWXV$
                                     1DWLRQ                        3HGLDWULFVWDWXV%
                                     1DWLRQ                        $Q\3(/'
                                     1DWLRQ                        $Q\0(/'DQGWR\HDUVROG
                                     1DWLRQ                        $Q\0(/'DQGDWOHDVW\HDUVROG
                                     5HJLRQRU&LUFOH              $Q\3(/'DQGEORRGW\SHFRPSDWLEOH
                                                                       0(/'DWOHDVWWR\HDUVROGDQG
                                     5HJLRQRU&LUFOH
                                                                       EORRGW\SHFRPSDWLEOH
                                                                       0(/'DWOHDVWDWOHDVW\HDUVROGDQG
                                     5HJLRQRU&LUFOH
                                                                       EORRGW\SHFRPSDWLEOH
                                                                       0(/'OHVVWKDQWR\HDUVROGDQG
                                     5HJLRQRU&LUFOH
                                                                       EORRGW\SHFRPSDWLEOH
                                                                       0(/'OHVVWKDQDWOHDVW\HDUVROG
                                     5HJLRQRU&LUFOH
                                                                       DQGEORRGW\SHFRPSDWLEOH
                                     1DWLRQ                        $Q\3(/'DQGEORRGW\SHFRPSDWLEOH
                                                                       $Q\0(/'WR\HDUVROGDQGEORRG
                                     1DWLRQ
                                                                       W\SHFRPSDWLEOH
                                                                       $Q\0(/'DWOHDVW\HDUVROGDQGEORRG
                                     1DWLRQ
                                                                       W\SHFRPSDWLEOH




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       23718126%ULHILQJ3DSHU




                      &ODVVLILFDWLRQ   &DQGLGDWHVWKDWDUHZLWKLQ $QGDUH
                                        WKH232¶V
                                                                    $GXOWRUSHGLDWULFVWDWXV$DQGLQQHHGRI
                                     5HJLRQRU&LUFOH
                                                                    RWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                                    3HGLDWULFVWDWXV%DQGLQQHHGRIRWKHU
                                     5HJLRQRU&LUFOH
                                                                    PHWKRGRIKHSDWLFVXSSRUW
                                                                    $Q\0(/'RU3(/'DQGLQQHHGRIRWKHU
                                     5HJLRQRU&LUFOH
                                                                    PHWKRGRIKHSDWLFVXSSRUW
                                                                    $GXOWRUSHGLDWULFVWDWXV$DQGLQQHHGRI
                                     1DWLRQ
                                                                    RWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                                    3HGLDWULFVWDWXV%DQGLQQHHGRIRWKHU
                                     1DWLRQ
                                                                    PHWKRGRIKHSDWLFVXSSRUW
                                                                    $Q\0(/'RU3(/'DQGLQQHHGRIRWKHU
                                     1DWLRQ
                                                                    PHWKRGRIKHSDWLFVXSSRUW
                                                                    $Q\0(/'RU3(/'LQQHHGRIRWKHU
                                     5HJLRQRU&LUFOH           PHWKRGRIKHSDWLFVXSSRUWDQGEORRGW\SH
                                                                    FRPSDWLEOH
                                                                    $Q\0(/'RU3(/'LQQHHGRIRWKHU
                                     1DWLRQ                     PHWKRGRIKHSDWLFVXSSRUWDQGEORRGW\SH
                                                                    FRPSDWLEOH
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                           &DQGLGDWHVZLWKD                 $QGZLWKLQWKLV
                                                                                   'RQRU   &DQGLGDWH
           &ODVVLILFDWLRQ 0(/'3(/'VFRUHRIDW             GLVWDQFHIURPWKH
                                                                                   7\SH    7\SH
                           OHDVW                             GRQRUKRVSLWDO
                          3HGLDWULF6WDWXV$              QP               $Q\     $Q\
                          $GXOW6WDWXV$                  QP               $Q\     $Q\
                          3HGLDWULF6WDWXV%              QP               $Q\     $Q\
                          3(/'RIDWOHDVW              QP               2       2RU%
                          $Q\3(/'                         QP               2       2
                          $Q\3(/'                         QP               1RQ2   $Q\
                            0(/'RIDWOHDVWDQG
                          FDQGLGDWHLVOHVVWKDQ        QP               2       2RU%
                            \HDUVROGDWUHJLVWUDWLRQ
                            $Q\0(/'DQGFDQGLGDWHLV
                          OHVVWKDQ\HDUVROGDW        QP               2       2
                            UHJLVWUDWLRQ
                            $Q\0(/'DQGFDQGLGDWHLV
                          OHVVWKDQ\HDUVROGDW        QP               1RQ2   $Q\
                            UHJLVWUDWLRQ
                         3HGLDWULF6WDWXV$              1DWLRQ              $Q\     $Q\
                         $GXOW6WDWXV$                  1DWLRQ              $Q\     $Q\
                         3HGLDWULF6WDWXV%              1DWLRQ              $Q\     $Q\
                         3(/'VFRUHRIDWOHDVW        1DWLRQ              2       2RU%
                         $Q\3(/'                         1DWLRQ              2       2
                         $Q\3(/'                         1DWLRQ              1RQ2   $Q\
                            0(/'RIDWOHDVWDQG
                         FDQGLGDWHLVOHVVWKDQ        1DWLRQ              2       2RU%
                            \HDUVROGDWUHJLVWUDWLRQ
                            $Q\0(/'DQGFDQGLGDWHLV
                         OHVVWKDQ\HDUVROGDW        1DWLRQ              2       2
                            UHJLVWUDWLRQ
                            $Q\0(/'DQGFDQGLGDWHLV
                         OHVVWKDQ\HDUVROGDW        1DWLRQ              1RQ2   $Q\
                            UHJLVWUDWLRQ
                            0(/'RIDWOHDVWDQG
                         FDQGLGDWHLVDWOHDVW\HDUV   QP               2       2RU%
                            ROGDWUHJLVWUDWLRQ
                            $Q\0(/'DQGFDQGLGDWHLVDW
                         OHDVW\HDUVROGDW            QP               2       2
                            UHJLVWUDWLRQ
                            $Q\0(/'DQGFDQGLGDWHLVDW
                         OHDVW\HDUVROGDW            QP               1RQ2   $Q\
                            UHJLVWUDWLRQ
                            0(/'RIDWOHDVWDQG
                         FDQGLGDWHLVDWOHDVW\HDUV   1DWLRQ              2       2RU%
                            ROGDWUHJLVWUDWLRQ




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                                  $Q\0(/'DQGFDQGLGDWHLVDW
                                    OHDVW\HDUVROGDW            1DWLRQ                  2          2
                                  UHJLVWUDWLRQ
                                       $Q\0(/'DQGFDQGLGDWHLVDW
                                    OHDVW\HDUVROGDW            1DWLRQ                  1RQ2      $Q\
                                       UHJLVWUDWLRQ
                                    $Q\3(/'                        QP                   2          %
                                       $Q\0(/'DQGFDQGLGDWHLV
                                    OHVVWKDQ\HDUVROGDW        QP                   2          %
                                       UHJLVWUDWLRQ
                                    $Q\3(/'                         1DWLRQ                  2          %
                                       $Q\0(/'DQGFDQGLGDWHLV
                                    OHVVWKDQ\HDUVROGDW        1DWLRQ                  2          %
                                       UHJLVWUDWLRQ
                                       $Q\0(/'DQGFDQGLGDWHLVDW
                                    OHDVW\HDUVROGDW            QP                   2          %
                                       UHJLVWUDWLRQ
                                       $Q\0(/'DQGFDQGLGDWHLVDW
                                    OHDVW\HDUVROGDW            1DWLRQ                  2          %
                                       UHJLVWUDWLRQ
                                    $Q\3(/'                        QP                   2          $RU$%
                                       $Q\0(/'DQGFDQGLGDWHLV
                                    OHVVWKDQ\HDUVROGDW        QP                   2          $RU$%
                                       UHJLVWUDWLRQ
                                    $Q\3(/'                         1DWLRQ                  2          $RU$%
                                       $Q\0(/'DQGFDQGLGDWHLV
                                    OHVVWKDQ\HDUVROGDW        1DWLRQ                  2          $RU$%
                                       UHJLVWUDWLRQ
                                       $Q\0(/'DQGFDQGLGDWHLVDW
                                    OHDVW\HDUVROGDW            QP                   2          $RU$%
                                       UHJLVWUDWLRQ
                                       $Q\0(/'DQGFDQGLGDWHLVDW
                                    OHDVW\HDUVROGDW            1DWLRQ                  2          $RU$%
                                       UHJLVWUDWLRQ
                                       $GXOWRU3HGLDWULF6WDWXV$
                                    IRURWKHUPHWKRGRIKHSDWLF      1DWLRQ                  $Q\        $Q\
                                       VXSSRUW
                                       3HGLDWULF6WDWXV%IRURWKHU
                                                                      1DWLRQ                  $Q\        $Q\
                                       PHWKRGRIKHSDWLFVXSSRUW
                                       $Q\0(/'RU3(/'IRURWKHU
                                                                      1DWLRQ                  $Q\        $Q\
                                       PHWKRGRIKHSDWLFVXSSRUW
        *+ $OORFDWLRQRI/LYHUVIURP1RQ'&''HFHDVHG'RQRUV/HVVWKDQ
        <HDUV2OG
              /LYHUVIURPQRQ'&'GRQRUVOHVVWKDQ\HDUVROGDUHDOORFDWHGWRFDQGLGDWHVDFFRUGLQJWR
              7DEOHEHORZ
              
                  7DEOH$OORFDWLRQRI/LYHUVIURP1RQ'&''HFHDVHG'RQRUV/HVVWKDQ<HDUV2OG
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                 &ODVVLIL      &DQGLGDWHV        $QGDUH
                 FDWLRQ       WKDWDUHZLWKLQ
                               WKH232¶V
                               5HJLRQRU
                                                3HGLDWULFVWDWXV$
                               &LUFOH
                                                  3HGLDWULFVWDWXV$DQGWR\HDUV
                             1DWLRQ
                                                  ROG
                               5HJLRQRU
                                                $GXOWVWDWXV$
                               &LUFOH
                               5HJLRQRU
                                                3HGLDWULFVWDWXV%
                               &LUFOH
                               5HJLRQRU
                                                $Q\3(/'
                               &LUFOH
                               5HJLRQRU         0(/'RIDWOHDVWDQGWR\HDUV
                    
                               &LUFOH            ROG
                               5HJLRQRU         0(/'RIDWOHDVWDQGDWOHDVW
                    
                               &LUFOH            \HDUVROG
                               5HJLRQRU         0(/'OHVVWKDQDQGWR\HDUV
                    
                               &LUFOH            ROG
                               5HJLRQRU         0(/'OHVVWKDQDQGDWOHDVW
                    
                               &LUFOH            \HDUVROG
                                                  3HGLDWULFVWDWXV$DQGWR\HDUV
                            1DWLRQ
                                                  ROG
                            1DWLRQ            $GXOWVWDWXV$
                                                  3HGLDWULFVWDWXV%DQGWR\HDUV
                            1DWLRQ
                                                  ROG
                            1DWLRQ            $Q\3(/'
                            1DWLRQ            $Q\0(/'DQGWR\HDUVROG
                            1DWLRQ            $Q\0(/'DQGDWOHDVW\HDUVROG
                               5HJLRQRU
                                               $Q\3(/'DQGFRPSDWLEOHEORRGW\SH
                               &LUFOH
                               5HJLRQRU         0(/'RIDWOHDVWWR\HDUVROG
                    
                               &LUFOH            DQGEORRGW\SHFRPSDWLEOH
                               5HJLRQRU         0(/'RIDWOHDVWDWOHDVW\HDUV
                    
                               &LUFOH            ROGDQGEORRGW\SHFRPSDWLEOH
                               5HJLRQRU         0(/'OHVVWKDQWR\HDUVROG
                    
                               &LUFOH            DQGEORRGW\SHFRPSDWLEOH
                               5HJLRQRU         0(/'OHVVWKDQDWOHDVW\HDUV
                    
                               &LUFOH            ROGDQGEORRGW\SHFRPSDWLEOH
                            1DWLRQ            $Q\3(/'DQGEORRGW\SHFRPSDWLEOH
                                                  $Q\0(/'WR\HDUVROGDQG
                            1DWLRQ
                                                  EORRGW\SHFRPSDWLEOH
                                                  $Q\0(/'DWOHDVW\HDUVROGDQG
                            1DWLRQ
                                                  EORRGW\SHFRPSDWLEOH
                               5HJLRQRU         $GXOWRUSHGLDWULFVWDWXV$DQGLQQHHG
                    
                               &LUFOH            RIRWKHUPHWKRGRIKHSDWLFVXSSRUW




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                             &ODVVLIL             &DQGLGDWHV               $QGDUH
                             FDWLRQ              WKDWDUHZLWKLQ
                                                  WKH232¶V
                                                  5HJLRQRU                3HGLDWULFVWDWXV%DQGLQQHHGRIRWKHU
                                  
                                                  &LUFOH                   PHWKRGRIKHSDWLFVXSSRUW
                                                  5HJLRQRU                $Q\0(/'RU3(/'DQGLQQHHGRI
                                  
                                                  &LUFOH                   RWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                                            $GXOWRUSHGLDWULFVWDWXV$DQGLQQHHG
                                               1DWLRQ
                                                                            RIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                                            3HGLDWULFVWDWXV%DQGLQQHHGRIRWKHU
                                               1DWLRQ
                                                                            PHWKRGRIKHSDWLFVXSSRUW
                                                                            $Q\0(/'RU3(/'DQGLQQHHGRI
                                               1DWLRQ
                                                                            RWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                                            $Q\0(/'RU3(/'DQGLQQHHGRI
                                                  5HJLRQRU
                                                                         RWKHUPHWKRGRIKHSDWLFVXSSRUWDQG
                                                  &LUFOH
                                                                            EORRGW\SHFRPSDWLEOH
                                                                            $Q\0(/'RU3(/'DQGLQQHHGRI
                                               1DWLRQ                   RWKHUPHWKRGRIKHSDWLFVXSSRUWDQG
                                                                            EORRGW\SHFRPSDWLEOH
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                                      &DQGLGDWHVZLWKD               $QGZLWKLQWKLV
                                                                                              'RQRU     &DQGLGDWH
                      &ODVVLILFDWLRQ 0(/'3(/'VFRUHRIDW           GLVWDQFHIURPWKH
                                                                                              7\SH      7\SH
                                      OHDVW                           GRQRUKRVSLWDO
                                    3HGLDWULFVWDWXV$             QP                 $Q\       $Q\
                                        3HGLDWULF6WDWXV$DQG
                                      FDQGLGDWHLVOHVVWKDQ     1DWLRQ                $Q\       $Q\
                                        \HDUVROG
                                      $GXOW6WDWXV$               QP                 $Q\       $Q\
                                      3HGLDWULF6WDWXV%          QP                 $Q\       $Q\
                                      3(/'RIDWOHDVW           QP                 2         2RU%
                                      $Q\3(/'                      QP                 2         2
                                      $Q\3(/'                      QP                 1RQ2     $Q\
                                        0(/'RIDWOHDVWDQG
                                      FDQGLGDWHLVOHVVWKDQ     QP                 2         2RU%
                                        \HDUVROGDWUHJLVWUDWLRQ
                                        $Q\0(/'DQGFDQGLGDWHLV
                                      OHVVWKDQ\HDUVROGDW     QP                 2         2
                                        UHJLVWUDWLRQ
                                        $Q\0(/'DQGFDQGLGDWHLV
                                     OHVVWKDQ\HDUVROGDW     QP                 1RQ2     $Q\
                                        UHJLVWUDWLRQ
                                        3HGLDWULF6WDWXV$DQG
                                     FDQGLGDWHLVDWOHDVW\HDUV 1DWLRQ               $Q\       $Q\
                                        ROG
                                     $GXOW6WDWXV$               1DWLRQ                $Q\       $Q\
                                     3HGLDWULF6WDWXV%           1DWLRQ                $Q\       $Q\
                                     3(/'RIDWOHDVW           1DWLRQ                2         2RU%




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                           &DQGLGDWHVZLWKD            $QGZLWKLQWKLV
                                                                              'RQRU   &DQGLGDWH
           &ODVVLILFDWLRQ 0(/'3(/'VFRUHRIDW        GLVWDQFHIURPWKH
                                                                              7\SH    7\SH
                           OHDVW                        GRQRUKRVSLWDO
                        $Q\3(/'                     1DWLRQ              2       2
                       $Q\3(/'                      1DWLRQ              1RQ2   $Q\
                          0(/'RIDWOHDVWDQG
                       FDQGLGDWHLVOHVVWKDQ     1DWLRQ              2       2RU%
                          \HDUVROGDWUHJLVWUDWLRQ
                          $Q\0(/'DQGFDQGLGDWHLV
                       OHVVWKDQ\HDUVROGDW     1DWLRQ              2       2
                          UHJLVWUDWLRQ
                          $Q\0(/'DQGOHVVWKDQ
                                                      1DWLRQ              1RQ2   $Q\
                          \HDUVROGDWUHJLVWUDWLRQ
                          0(/'RIDWOHDVWDQG
                       FDQGLGDWHLVDWOHDVW\HDUV 1DWLRQ             2       2RU%
                          ROGDWUHJLVWUDWLRQ
                          $Q\0(/'DQGFDQGLGDWHLV
                       DWOHDVW\HDUVROGDW      1DWLRQ              2       2
                          UHJLVWUDWLRQ
                          $Q\0(/'DQGDWOHDVW
                                                      QP               1RQ2   $Q\
                          \HDUVROGDWUHJLVWUDWLRQ
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                                                      1DWLRQ              1RQ2   $Q\
                          \HDUVROGDWUHJLVWUDWLRQ
                       $Q\3(/'                      QP               2       %
                          $Q\0(/'DQGFDQGLGDWHLV
                       OHVVWKDQ\HDUVROGDW     QP               2       %
                          UHJLVWUDWLRQ
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                          $Q\0(/'DQGFDQGLGDWHLV
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                          UHJLVWUDWLRQ
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                          UHJLVWUDWLRQ
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                          $Q\0(/'DQGFDQGLGDWHLV
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                          UHJLVWUDWLRQ
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                          $Q\0(/'DQGFDQGLGDWHLV
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                          UHJLVWUDWLRQ
                          $Q\0(/'DQGFDQGLGDWHLV
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                                   &DQGLGDWHVZLWKD                $QGZLWKLQWKLV
                                                                                            'RQRU       &DQGLGDWH
                   &ODVVLILFDWLRQ 0(/'3(/'VFRUHRIDW            GLVWDQFHIURPWKH
                                                                                            7\SH        7\SH
                                   OHDVW                            GRQRUKRVSLWDO
                                   $Q\0(/'DQGFDQGLGDWHLV
                                DWOHDVW\HDUVROGDW         1DWLRQ                2           $RU$%
                                   UHJLVWUDWLRQ
                                     6WDWXV$IRURWKHUPHWKRG
                                                                  1DWLRQ                $Q\         $Q\
                                     RIKHSDWLFVXSSRUW
                                     6WDWXV%IRURWKHUPHWKRG
                                                                  1DWLRQ                $Q\         $Q\
                                     RIKHSDWLFVXSSRUW
                                     $Q\0(/'RU3(/'IRURWKHU
                                                              1DWLRQ                    $Q\         $Q\
                                     PHWKRGRIKHSDWLFVXSSRUW
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        +,   $OORFDWLRQRI/LYHUVDQG/LYHU,QWHVWLQHVIURP'&''RQRUVRU'RQRUV
        DW/HDVW<HDUV2OG
              /LYHUVDQGOLYHULQWHVWLQHVIURP'&'GRQRUVRUGRQRUVDWOHDVW\HDUVROGDUHDOORFDWHGWR
              FDQGLGDWHVDFFRUGLQJWR7DEOHEHORZ
              
        7DEOH$OORFDWLRQRI/LYHUVDQG/LYHU,QWHVWLQHVIURP'&''RQRUVRU'RQRUVDW/HDVW<HDUV2OG

                   &ODVVLILFDWLRQ        &DQGLGDWHVWKDWDUH           $QGDUH
                                          ZLWKLQWKH232¶V
                                        5HJLRQRU&LUFOH              $GXOWRU3HGLDWULFVWDWXV$
                                        5HJLRQRU&LUFOH              3HGLDWULFVWDWXV%
                                        '6$                           0(/'RU3(/'RIDWOHDVW
                                        5HJLRQRU&LUFOH              0(/'RU3(/'RIDWOHDVW
                                        1DWLRQ                        $GXOWRU3HGLDWULFVWDWXV$
                                        1DWLRQ                        3HGLDWULFVWDWXV%
                                        1DWLRQ                        0(/'RU3(/'RIDWOHDVW
                                        '6$                          0(/'RU3(/'OHVVWKDQ
                                        5HJLRQRU&LUFOH              0(/'RU3(/'OHVVWKDQ
                                       1DWLRQ                       0(/'RU3(/'OHVVWKDQ
                                                                         0(/'RU3(/'RIDWOHDVWDQGEORRG
                                       '6$
                                                                         W\SHFRPSDWLEOH
                                                                         0(/'RU3(/'RIDWOHDVWDQGEORRG
                                       5HJLRQRU&LUFOH
                                                                         W\SHFRPSDWLEOH
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                                                                         W\SHFRPSDWLEOH




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                      &ODVVLILFDWLRQ   &DQGLGDWHVWKDWDUH   $QGDUH
                                        ZLWKLQWKH232¶V
                                                               $GXOWRUSHGLDWULFVWDWXV$DQGLQQHHG
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                                                               RIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                               3HGLDWULFVWDWXV%DQGLQQHHGRIRWKHU
                                     '6$
                                                               PHWKRGRIKHSDWLFVXSSRUW
                                                               $Q\0(/'RU3(/'DQGLQQHHGRIRWKHU
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                                                               $GXOWRUSHGLDWULFVWDWXV$DQGLQQHHG
                                     5HJLRQRU&LUFOH
                                                               RIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                               3HGLDWULFVWDWXV%DQGLQQHHGRIRWKHU
                                     5HJLRQRU&LUFOH
                                                               PHWKRGRIKHSDWLFVXSSRUW
                                                               $Q\0(/'RU3(/'DQGLQQHHGRIRWKHU
                                     5HJLRQRU&LUFOH
                                                               PHWKRGRIKHSDWLFVXSSRUW
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                                     1DWLRQ
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                                     '6$                   PHWKRGRIKHSDWLFVXSSRUWDQGEORRGW\SH
                                                               FRPSDWLEOH
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                                     5HJLRQRU&LUFOH      PHWKRGRIKHSDWLFVXSSRUWDQGEORRGW\SH
                                                               FRPSDWLEOH
                                                               $Q\0(/'RU3(/'DQGLQQHHGRIRWKHU
                                     1DWLRQ                PHWKRGRIKHSDWLFVXSSRUWDQGEORRGW\SH
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                                      &DQGLGDWHVZLWKD           $QGZLWKLQWKLV     'RQRU   &DQGLGDWH
                      &ODVVLILFDWLRQ 0(/'3(/'VFRUHRIDW       GLVWDQFHIURPWKH   7\SH    7\SH
                                      OHDVW                       GRQRUKRVSLWDO
                                      $GXOWRU3HGLDWULF6WDWXV
                                                                 QP               $Q\     $Q\
                                      $
                                    3HGLDWULF6WDWXV%         QP               $Q\     $Q\
                                                              QP               2       2RU%
                                                              QP               2       2
                                                              QP               1RQ2   $Q\
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                                                              QP               2       2
                                                              QP               1RQ2   $Q\
                                      $GXOWRU3HGLDWULF6WDWXV
                                                                 1DWLRQ              $Q\     $Q\
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                                   3HGLDWULF6WDWXV%         1DWLRQ              $Q\     $Q\
                                                             1DWLRQ              2       2RU%
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                                                             1DWLRQ              1RQ2   $Q\
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        -   $OORFDWLRQRI/LYHU,QWHVWLQHVIURP1RQ'&''HFHDVHG'RQRUVDW
        /HDVW<HDUV2OGDQG/HVVWKDQ<HDUV2OG
              /LYHUVDQGLQWHVWLQHVIURPQRQ'&'GHFHDVHGGRQRUVDWOHDVW\HDUVROGDQGOHVVWKDQ
              \HDUVROGDUHDOORFDWHGWRFDQGLGDWHVDFFRUGLQJWR7DEOHEHORZ
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                      &ODVVLILFDWLRQ &DQGLGDWHVWKDWDUH      $QGDUH
                                      ZLWKLQWKH232¶V
                                                                /LYHURUOLYHULQWHVWLQHDQGDGXOWRUSHGLDWULF
                                    5HJLRQRU&LUFOH
                                                                VWDWXV$
                                    5HJLRQRU&LUFOH         /LYHURUOLYHULQWHVWLQHDQGSHGLDWULFVWDWXV%
                                    5HJLRQRU&LUFOH         /LYHURUOLYHULQWHVWLQHDQGDQ\RIWKHIROORZLQJ
                                                                x $WOHDVW\HDUVROGDWWLPHRIUHJLVWUDWLRQ
                                                                    DQGFDOFXODWHG0(/'RIDWOHDVW
                                                                    LQFOXGLQJSUR[LPLW\SRLQWV
                                                                x $WOHDVW\HDUVROGDWWLPHRIUHJLVWUDWLRQ
                                                                    DQGKDVDQDSSURYHG+$7H[FHSWLRQ
                                                                x /HVVWKDQ\HDUVROGDWWLPHRI
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                                                                    RIDWOHDVWLQFOXGLQJSUR[LPLW\SRLQWV

                                    1DWLRQ                   /LYHULQWHVWLQHDQGDGXOWRUSHGLDWULFVWDWXV$
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                                    1DWLRQ                   /LYHUDQGDGXOWRUSHGLDWULFVWDWXV$
                                   1DWLRQ                   /LYHUDQGSHGLDWULFVWDWXV%
                                   1DWLRQ                   /LYHUDQG0(/'RU3(/'RIDWOHDVW
                                   '6$                      /LYHUDQG0(/'RU3(/'OHVVWKDQ
                                   5HJLRQRU&LUFOH         /LYHUDQG0(/'RU3(/'OHVVWKDQ
                                   1DWLRQ                   /LYHUDQG0(/'RU3(/'OHVVWKDQ
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                                   5HJLRQRU&LUFOH
                                                                OHDVWDQGEORRGW\SHFRPSDWLEOH
                                                                /LYHULQWHVWLQHDQ\0(/'RU3(/'DQGEORRG
                                   1DWLRQ
                                                                W\SHFRPSDWLEOH
                                                                /LYHU0(/'RU3(/'RIDWOHDVWDQGEORRG
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                                   1DWLRQ
                                                                W\SHFRPSDWLEOH




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                      &ODVVLILFDWLRQ &DQGLGDWHVWKDWDUH   $QGDUH
                                      ZLWKLQWKH232¶V
                                                             /LYHU0(/'RU3(/'OHVVWKDQDQGEORRG
                                  '6$
                                                             W\SHFRPSDWLEOH
                                                             /LYHU0(/'RU3(/'OHVVWKDQDQGEORRG
                                  5HJLRQRU&LUFOH
                                                             W\SHFRPSDWLEOH
                                                             /LYHU0(/'RU3(/'OHVVWKDQDQGEORRG
                                  1DWLRQ
                                                             W\SHFRPSDWLEOH
                                                             /LYHURUOLYHULQWHVWLQHDGXOWRUSHGLDWULFVWDWXV
                                  '6$                    $DQGLQQHHGRIRWKHUPHWKRGRIKHSDWLF
                                                             VXSSRUW
                                                             /LYHURUOLYHULQWHVWLQHSHGLDWULFVWDWXV%DQG
                                  '6$
                                                             LQQHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                             /LYHURUOLYHULQWHVWLQHDQ\0(/'RU3(/'DQG
                                  '6$
                                                             LQQHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                             /LYHURUOLYHULQWHVWLQHDGXOWRUSHGLDWULFVWDWXV
                                  5HJLRQRU&LUFOH       $DQGLQQHHGRIRWKHUPHWKRGRIKHSDWLF
                                                             VXSSRUW
                                                             /LYHURUOLYHULQWHVWLQHSHGLDWULFVWDWXV%DQG
                                  5HJLRQRU&LUFOH
                                                             LQQHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                             /LYHURUOLYHULQWHVWLQHDQ\0(/'RU3(/'DQG
                                  5HJLRQRU&LUFOH
                                                             LQQHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                             /LYHURUOLYHULQWHVWLQHDGXOWRUSHGLDWULFVWDWXV
                                  1DWLRQ                 $DQGLQQHHGRIRWKHUPHWKRGRIKHSDWLF
                                                             VXSSRUW
                                                             /LYHURUOLYHULQWHVWLQHSHGLDWULFVWDWXV%DQG
                                  1DWLRQ
                                                             LQQHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                             /LYHURUOLYHULQWHVWLQHDQ\0(/'RU3(/'DQG
                                  1DWLRQ
                                                             LQQHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUW
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                                  '6$                    QHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUWDQG
                                                             EORRGW\SHFRPSDWLEOH
                                                             /LYHURUOLYHULQWHVWLQHDQ\0(/'RU3(/'LQ
                                  5HJLRQRU&LUFOH       QHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUWDQG
                                                             EORRGW\SHFRPSDWLEOH
                                                             /LYHURUOLYHULQWHVWLQHDQ\0(/'RU3(/'LQ
                                  1DWLRQ                 QHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUWDQG
                                                             EORRGW\SHFRPSDWLEOH
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                           &DQGLGDWHVZLWKD                $QGZLWKLQWKLV     'RQRU   &DQGLGDWH
           &ODVVLILFDWLRQ 0(/'3(/'VFRUHRIDW            GLVWDQFHIURPWKH   7\SH    7\SH
                           OHDVW                            GRQRUKRVSLWDO
                         $GXOWRU3HGLDWULF6WDWXV$    QP               $Q\     $Q\
                          3HGLDWULF6WDWXV%             QP               $Q\     $Q\
                                                        QP               2       2RU%
                                                        QP               2       2
                                                        QP               1RQ2   $Q\
                            $GXOWRU3HGLDWULF6WDWXV$
                          DQGDOVRUHJLVWHUHGIRUDQ      1DWLRQ              $Q\     $Q\
                            LQWHVWLQH
                            3HGLDWULF6WDWXV%DQGDOVR
                                                           1DWLRQ              $Q\     $Q\
                            UHJLVWHUHGIRUDQLQWHVWLQH
                            DQGDOVRUHJLVWHUHGIRUDQ
                                                           1DWLRQ              2       2RU%
                            LQWHVWLQH
                            $Q\0(/'RU3(/'DQGDOVR
                                                           1DWLRQ              2       2
                            UHJLVWHUHGIRUDQLQWHVWLQH
                            $Q\0(/'RU3(/'DQGDOVR
                                                          1DWLRQ              1RQ2   $Q\
                            UHJLVWHUHGIRUDQLQWHVWLQH
                                                       QP               2       2
                                                       QP               1RQ2   $Q\
                                                       QP               2       2
                                                       QP               1RQ2   $Q\
                                                       QP               2       2
                                                       QP               1RQ2   $Q\
                         $GXOWRU3HGLDWULF6WDWXV$    1DWLRQ              $Q\     $Q\
                         3HGLDWULF6WDWXV%             1DWLRQ              $Q\     $Q\
                                                       1DWLRQ              2       2
                                                       1DWLRQ              1RQ2   $Q\
                         $Q\                             QP               2       2
                         $Q\                             QP               1RQ2   $Q\
                         $Q\                             QP               2       2
                         $Q\                             QP               1RQ2   $Q\
                         $Q\                             QP               2       2
                         $Q\                             QP               1RQ2   $Q\
                         $Q\                             1DWLRQ              2       2
                         $Q\                             1DWLRQ              1RQ2   $Q\
                            $Q\0(/'RU3(/'VFRUH
                         DQGFDQGLGDWHLVDOVR           1DWLRQ              2       %
                            UHJLVWHUHGIRUDQLQWHVWLQH
                                                       QP               2       %
                                                       QP               2       %
                                                       QP               2       %
                                                       1DWLRQ              2       %
                         $Q\                             QP               2       %
                         $Q\                             QP               2       %




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                                  $Q\                               QP                   2         %
                                  $Q\                               1DWLRQ                  2         %
                                     $Q\0(/'RU3(/'DQG
                                  FDQGLGDWHLVDOVRUHJLVWHUHG      1DWLRQ                  2         $RU$%
                                     IRUDQLQWHVWLQH
                                                                  QP                   2         $RU$%
                                                                  QP                   2         $RU$%
                                                                  QP                   2         $RU$%
                                                                  1DWLRQ                  2         $RU$%
                                  $Q\                               QP                   2         $RU$%
                                  $Q\                               QP                   2         $RU$%
                                  $Q\                               QP                   2         $RU$%
                                  $Q\                               1DWLRQ                  2         $RU$%
                                     $GXOWRU3HGLDWULF6WDWXV$
                                  IRURWKHUPHWKRGRIKHSDWLF       1DWLRQ                  $Q\       $Q\
                                     VXSSRUW
                                     3HGLDWULF6WDWXV%IRURWKHU
                                                                     1DWLRQ                  $Q\       $Q\
                                     PHWKRGRIKHSDWLFVXSSRUW
                                     $Q\0(/'RU3(/'IRURWKHU
                                                                     1DWLRQ                  $Q\       $Q\
                                     PHWKRGRIKHSDWLFVXSSRUW
               
               
         .          $OORFDWLRQRI/LYHU,QWHVWLQHVIURP1RQ'&''RQRUVWR<HDUV
         2OG
               )RUFRPELQHGOLYHULQWHVWLQHDOORFDWLRQIURPQRQ'&'GRQRUVWR\HDUVROGWKHOLYHUPXVW
               ILUVWEHRIIHUHGDVIROORZV
               
               $FFRUGLQJWR3ROLF\*$OORFDWLRQRI/LYHUVIURP1RQ'&''HFHDVHG'RQRUVWR
                    <HDUV2OG
               6HTXHQWLDOO\WRHDFKOLYHUFDQGLGDWHLQFOXGLQJDOO0(/'DQG3(/'FDQGLGDWHVWKURXJK
                    QDWLRQDOVWDWXV$DQG%RIIHUV
              
              7KHOLYHUPD\WKHQEHRIIHUHGWRFRPELQHGOLYHULQWHVWLQHSRWHQWLDOUHFLSLHQWVVHTXHQWLDOO\
              DFFRUGLQJWRWKHLQWHVWLQHPDWFKUXQ
              
        /          $OORFDWLRQRI/LYHU,QWHVWLQHVIURP1RQ'&''RQRUV/HVVWKDQ
                        <HDUV2OG
              /LYHUVDQGLQWHVWLQHVIURPQRQ'&'GRQRUVOHVVWKDQ\HDUVROGDUHDOORFDWHGWRFDQGLGDWHV
              DFFRUGLQJWR7DEOHEHORZ
                                                                                                     
                7DEOH$OORFDWLRQRI&RPELQHG/LYHU,QWHVWLQHVIURP'RQRUV/HVVWKDQ<HDUV2OG

                        &ODVVLILFDWLRQ &DQGLGDWHVWKDWDUH $QGDUH
                                        ZLWKLQWKH232¶V
                                      5HJLRQRU&LUFOH            /LYHURUOLYHULQWHVWLQHDQGSHGLDWULFVWDWXV$
                                                                     /LYHURUOLYHULQWHVWLQHSHGLDWULFVWDWXV$DQG
                                      1DWLRQ
                                                                     WR\HDUVROG




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            &ODVVLILFDWLRQ &DQGLGDWHVWKDWDUH $QGDUH
                            ZLWKLQWKH232¶V
                                                 /LYHULQWHVWLQHSHGLDWULFVWDWXV$DQGWR
                          1DWLRQ
                                                 \HDUVROG
                          5HJLRQRU&LUFOH    /LYHURUOLYHULQWHVWLQHDQGDGXOWVWDWXV$
                          5HJLRQRU&LUFOH    /LYHURUOLYHULQWHVWLQHDQGSHGLDWULFVWDWXV%
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                          5HJLRQRU&LUFOH
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                          1DWLRQ              /LYHULQWHVWLQHDQGSHGLDWULFVWDWXV%
                          1DWLRQ              /LYHULQWHVWLQHDQG3(/'JUHDWHUWKDQ
                                                 /LYHURUOLYHULQWHVWLQHDQG3(/'OHVVWKDQRU
                          5HJLRQRU&LUFOH
                                                 HTXDOWR
                                                 /LYHURUOLYHULQWHVWLQH0(/'RIDWOHDVWDQG
                         5HJLRQRU&LUFOH
                                                 WR\HDUVROG
                                                 /LYHURUOLYHULQWHVWLQH0(/'RIDWOHDVWDQG
                         5HJLRQRU&LUFOH
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                                                 /LYHURUOLYHULQWHVWLQH0(/'OHVVWKDQDQG
                         5HJLRQRU&LUFOH
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                                                 /LYHURUOLYHULQWHVWLQH0(/'OHVVWKDQDQG
                         5HJLRQRU&LUFOH
                                                 DWOHDVW\HDUVROG
                                                 /LYHUSHGLDWULFVWDWXV$DQGWR\HDUV
                         1DWLRQ
                                                 ROG
                         1DWLRQ              /LYHURUOLYHULQWHVWLQHDQGDGXOWVWDWXV$
                         1DWLRQ              /LYHUDQGSHGLDWULFVWDWXV%
                         1DWLRQ              /LYHURUOLYHULQWHVWLQHDQGDQ\3(/'
                                                 /LYHURUOLYHULQWHVWLQHDQ\0(/'DQGWR
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                         5HJLRQRU&LUFOH
                                                 DQGEORRGW\SHFRPSDWLEOH
                                                 /LYHULQWHVWLQH3(/'JUHDWHUWKDQDQG
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                                                 /LYHURUOLYHULQWHVWLQH3(/'OHVVWKDQRUHTXDO
                         5HJLRQRU&LUFOH
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                                                 /LYHURUOLYHULQWHVWLQH0(/'RIDWOHDVW
                         5HJLRQRU&LUFOH
                                                 WR\HDUVROGDQGEORRGW\SHFRPSDWLEOH
                                                 /LYHURUOLYHULQWHVWLQH0(/'RIDWOHDVWDW
                         5HJLRQRU&LUFOH
                                                 OHDVW\HDUVROGDQGEORRGW\SHFRPSDWLEOH




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                    &ODVVLILFDWLRQ &DQGLGDWHVWKDWDUH $QGDUH
                                    ZLWKLQWKH232¶V
                                                                /LYHURUOLYHULQWHVWLQH0(/'OHVVWKDQWR
                                  5HJLRQRU&LUFOH
                                                                \HDUVROGDQGEORRGW\SHFRPSDWLEOH
                                                                /LYHURUOLYHULQWHVWLQH0(/'OHVVWKDQDW
                                  5HJLRQRU&LUFOH
                                                                OHDVW\HDUVROGDQGEORRGW\SHFRPSDWLEOH
                                                                /LYHURUOLYHULQWHVWLQHDQ\3(/'DQGEORRG
                                  1DWLRQ
                                                                W\SHFRPSDWLEOH
                                                                /LYHURUOLYHULQWHVWLQHDQ\0(/'WR
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                                                                /LYHURUOLYHULQWHVWLQHDQ\0(/'DWOHDVW
                                  1DWLRQ
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                                  5HJLRQRU&LUFOH          $DQGLQQHHGRIRWKHUPHWKRGRIKHSDWLF
                                                                VXSSRUW
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                                  5HJLRQRU&LUFOH
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                                                                /LYHURUOLYHULQWHVWLQHDQ\0(/'RU3(/'DQG
                                  5HJLRQRU&LUFOH
                                                                LQQHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUW
                                                                /LYHURUOLYHULQWHVWLQHDGXOWRUSHGLDWULFVWDWXV
                                  1DWLRQ                    $DQGLQQHHGRIRWKHUPHWKRGRIKHSDWLF
                                                                VXSSRUW
                                                                /LYHURUOLYHULQWHVWLQHSHGLDWULFVWDWXV%DQG
                                  1DWLRQ
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                                  1DWLRQ
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                                                                /LYHURUOLYHULQWHVWLQHDQ\0(/'RU3(/'LQ
                                  5HJLRQRU&LUFOH          QHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUWDQG
                                                                EORRGW\SHFRPSDWLEOH
                                                                /LYHURUOLYHULQWHVWLQHDQ\0(/'RU3(/'LQ
                                  1DWLRQ                    QHHGRIRWKHUPHWKRGRIKHSDWLFVXSSRUWDQG
                                                                EORRGW\SHFRPSDWLEOH
    
                                                                      $QGZLWKLQWKLV
                                   &DQGLGDWHVZLWKD                 GLVWDQFHIURP         'RQRU     &DQGLGDWH
                   &ODVVLILFDWLRQ
                                   0(/'3(/'VFRUHRIDWOHDVW       WKHGRQRU             7\SH      7\SH
                                                                      KRVSLWDO
                                3HGLDWULF6WDWXV$                QP                 $Q\       $Q\
                                  3HGLDWULF6WDWXV$DQG
                                FDQGLGDWHLVOHVVWKDQ\HDUV    1DWLRQ                $Q\       $Q\
                                  ROG
                                  3HGLDWULF6WDWXV$FDQGLGDWH
                                  LVDWOHDVW\HDUVROGDQG
                                                                    1DWLRQ                $Q\       $Q\
                                  FDQGLGDWHLVDOVRUHJLVWHUHGIRU
                                  DQLQWHVWLQH




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                                                               $QGZLWKLQWKLV
                           &DQGLGDWHVZLWKD                  GLVWDQFHIURP     'RQRU   &DQGLGDWH
           &ODVVLILFDWLRQ
                           0(/'3(/'VFRUHRIDWOHDVW        WKHGRQRU         7\SH    7\SH
                                                               KRVSLWDO
                        $GXOW6WDWXV$                     QP             $Q\     $Q\
                        3HGLDWULF6WDWXV%                QP             $Q\     $Q\
                        3(/'                             QP             2       2RU%
                        3(/'                             QP             2       2
                        3(/'                             QP             1RQ2   $Q\
                          3HGLDWULF6WDWXV%DQG
                        FDQGLGDWHLVDOVRUHJLVWHUHGIRU    1DWLRQ            $Q\     $Q\
                          DQLQWHVWLQH
                          3(/'RIDWOHDVWDQG
                       FDQGLGDWHLVDOVRUHJLVWHUHGIRU    1DWLRQ            2       2RU%
                          DQLQWHVWLQH
                          3(/'RIDWOHDVWDQG
                       FDQGLGDWHLVDOVRUHJLVWHUHGIRU    1DWLRQ            2       2
                          DQLQWHVWLQH
                          3(/'RIDWOHDVWDQG
                       FDQGLGDWHLVDOVRUHJLVWHUHGIRU    1DWLRQ            1RQ2   $Q\
                          DQLQWHVWLQH
                       $Q\3(/'                            QP             2       2
                       $Q\3(/'                            QP             1RQ2   $Q\
                          0(/'RIDWOHDVWDQGOHVV
                                                            QP             2       2RU%
                          WKDQ\HDUVROGDWUHJLVWUDWLRQ
                          $Q\0(/'DQGOHVVWKDQ
                                                            QP             2       2
                          \HDUVROGDWUHJLVWUDWLRQ
                          $Q\0(/'FDQGLGDWHLVOHVV
                                                            QP             1RQ2   $Q\
                          WKDQ\HDUVROGDWUHJLVWUDWLRQ
                          3HGLDWULF6WDWXV$DQGDWOHDVW
                                                            1DWLRQ            $Q\     $Q\
                          \HDUVROG
                       $GXOW6WDWXV$                     1DWLRQ            $Q\     $Q\
                       3HGLDWULF6WDWXV%                 1DWLRQ            $Q\     $Q\
                       3(/'DWOHDVW                    1DWLRQ            2       2RU%
                       $Q\3(/'                            1DWLRQ            2       2
                       $Q\3(/'                            1DWLRQ            1RQ2   $Q\
                          0(/'RIDWOHDVWDQGOHVV
                                                            1DWLRQ            2       2RU%
                          WKDQ\HDUVROGDWUHJLVWUDWLRQ
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                          \HDUVROGDWUHJLVWUDWLRQ
                          $Q\0(/'DQGOHVVWKDQ
                                                            1DWLRQ            1RQ2   $Q\
                          \HDUVROGDWUHJLVWUDWLRQ
                          0(/'RIDWOHDVWDQGDW
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                          OHDVW\HDUVROGDWUHJLVWUDWLRQ
                          $Q\0(/'DQGDWOHDVW
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                          \HDUVROGDWUHJLVWUDWLRQ




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                            &DQGLGDWHVZLWKD                  GLVWDQFHIURP     'RQRU   &DQGLGDWH
            &ODVVLILFDWLRQ
                            0(/'3(/'VFRUHRIDWOHDVW        WKHGRQRU         7\SH    7\SH
                                                                KRVSLWDO
                           $Q\0(/'DQGDWOHDVW
                                                             QP             1RQ2   $Q\
                           \HDUVROGDWUHJLVWUDWLRQ
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                           $Q\0(/'DQGDWOHDVW
                                                             1DWLRQ            2       2
                           \HDUVROGDWUHJLVWUDWLRQ
                           $Q\0(/'DQGDWOHDVW
                                                             1DWLRQ            1RQ2   $Q\
                           \HDUVROGDWUHJLVWUDWLRQ
                        3(/'                             QP             2       %
                           3(/'RIDWOHDVWDQG
                        FDQGLGDWHLVDOVRUHJLVWHUHGIRU    1DWLRQ            2       %
                           DQLQWHVWLQH
                        $Q\3(/'                            QP             2       %
                           $Q\0(/'DQGFDQGLGDWHLV
                        OHVVWKDQ\HDUVROGDW           QP             2       %
                           UHJLVWUDWLRQ
                        $Q\3(/'                            1DWLRQ            2       %
                           $Q\0(/'DQGFDQGLGDWHLV
                        OHVVWKDQ\HDUVROGDW           1DWLRQ            2       %
                           UHJLVWUDWLRQ
                           $Q\0(/'DQGFDQGLGDWHLVDW
                                                            QP              2       %
                           OHDVW\HDUVROGDWUHJLVWUDWLRQ
                           $Q\0(/'DQGFDQGLGDWHLVDW
                                                            1DWLRQ             2       %
                           OHDVW\HDUVROGDWUHJLVWUDWLRQ
                        3(/'                             QP             2       $RU$%
                           3(/'RIDWOHDVWDQG
                        FDQGLGDWHLVDOVRUHJLVWHUHGIRU    1DWLRQ            2       $RU$%
                           DQLQWHVWLQH
                        $Q\3(/'                            QP             2       $RU$%
                           $Q\0(/'DQGFDQGLGDWHLV
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                           UHJLVWUDWLRQ
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                           \HDUVROGDWUHJLVWUDWLRQ
                           $GXOWRU3HGLDWULF6WDWXV$IRU
                                                           1DWLRQ              $Q\     $Q\
                           RWKHUPHWKRGRIKHSDWLFVXSSRUW
                           3HGLDWULF6WDWXV%IRURWKHU
                                                             1DWLRQ            $Q\     $Q\
                           PHWKRGRIKHSDWLFVXSSRUW




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                                                                         $QGZLWKLQWKLV
                                       &DQGLGDWHVZLWKD                GLVWDQFHIURP        'RQRU    &DQGLGDWH
                       &ODVVLILFDWLRQ
                                       0(/'3(/'VFRUHRIDWOHDVW      WKHGRQRU            7\SH     7\SH
                                                                         KRVSLWDO
                                      $Q\0(/'RU3(/'IRURWKHU
                                                                      1DWLRQ               $Q\      $Q\
                                      PHWKRGRIKHSDWLFVXSSRUW
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         ,IDKRVW232SURFXUHVDNLGQH\DORQJZLWKRWKHURUJDQVWKHKRVW232PXVWILUVWRIIHUWKHNLGQH\
         DFFRUGLQJWRRQHRIWKHIROORZLQJSROLFLHVEHIRUHDOORFDWLQJWKHNLGQH\WRNLGQH\DORQHFDQGLGDWHV
         DFFRUGLQJWR3ROLF\$OORFDWLRQRI.LGQH\V
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         x 3ROLF\&2WKHU0XOWL2UJDQ&RPELQDWLRQV
         x 3ROLF\/LYHU.LGQH\$OORFDWLRQ
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    ,IDKRVW232LVRIIHULQJDNLGQH\DQGDOLYHUIURPWKHVDPHGHFHDVHGGRQRUWKHQWKHKRVW232PXVW
    RIIHUWKHNLGQH\DQGOLYHUDFFRUGLQJWRERWKRIWKHIROORZLQJ
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         OLYHUWRORFDOFDQGLGDWHVZKRPHHWHOLJLELOLW\DFFRUGLQJWR7DEOH0HGLFDO(OLJLELOLW\&ULWHULDIRU
         /LYHU.LGQH\$OORFDWLRQDQGUHJLRQDOFDQGLGDWHVZKRPHHWHOLJLELOLW\DFFRUGLQJWR7DEOHDQGKDYH
         D0(/'VFRUHRIDWOHDVWRUVWDWXV$
     7KHKRVW232PD\WKHQGRHLWKHURIWKHIROORZLQJ
         D 7KHKRVW232PD\RIIHUWKHNLGQH\DQGOLYHUWRDQ\FDQGLGDWHVZKRPHHWHOLJLELOLW\LQ7DEOH
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         E $IWHUFRPSOHWLQJDERYHWKHKRVW232PD\RIIHUWKHOLYHUWROLYHUDORQHFDQGLGDWHVDFFRUGLQJ
              WR3ROLF\$OORFDWLRQRI/LYHUVDQG/LYHU,QWHVWLQHVDQGRIIHUWKHNLGQH\WRNLGQH\DORQH
              FDQGLGDWHVDFFRUGLQJWR3ROLF\$OORFDWLRQRI.LGQH\V
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         ,IDKRVW232LVRIIHULQJDNLGQH\DQGDOLYHUIURPWKHVDPHGHFHDVHGGRQRUWKHQEHIRUHDOORFDWLQJ
         WKHNLGQH\WRNLGQH\DORQHFDQGLGDWHVWKHKRVW232PXVWRIIHUWKHNLGQH\ZLWKWKHOLYHUWRFDQGLGDWHV
         ZKRPHHWHOLJLELOLW\DFFRUGLQJWR7DEOH0HGLFDO(OLJLELOLW\&ULWHULDIRU/LYHU.LGQH\$OORFDWLRQDQG
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                       /LYHU,QWHVWLQHVDQGRIIHUWKHNLGQH\WRNLGQH\DORQHFDQGLGDWHVDFFRUGLQJWR3ROLF\
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              ,IDPHPEHUTXHVWLRQVWKHDFFXUDF\RUDSSURSULDWHQHVVRIDOLYHUDOORFDWLRQRUFDQGLGDWHVWDWXV
              WKHPHPEHUPD\UHSRUWLWZLWKUHDVRQVIRUWKHFRQFHUQWRWKHKRVW232¶VDSSOLFDEOHQDWLRQDOOLYHU
              UHYLHZERDUG 1/5% UHJLRQDOUHYLHZERDUG 55% 7KH55%1/5%ZLOOUHWURVSHFWLYHO\UHYLHZWKH
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               ,IWKH55%1/5%UHFHLYHVWZRRUPRUHUHSRUWVDERXWDPHPEHUZLWKLQDQ\RQH\HDUSHULRGWKH
               55%1/5%ZLOOUHSRUWLWWRWKH0HPEHUVKLSDQG3URIHVVLRQDO6WDQGDUGV 036& &RPPLWWHHDQG
               UHTXHVWDQRQVLWHUHYLHZRIWKHPHPEHU
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        %        5HYLHZRI6WDWXV$DQG%&DQGLGDWH5HJLVWUDWLRQV
               ,IWKHUHJLRQDOUHYLHZERDUGVUHMHFWWKUHHRUPRUHVWDWXV$RU%FDQGLGDWHUHJLVWUDWLRQVDWD
               WUDQVSODQWSURJUDPDUHUHMHFWHGDQGHDFKRIWKHFDQGLGDWHVUHFHLYHVDWUDQVSODQWZKLOHUHJLVWHUHG
               DWWKHUHMHFWHGVWDWXVWKHQWKH2371&RQWUDFWRUZLOOFRQGXFWDQRQVLWHUHYLHZRIWKHWUDQVSODQW
               SURJUDP¶VVWDWXV$DQG%FDQGLGDWHUHJLVWUDWLRQV,IWKH2371&RQWUDFWRUILQGVD3ROLF\
               YLRODWLRQRULQDSSURSULDWHUHJLVWUDWLRQVWKHWUDQVSODQWSURJUDPZLOOUHLPEXUVHDOOQHFHVVDU\DQG
               UHDVRQDEOHH[SHQVHVLQFXUUHGE\WKH2371&RQWUDFWRULQSHUIRUPLQJWKLVUHYLHZ
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        &        /RFDWLRQRI'RQRU+RVSLWDOV
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               )RUWKHSXUSRVHVRIGHWHUPLQLQJWKHORFDWLRQRIWKHGRQRUKRVSLWDOOLYHUVLQWHVWLQHDQGOLYHU
               LQWHVWLQHRUJDQVSURFXUHGLQ$ODVNDZLOOEHFRQVLGHUHGSURFXUHGIURPWKH6HDWWOH7DFRPD$LUSRUW
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        % &ORVHG9DULDQFHIRU$OORFDWLRQRI%ORRG7\SH2'HFHDVHG'RQRU
        /LYHUVLQ+DZDLL
               7KLVLVDFORVHGYDULDQFHWKDWDSSOLHVRQO\WR232VDQGWUDQVSODQWSURJUDPVOLYHUDQGOLYHU
               LQWHVWLQHRUJDQVDOORFDWHGE\WKH232VLQ+DZDLLDQG3XHUWR5LFRWRWUDQVSODQWSURJUDPVLQ
               +DZDLLDQG3XHUWR5LFRUHVSHFWLYHO\GXHWRLWVJHRJUDSKLFDOORFDWLRQ7KLVYDULDQFHVXSHUVHGHV
               WKHWUHDWPHQWRIEORRGW\SH2GRQRUVDFFRUGLQJWR&$OORFDWLRQRI/LYHUVE\%ORRG7\SHDQG
               LQVWHDGWKH232ZLOODOORFDWHWKHVHEORRGW\SH2RUJDQVWRDOOEORRGW\SHFDQGLGDWHVZLWKLQWKH
               VDPHFODVVLILFDWLRQSHUPLWVWKHDOORFDWLRQRIEORRGW\SH2GHFHDVHGGRQRUOLYHUVVLPXOWDQHRXVO\
               WROLYHUFDQGLGDWHVZLWKLQWKH'6$ZLWKFRPSDWLEOHEORRGW\SHVLQDGGLWLRQWRLGHQWLFDOEORRGW\SHV
               7KLVYDULDQFHSHUPLWV+DZDLLDQG3XHUWR5LFR232VWRRIIHUEORRGW\SH2RUJDQVWRDQ\
               FDQGLGDWHVLQ+DZDLLDQG3XHUWR5LFRWUDQVSODQWSURJUDPVUHVSHFWLYHO\EHIRUHKDYLQJWRRIIHULW
               RXWVLGH+DZDLLDQG3XHUWR5LFRUHVSHFWLYHO\
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               7KLVLVDFORVHGYDULDQFHWKDWDSSOLHVWROLYHUVSURFXUHGLQ5HJLRQ7KLVYDULDQFHUHSODFHVDOO
               UHIHUHQFHVWR³'6$´ZLWK³UHJLRQ´WKURXJKRXW3ROLF\/LYHU$OORFDWLRQ&ODVVLILFDWLRQVDQG
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       Appendix M: Definitions
       5HJLRQV
       )RUWKHDGPLQLVWUDWLRQRIRUJDQDOORFDWLRQDQGDSSURSULDWHJHRJUDSKLFUHSUHVHQWDWLRQZLWKLQWKH
       2371SROLF\VWUXFWXUHWKHDGPLQLVWUDWLYHSXUSRVHV2371PHPEHUVKLSLVGLYLGHGLQWR
       JHRJUDSKLFUHJLRQV0HPEHUVEHORQJWRWKHUHJLRQLQZKLFKWKH\DUHORFDWHG
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       7KHUHJLRQVDUHDVIROORZV
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       5HJLRQ        &RQQHFWLFXW0DLQH0DVVDFKXVHWWV1HZ+DPSVKLUH5KRGH,VODQG(DVWHUQ9HUPRQW
       5HJLRQ        'HODZDUH'LVWULFWRI&ROXPELD0DU\ODQG1HZ-HUVH\3HQQV\OYDQLD1RUWKHUQ
                        9LUJLQLD:HVW9LUJLQLD
       5HJLRQ        $ODEDPD$UNDQVDV)ORULGD*HRUJLD/RXLVLDQD0LVVLVVLSSL3XHUWR5LFR
       5HJLRQ        2NODKRPD7H[DV
       5HJLRQ        $UL]RQD&DOLIRUQLD1HYDGD1HZ0H[LFR8WDK
       5HJLRQ        $ODVND+DZDLL,GDKR0RQWDQD2UHJRQ:DVKLQJWRQ
       5HJLRQ        ,OOLQRLV0LQQHVRWD1RUWK'DNRWD6RXWK'DNRWD:LVFRQVLQ
       5HJLRQ        &RORUDGR,RZD.DQVDV0LVVRXUL1HEUDVND:\RPLQJ
       5HJLRQ        1HZ<RUN:HVWHUQ9HUPRQW
       5HJLRQ       ,QGLDQD0LFKLJDQ2KLR
       5HJLRQ       .HQWXFN\1RUWK&DUROLQD6RXWK&DUROLQD7HQQHVVHH9LUJLQLD
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       :DLWLQJ/LVW
       7KHOLVWRIFDQGLGDWHVUHJLVWHUHGZLWKWKH2371WRUHFHLYHRUJDQWUDQVSODQWV:KHQDGRQRURUJDQ
       EHFRPHVDYDLODEOHWKHPDWFKLQJV\VWHPJHQHUDWHVDQHZPRUHVSHFLILFOLVWRISRWHQWLDOUHFLSLHQWV
       EDVHGRQWKHFULWHULDGHILQHGLQWKDWRUJDQ VDOORFDWLRQSROLF\7KHFULWHULDLQFOXGHIRUH[DPSOHRUJDQ
       W\SHJHRJUDSKLFORFDODQGUHJLRQDODUHDJHQHWLFFRPSDWLELOLW\PHDVXUHVGHWDLOVDERXWWKHFRQGLWLRQ
       RIWKHRUJDQWKHFDQGLGDWH VGLVHDVHVHYHULW\DQGWLPHVSHQWZDLWLQJ
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    $SSHQGL[$$QDO\VLVRI'HFHPEHU3URSRVDO
    ,QSDWLHQWVLQ1HZ<RUNFKDOOHQJHGWKHXVHRIGRQDWLRQVHUYLFHDUHDV '6$V LQOXQJDOORFDWLRQ 
    7KLVFKDOOHQJHFRQWHQGHGWKDWWKHXVHRI'6$VIRUOXQJGLVWULEXWLRQSXUSRVHVZDVDUELWUDU\DQGFDSULFLRXV
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    UHDVRQHGHYLGHQFHEDVHGGHFLVLRQPDNLQJ7KLVUDWLRQDOLW\UHTXLUHPHQWVWHPVIURPWKHFRQFHSWWKDW
    FKDQJHVWRUHJXODWRU\ODZPXVWEHEDVHGRQUHDVRQHGDQDO\VLV7KHFRXUWVKDYHGHYHORSHGDQ³DUELWUDU\
    DQGFDSULFLRXV´VWDQGDUGIRUWKHUHYLHZRIDJHQF\UXOHPDNLQJ8QGHUWKLVVWDQGDUGDQDJHQF\LVVXLQJD
    UHJXODWLRQPXVW³H[DPLQHWKHUHOHYDQWGDWDDQGDUWLFXODWHDVDWLVIDFWRU\H[SODQDWLRQIRULWVDFWLRQ´
    LQFOXGLQJDµUDWLRQDOFRQQHFWLRQEHWZHHQWKHIDFWVIRXQGWKHFKRLFHPDGH¶´ $QDJHQF\UHJXODWLRQLV
    DUELWUDU\DQGFDSULFLRXVZKHUHWKHDJHQF\  KDVUHOLHGRQIDFWRUVWKDW&RQJUHVVGLGQRWLQWHQGWR
    FRQVLGHU  HQWLUHO\IDLOHGWRFRQVLGHUDQLPSRUWDQWDVSHFWRIWKHSUREOHP  RIIHUHGDQH[SODQDWLRQIRU
    LWVGHFLVLRQWKDWUXQVFRXQWHUWRWKHHYLGHQFHEHIRUHLWRU  LVVRLPSODXVLEOHWKDWLWFRXOGQRWEHWKH
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    XVHRI'6$VDQGUHJLRQVIRURUJDQGLVWULEXWLRQ )LUVWLWDSSHDUVWKDWGXULQJWKHGHYHORSPHQWRIWKHOLYHU
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    &RPPLWWHHFRQYHUVDWLRQVDQGSXEOLFFRPPHQWVRPHPHPEHUVVWDWHGWKDWGHFHDVHGGRQRURUJDQV
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    &RPPLWWHHFRQYHUVDWLRQVDQGSXEOLFFRPPHQWVLWZDVSRVLWHGWKDW'6$ERXQGDULHVVKRXOGEHXVHGIRU
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    ZKRDUHRWKHUZLVHVLPLODUO\VLWXDWHGGLIIHUHQWO\$SRSXODWLRQEDVHGFLUFOHDURXQGDODUJHPHWURSROLWDQ
    DUHDZRXOGEHFRQVLGHUDEO\VPDOOHUWKDQDSRSXODWLRQEDVHGFLUFOHDURXQGDOHVVGHQVHO\SRSXODWHGDUHD
    RIWKHFRXQWU\7KLVFRXOGOHDGWRZLGHYDULDWLRQVLQZKHUHWKHHGJHVRIWKHFLUFOHZRXOGEHORFDWHGVR
    WKDWDFDQGLGDWHQPDZD\IURPDGRQRULQRQHDUHDZRXOGKDYHDFFHVVWRWKDWGRQRUZKLOHDVLPLODUO\
    VLWXDWHGFDQGLGDWHZLWKLQWKHVDPHGLVWDQFHRIDVLPLODUO\VLWXDWHGGRQRUPLJKWQRWKDYHWKHVDPHDFFHVV
    WRWKDWGRQRURUJDQ7KHVHRWKHUZLVHVLPLODUO\VLWXDWHGFDQGLGDWHVZRXOGEHWUHDWHGGLIIHUHQWO\EDVHGRQ
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    6FLHQWLILF5HJLVWU\RI7UDQVSODQW5HFLSLHQWV³/,B´-XQH.LODPEL9LNUDPDQG6DQMD\0HKURWUD

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 7KLVFRXOGDOVRPDNHLWGLIILFXOWIRUSDWLHQWVWRXQGHUVWDQGVLQFHHYHU\GRQRUKRVSLWDOZRXOGKDYHD
 GLIIHUHQWVL]HGFLUFOH,QVWHDGWKHFRPPLWWHHFRQVLGHUHGZD\VWKDWGLIIHUHQFHVLQSRSXODWLRQFRXOGEH
 DFFRXQWHGIRUZKLOHXVLQJGLVWDQFHEDVHGFLUFOHV0DQ\FRPPHQWHUVEHOLHYHGWKDWVHWGLVWDQFHFLUFOHV
 ZRXOGGLVDGYDQWDJHDUHDVZKHUHDFLUFOHZRXOGLQFOXGHZDWHURUDQRWKHUFRXQWU\RUZKHUHWKHUHDUHODUJH
 UXUDODUHDVLQEHWZHHQSRSXODWLRQFHQWHUV7KH\EHOLHYHGWKDWFLUFOHVWKDWDGMXVWEDVHGRQSRSXODWLRQ
 ZRXOGHQVXUHDFFHVVIRUWKRVHDUHDV7KHUHZDVVRPHVXSSRUWIRUSXUVXLQJDSRSXODWLRQEDVHGPRGHOLQ
 WKHIXWXUHLQWKHFRPPHQWVUHFHLYHGGXULQJWKHSXEOLFFRPPHQWSHULRGDQGWKHFRPPLWWHHLVZLOOLQJWR
 FRQVLGHUWKLVDVDSRWHQWLDOIXWXUHLWHUDWLRQRIOLYHUDOORFDWLRQ
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 7KH&RPPLWWHHFRQVLGHUHGDSRSXODWLRQGHQVLW\DGMXVWLQJFLUFOHFRQFHSW,WZRXOGDOORFDWHOLYHUVLQFLUFOHV
 RIDQGQP RUDQGQP LQEDQGVRIWKUHH0(/'SRLQWV,QVSDUVHO\SRSXODWHG
 DUHDVWKHILUVWXQLWRIDOORFDWLRQIRUPRVWOLYHUVZRXOGEHWKHODUJHUFLUFOHVZKLOHLQGHQVHO\SRSXODWHG
 DUHDVWKHILUVWXQLWZRXOGEHDVPDOOHUFLUFOHDURXQGWKHGRQRUKRVSLWDO7KH&RPPLWWHHGLVFXVVHGWKH
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 IUDPHZRUNZDVWKDWIL[HGGLVWDQFHEDVHGFLUFOHVRIVPDOOUDGLL H[QP ZHUHDSSURSULDWHEHFDXVH
 IO\LQJDQRUJDQLQYROYHVDGGLWLRQDOFRVWDQGFRRUGLQDWLRQRIIOLJKWVFRPSDUHGWRZKHQWKHWHDPLVDEOHWR
 GULYHWRUHFRYHUWKHRUJDQKRZHYHUFRPSDUHGWRWKHFXUUHQWV\VWHPWKLVZRXOGUHVXOWLQOHVVDFFHVVWR
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 UHJLRQV,QRUGHUQRWWRGHFUHDVHDFFHVVIRUDQ\SDWLHQWVWKHVL]HRIWKHFLUFOHVFRXOGEHLQFUHDVHGLQ
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 SRLQWV7KHUHZDVVRPHVXSSRUWIRUSXUVXLQJDPRGHOZLWKFLUFOHVL]HVEDVHGRQSRSXODWLRQLQWKHIXWXUHLQ
 WKHFRPPHQWVUHFHLYHGGXULQJWKHSXEOLFFRPPHQWSHULRGDQGWKHFRPPLWWHHLVZLOOLQJWRFRQVLGHUWKLVDV
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 DOORFDWLRQ7KHFRPPHQWHUVVXJJHVWHGWKDWLWZRXOGSUHVHUYHDFFHVVWRWUDQVSODQWIRUFDQGLGDWHVLQDUHDV
 RIWKHFRXQWU\ZKHUHWKHUHLVDKLJKHULQFLGHQFHRIOLYHUGLVHDVHDQGPRUWDOLW\2WKHUFRPPHQWHUVZKR
 VXSSRUWHGVWDWHEDVHGDOORFDWLRQVXJJHVWHGWKDWWKH\ZRXOGQRWEHZLOOLQJWRGRQDWHLIWKHLUOLYHUZDVQRW
 SODFHGLQWKHLUORFDODUHD7KH$G+RF*HRJUDSK\&RPPLWWHHUHYLHZHGWKLVFRQFHSWDQGIRXQGLWWRR
 VLPLODUWRERXQGDULHVFXUUHQWO\LQSODFHE\'6$DQG5HJLRQZKLFKKDYHEHHQFRQFOXGHGQRWRSWLPDOIRU
 DOORFDWLRQRIRUJDQVDQGLQFRQVLVWHQWZLWKWKHUHTXLUHPHQWVRIWKH)LQDO5XOH7KH/LYHU&RPPLWWHHDOVR
 GLVFXVVHGWKLVWRSLFDQGRSWHGWRFRQVLGHURQO\WKHIUDPHZRUNVWKDWZHUHLQDOLJQPHQWZLWKWKH
 UHTXLUHPHQWVRI127$DQGWKH)LQDO5XOHVLQFHWKHVWDWHEDVHGGLVWULEXWLRQPRGHOSUHVHQWHGVLPLODU
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 9DQGHUELOW8QLYHUVLW\0HGLFDO&HQWHUDQG:DVKLQJWRQ8QLYHUVLW\LQ6W/RXLV%DUQHV-HZLVK+RVSLWDO
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      x &RQFHUQVDERXWWKHIDFWWKDWDWUDQVSODQWKRVSLWDOPLJKWKDYHDUHDVWKDWDUHFRYHUHGLQZDWHURU
          DUHVSDUHO\SRSXODWHGZLWKLQQP
      x %HOLHIWKDWLWLVPRUHLPSRUWDQWWRLQFUHDVHGRQDWLRQWKURXJKPHWKRGVOLNH232SHUIRUPDQFHJRDOV
          DQGHGXFDWLRQIRUWKHJHQHUDOSXEOLFWKDQWRFKDQJHDOORFDWLRQ
      x 'HVLUHQRWWRGRQDWHLIWKHLUOLYHUZRXOGQRWJRWRDORFDOFDQGLGDWH
      x &RQFHUQVWKDWWKHSURFHVVLVPRYLQJWRRTXLFNO\
      x 'HVLUHWRSULRULWL]HRIIHUVWRSRSXODWLRQVWKDWKDYHKLJKHUZDLWOLVWPRUWDOLW\UDWHV
      x 'HVLUHWRSULRULWL]HRIIHUVWRSRSXODWLRQVWKDWKDYHKLJKHULQFLGHQFHRIOLYHUGLVHDVH
      x 'HVLUHWRSULRULWL]HRIIHUVWRSRSXODWLRQVWKDWKDYHOHVVDFFHVVWRWKHZDLWOLVW



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     x     &RQFHUQVDERXWLQFUHDVHGFROGWLPH
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            PRUWDOLW\ULVN
     x     &RQFHUQVDERXWLQFUHDVHGFRVWVZLWKDGGLWLRQDOWUDYHO
     x     &RQFHUQVWKDWDGGLWLRQDOWUDYHOPD\UHVXOWLQDGGLWLRQDOGLVFDUGV
     x     'LVEHOLHIWKDWWKHUHFDQEHDGHFUHDVHLQWUDQVSODQWQXPEHUVDQGDVLPXOWDQHRXVGHFUHDVHLQ
            ZDLWOLVWPRUWDOLW\
     x     &RQFHUQVWKDW232SHUIRUPDQFHLVQRWDIDFWRUWKDWLVFRQVLGHUHG
     x     %HOLHIWKDWFDQGLGDWHVFDQPRYHWRDUHDVZLWKPRUHVXSSO\

 +RZHYHUZLWKRXWDQ\FKDQJHVWKH'HFHPEHUSURSRVDOZRXOGFRQWLQXHWRSRVHLVVXHVRI
 FRPSOLDQFHZLWKWKH)LQDO5XOHDQGZRXOGQRWEHUHVSRQVLYHWRWKHGLUHFWLYHIURP+56$WRUHPRYH'6$
 DQGUHJLRQIURPDOORFDWLRQDQGVFRULQJRIOLYHUDQGLQWHVWLQHFDQGLGDWHV




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    $SSHQGL[&2SHUDWLRQVDQG6DIHW\&RPPLWWHH
               7UDQVSRUWDWLRQ5HSRUW
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    7KH237181262SHUDWLRQVDQG6DIHW\&RPPLWWHHGHYHORSHGDTXHVWLRQQDLUHLQWHQGHGWRDVVLVWWKH$G
    +RF*HRJUDSK\&RPPLWWHHDQG2UJDQVSHFLILFFRPPLWWHHVLQWKHLUHIIRUWVWRFRPSO\ZLWKWKH'HSDUWPHQW
    RI+HDOWKDQG+XPDQ6HUYLFHV ++6 GLUHFWLYH WRHOLPLQDWH'6$DQG5HJLRQDVXQLWVRIRUJDQDOORFDWLRQ
    $PDMRUIRFXVRIWKHGLVFXVVLRQVUHJDUGLQJEURDGHUVKDULQJLVWKHOLNHO\LQFUHDVHLQDLUWUDYHOWKDWZRXOGEH
    UHTXLUHGLIRUJDQVDQGVXUJLFDOWHDPVDUHWUDYHOOLQJEH\RQG³GULYDEOH´GLVWDQFHV7RWKDWHQGRXU
    FRPPLWWHHFUHDWHGDVHULHVRITXHVWLRQVWKDWIRFXVHGRQWKHRSHUDWLRQDODVSHFWVRIEURDGHUVKDULQJZLWKD
    IRFXVRQJURXQGDQGDLUWUDYHOORJLVWLFV0HPEHUVRIWKHFRPPLWWHHWKHQUHDFKHGRXWWROHDGHUVKLSLQDOO
    232VWRGHWHUPLQHWKHEHVWLQGLYLGXDO V WRDQVZHUWKHTXHVWLRQV)RUWKRVH232VWKDWGLGQRWKDQGOH
    WUDQVSRUWDWLRQIRURUJDQUHFRYHU\LQGLYLGXDOWUDQVSODQWFHQWHUVZHUHFRQWDFWHGWRFRPSOHWHWKH
    TXHVWLRQQDLUH7KHTXHVWLRQQDLUHVZHUHFRPSOHWHGYLDDGLUHFWSKRQHFDOOZLWKOHDGHUVKLSRIWKH
    2327UDQVSODQW&HQWHUVZKLFKDOORZHGIRUERWKTXDQWLWDWLYHDQGTXDOLWDWLYHGDWDJDWKHULQJ2QFHWKH
    TXHVWLRQQDLUHVZHUHFRPSOHWHGVRPHRIWKHTXHVWLRQVZHUHGHHPHG³XQLQIRUPDWLYH´E\WKHFRPPLWWHH
    DQGDUHQRWLQFOXGHGLQWKLVGRFXPHQW2QO\WKRVHTXHVWLRQVWKDWWKHFRPPLWWHHIHOWPLJKWEHLQIRUPDWLYH
    DUHLQFOXGHGDQGIRFXVRQWKHLVVXHVWKDWZHUHLQFOXGHGLQWKHSXEOLFFRPPHQWSURSRVDODQGVRPHRIWKH
    FULWHULDXVHGIRU6575PRGHOLQJRIDOORFDWLRQRSWLRQV LHVHWWLQJWUDQVLWLRQIURPGULYLQJWRIO\LQJIRUOLYHUDW
    QP 7KHIXOOTXHVWLRQQDLUHLVLQFOXGHGLQWKHDSSHQGL[$QVZHUVZHUHDQDO\]HGQDWLRQDOO\DQGE\
    UHJLRQDVLWZDVGHWHUPLQHGWKDWVLJQLILFDQWUHJLRQDOYDULDWLRQVLQWKHDQVZHUVWRWKHTXHVWLRQVZDV
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         'ULYLQJGLVWDQFHTXHVWLRQVZHUHLQFOXGHGWRGHWHUPLQHWKHFXUUHQWVWDWHIRUGHFLVLRQPDNLQJ
            EHWZHHQZKHQRUJDQWHDPWUDYHOH[FHHGHGGULYLQJWLPHVGLVWDQFHV
         4XHVWLRQVUHJDUGLQJUHTXLUHPHQWVIRUWHDPVYVRUJDQVIORZQZHUHPHDQWWRGHWHUPLQHLIPRUH
            ORFDOUHFRYHU\HIIRUWVPLJKWLQIOXHQFHQHHGVIRUDLUFUDIWSLORWV
         4XHVWLRQVUHODWHGWRDELOLW\WRILQGSLORWVSODQHVZHUHLQFOXGHGWRGHWHUPLQHLILQFUHDVLQJWKHQHHG
            IRUIO\LQJPLJKWGHOD\GRQRUUHFRYHU\SURFHGXUHVWKXVLQFUHDVLQJSUHGRQDWLRQKRVSLWDOVWD\V
            DQGRULQFUHDVLQJFROGWLPHLQWKHHYHQWWKDWGHOLYHU\RIRUJDQVLVGHOD\HGGXHWRSLORWSODQH
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    &RQWDFWV2SHUDWLRQVDQG6DIHW\&RPPLWWHHPHPEHUVZHUHDEOHWRFRPSOHWHTXHVWLRQQDLUHVIURPRI
    WKH232VDQGWUDQVSODQWKRVSLWDOV ZKHUHWKHWUDQVSODQWKRVSLWDOVPDQDJHGGRQRUUHFRYHU\
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 PRGHOLQJWUDQVLWLRQIURPGULYLQJWRIO\LQJIRUOLYHUDOORFDWLRQPRGHOLQJ7KHJUDSKLFEHORZVXSSRUWVWKH
 XWLOL]DWLRQRIWKLVGLVWDQFH




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 Selected comments from respondents:

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      x 2IWHQGHWHUPLQHGE\³WLPHRIGD\´
      x ³:HDWKHUDQGVXUJHRQSUHIHUHQFHGULYHWKLVFXWRII´
      x ³0RUHDWLPHIDFWRUWKDQPLOHDJH´
      x ³1RWKLQJGHILQHGLQSROLF\«FDVHE\FDVHEDVLV´
      x ³9DULHVZLWKRUJDQ´
 (TXLSPHQWUHTXLUHPHQWVIRUIO\LQJWHDPVYVRUJDQV7KHJUDSKLFVEHORZGHSLFWWKH
 QXPEHUSHUFHQWDJHRIUHVSRQGHQWVZKRLQGLFDWHGDGLIIHUHQFHEHWZHHQUHTXLUHPHQWVIRUDLUSODQHW\SH
 DQGSLORWVWDIILQJEHWZHHQIO\LQJVXUJLFDOWHDPVYVRUJDQV1HDUO\  RIUHVSRQGHQWVLQGLFDWHG
 DGLIIHUHQFH7KHDQVZHUVGLIIHUHGE\UHJLRQ

 7DEOH$UHWKHUHGLIIHUHQWUHTXLUHPHQWVIRUIO\LQJRUJDQVYVUHFRYHU\WHDPV"

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 Selected comments from respondents:

     x ³'RXEOHSLORWVIRUSHRSOHRQO\QRWRUJDQV´
     x ³-HWVPXVWKDYHSLORWV´
     x ³$OZD\VKDYHSLORWVZKHQSHRSOHRQERDUGSHUPLWVLQJOHSLORWZKHQRQO\IO\LQJRUJDQV´
     x ³3URSLVXVHGWRIO\VWDIIWRFDVHV-HWLVXVHGIRURUJDQVVXUJHRQV´
     x ³$OZD\VSLORWVDQGDOZD\VDMHW´
     x ³6LQJOHSLORWIRURUJDQV±DOZD\VGRXEOHSLORWVIRUPRYLQJSHRSOH´
 $YDLODELOLW\RI3ODQHV3LORWV7KHDYDLODELOLW\RISODQHVSLORWVLVGHSLFWHGEHORZ7KHUHDUHGLIIHUHQFHVLI
 UHFRYHU\WHDPVYVRUJDQVDUHIO\LQJDQGLQGLFDWHWKDWDWWLPHVSODQHVPD\EHDYDLODEOHDQGSLORWVDUHQRW
 DQGYLFHYHUVD




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 7DEOH$UH\RXHYHUXQDEOHWRILQGDSODQHSLORWIRUUHFRYHU\WHDPRUJDQ"

     $UH\RXHYHUXQDEOHWRILQG«    1R               <HV               1R5HVSRQVH
     3LORWIRUUHFRYHU\WHDP"                             
     3LORWIRURUJDQ"                                     
     3ODQHIRUUHFRYHU\WHDP"                             
     3ODQHIRURUJDQ"                                     
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 Selected comments from respondents:

         x³5DUHEXWFKDUWHUFRPSDQ\LVH[SDQGLQJWKHLUIOHHW´
         x³1RSODQHVSLORWVDUHDYDLODEOHRQUDUHRFFDVLRQV´
         x³:HDWKHULVDOZD\VDIDFWRU/DUJHHYHQWVLQWKHVWDWHGHFUHDVHWKHDYDLODELOLW\´
         x³$OZD\VEHHQDEOHWRILQGDSODQHEXWVRPHWLPHVWKLVFDXVHVGHOD\V´
         x³3ULPDULO\GXULQJFDVHUHDOORFDWLRQZLWKLQWUDRSGHFOLQHDQGWLPHVHQVLWLYHDFFHSWDQFHVHYHUDO
           FDVHVWKLV\HDUDWOHDVWRQHFDVHWKLV\HDUZKHQVHFRQGDU\FKDUWHUFKRLFHDWH[WUHPHH[SHQVH
           IRUVXUJLFDOWHDP´
      x ´2QUDUHRFFDVLRQVZKHQDKRVSLWDOSODQHQRWDYDLODEOHZLOOFKDUWHU´
      x ³3ODQHVDUHXOWLPDWHO\ORFDWHGEXWWKHUHKDYHEHHQGHOD\V´
      x ³7KHUHKDVQRWEHHQDWLPHZKHQZHDEVROXWHO\FRXOGQRWILQGDSODQHRUWHDPEXWZHKDYHKDG
           GHOD\V´
      x ³1RWXQXVXDOWRGHOD\25IRUWHDPVKDYLQJWURXEOHILQGLQJIOLJKW´
 3LORWGXW\KRXUUHVWULFWLRQV3LORWGXW\KRXUOLPLWDWLRQVDUHDQDGGLWLRQDOYDULDEOHWKDWLQIOXHQFHVDELOLW\
 WRIO\RUJDQVWHDPV25GHOD\VFRXOGOHDGWRQHHGIRUDGGLWLRQDOWHDPVWRIO\RXWWRGRQRUDLUSRUWVLQWKH
 HYHQWWKDWSLORWVWLPHRXW

 7DEOH'RDLUSRUWRUSLORWGXW\KRXUUHVWULFWLRQVHYHULQIOXHQFHUHFRYHU\"

                                      1R                <HV              1R5HVSRQVH
     $LUSRUWUHVWULFWLRQV                                  

     3LORWGXW\KRXUUHVWULFWLRQV                          

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 Selected comments from respondents:

     x     ³3LORWZLOO³WLPHRXW´LISXWRQVWDQGE\WRRVRRQRURQWKHJURXQGGXULQJRUJDQUHFRYHU\´
     x     3UREOHPV³GXHWRSLORWWLPHUHVWULFWLRQV´
     x     ³«XQDEOHWRGLVWLQJXLVKVRXUFHRIXQDYDLODELOLW\ SODQHRUSLORW PD\EHSLORWDYDLODELOLW\DVUDWH
            OLPLWLQJ«SLORWWLPHRXWZKLOHRQVLWHKDVEHHQDQFORVHFDOOWKLV\HDUVHYHUDOWLPHV´
     x     ³6RPHWLPHVQHHGWRGHOD\WKHIOLJKWGXHWRGXW\KRXUVUHVWULFWLRQV UHODWLYHO\UDUH RUVZDSFUHZV
            GXULQJSURFXUHPHQWLIGXW\KRXUVDUHJRLQJWRUXQRXW´
     x     ³«SLORWVKDYHWLPHGRXWZKHQIO\LQJYHU\IDUWRWKHFRDVWVWRLPSRUWRUJDQV«´
     x     ³KDYHKDGSLORWWLPHRXWEXWQRWXQDEOHWRILQGRQH´
     x     ³SLORWVWLPHRXWDQGVRPHWLPHVQHHGVDQRWKHUFUHZDQGRQHPD\QRWDOZD\VEHDYDLODEOH´
     x     ³'XHWRWLPHRXWVFKHGXOHVRISLORWVLHRQHSLORWPD\WLPHRXWLQKRXUVEXWWKHQH[WSLORWLVQRW
            DYDLODEOHIRUKRXUV´
     x     ³«SLORWWLPHGRXWZKLOHZDLWLQJIRUUHFRYHU\WHDPQHZSLORWVDQGSODQHKDGWREHVHQWWRUHFRYHU\
            KRVSLWDOWRSLFNXSWHDP´
     x     ³SLORWVWHDPWLPHVRXWIUHTXHQWO\´
     x     ³25GHOD\EXPSUHVXOWHGLQSLORWWLPLQJRXWUHVXOWHGLQKDYLQJWRFDQFHOUHFRYHU\DQGGHOD\
            KUV´
     x     ³6HHPVWREHKDSSHQLQJPRUHFRQVLVWHQWO\´
     x     ³QHYHUKHDUGRIWKLVLVVXH´
     x     ³&DVHWLPHVDGMXVWHGGXHWRSLORWWLPHV´
     x     ³,ISLORWDYDLODELOLW\RUGXW\WLPHLVDFRQFHUQZHPD\VWUDWHJLFDOO\VHWWKH25WLPHEDVHGRQWKRVH
            FLUFXPVWDQFHV´
     x     ³&DQVRPHWLPHVUHTXLUHDGGLWLRQDOSODQHZKHQFDVHVDUHGHOD\HG´



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     x  ³([SHULHQFHDORWRIWLPHRXWLVVXHVZLWKSLORWV´
     x  ³7\SLFDOO\EHFDXVHWKHUHFRYHU\JHWVEXPSHGGXHWRWUDXPDDQGSLORWVKDYHWRZDLWJHWVEXPSHG
         DQGKDYHWRIO\LQDGGLWLRQDOWHDP´
     x ³GHILQLWHLPSDFWRQVHWWLQJWKH25WLPHVDIHW\FRQFHUQVKDYHOHGFRPSDQLHVWREHYHU\VWULFW
         DERXWUHVWULFWLRQ´
     x ³:LOOIOLSWHDPVZKHQQHFHVVDU\DQGFDQDGGFRVW´
     x &HQWHU³«KDVRFFDVLRQDOO\QHHGHGWRVHFXUHDVHFRQGSODQHWHDPZKHQGHOD\VDWGRQRUVLWH
         RFFXUVRUWHDPWLPHVRXW´
     x ³/HDGVWRGHOD\VLQFODPSWLPHVEHFDXVHSLORWGXW\KRXUVUXQRXW127$1,16,*1,)$17
         352%/(0+$33(16)5(48(17/<´
         
 7LPLQJRIGRQRU25WLPHV




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 6HOHFWHGFRPPHQWVIURPUHVSRQGHQWV

     x     ³UDUHO\KHDUWOXQJWHDPVZLOOGHOD\W\SLFDOO\E\KUVZKHQSODQHVWDNHDZKLOHWRILQG´
     x     ³3ULRUWRKLULQJEURNHULQRIFDVHZHUHGHOD\HGGXHWRIOLJKWDUUDQJHPHQWSUREOHPV´
     x     ³:HDWKHUUHVWULFWLRQVFDQEHFKDOOHQJH´
     x     ³7KHSHUFHQWRIFDVHVGHOD\HGLVYHU\ORZ´
     x     ³'HOD\VUHODWHGWRDYDLODELOLW\RIVXUJHRQV ORFDOO\ DQGVXUJHRQVIURPRXWVLGHWHDPV PD\EHD
            VXUJHRQRUWUDQVSRUWDWLRQLVVXH ´
     x     ³«$Q\WLPHZKHQDLUFUDIWDUHQHHGHGIRUXVHWKDWDUHQRWRXUDLUFUDIWLWWDNHVDGGLWLRQDOWLPHWR
            JHWWKHPLQWRSODFHGDQGFDQFDXVHDGHOD\³
     x     ³1HHGKRXUKHDGVXS2IWHQOHDYHVWRGHOD\V$OOFKDUWHUFRPSDQLHVQHHGKRXUVRIOHDG
            WLPH6RPHFHQWHUVDUHGHPDQGLQJMHWV'HOD\VDOVRRFFXUEHFDXVHRIODFNRIVWDII´
     x     ³8VXDOO\WKHGHOD\VDUHIURPWHDPVWRRXWVLGHRIWKHVWDWH(VSHFLDOO\KHDUWDQGOXQJWHDPV´




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     x  ³«ZKHQLWLVRXUGRQRUZHFDQWU\WRLQIOXHQFHWKHWLPLQJRIWKHFDVHVLQRUGHUWRXVHRXURZQ
         SODQH«FDQJRWR25VRRQHUODWHUIRUZHDWKHU$OVREHFDXVHZHKDYHRXURZQSODQZHFDQJHW
         WRGRQRUKRVSLWDOVIDVWHUDQGSRWHQWLDOO\JHWWKHXQVWDEOHGRQRUDQGXWLOL]HWKRVHRUJDQV´
     x ³1HYHUKDGWRWXUQGRZQDQRUJDQEXWKDYHKDGVRPHGHOD\V´
     x ³8VXDOO\EHFDXVH/XQJWHDPVFDQQRWILQGSODQHV´
     x ³25WLPHUHJXODUO\DGMXVWHGGXHWRWHDPVDUULYLQJIURPRXWVLGH232V 25VWDUWPD\QRWEH
         GHOD\HGEXWPRUHIUHTXHQWO\VHWWLQJRIWKH25WLPHGHOD\HGEDVHGRQIOLJKWDYDLODELOLW\ ´
     x ³'HOD\VDUHRQO\GXHWRVXUJLFDOWHDPDYDLODELOLW\´
     x ³'HOD\VWRVWDUW25GXHWRWHDPVFRPLQJLQ´
     x ³«VRPHWLPHVWKHGHOD\VDUHEHFDXVHWKHLQFRPLQJWHDPFDQ WJHWDSODQH´
     x ³'HOD\VLQVHWWLQJ25WLPH0RUHRIWHQGHOD\VZLWKODVWPLQXWHFKDQJHV´
     x ³RIFDVHVH[SHULHQFHVRPHGHOD\´
 ,VVXHVWR&RQVLGHU5HVSRQGHQWVFRQYH\HGWKDWIO\LQJWHDPVIRURUJDQUHFRYHU\LQIOXHQFHVWLPLQJRIWKH
 GRQRU25,VVXHVUDLVHGLQFOXGHG

     'RQRULQVWDELOLW\ZLWKORQJHUSUHUHFRYHU\WLPHV
     3RWHQWLDOORVVRIRUJDQVGXHWRORJLVWLFV HJOXQJ 
     ,QIOXHQFHRIFDVHGXUDWLRQRQ232VWDIILQJUHTXLUHPHQWV LQDELOLW\WRVWDIIRWKHUFDVHVLIVWLOO
         PDQDJLQJH[LVWLQJFDVHVGXHWRWLPHGHOD\V 
     &RQFHUQVDERXWSLORWGXW\KRXUVRQFHDFWLYDWHGLIIOLJKWGRHVQRWRFFXULQWLPHO\IDVKLRQ
     &RQFHUQVDERXWQHHGIRUVLPXOWDQHRXVIO\RXWVZLWKEURDGHUVKDULQJ
     3RWHQWLDOUHYRFDWLRQRIDXWKRUL]DWLRQZLWKORQJHUFDVHWLPHV
     ,QFUHDVHGKRVSLWDOFRVWVUHODWHGWRORQJHUFDVHWLPHV
     $LUSODQHSLORWDYDLODELOLW\LVVXHVGXHWRORFDOVSRUWLQJHYHQWVRUFRQFHUWVZKHUHDOOSULYDWHSODQHV
         DUHFRPPLWWHGWRRWKHUV
     3LORWGXW\KRXUUHVWULFWLRQVOHDGLQJWRQHHGIRUDGGLWLRQDOSLORWVSODQHVWREHIORZQLQWRGRQRU
         DLUSRUWV
     :HDWKHULQIOXHQFH QHHGIRUVWURQJORFDOEDFNXSLQWKHHYHQWRIZHDWKHUHYHQWVWKDWSUHFOXGH
         IO\LQJ 
 /LPLWDWLRQV2EYLRXVOLPLWDWLRQVWRWKLVUHSRUWLQFOXGHWKHVRPHZKDW³DQHFGRWDO´QDWXUHRIWKH
 TXHVWLRQQDLUHDQGWKHNQRZOHGJHOHYHORIWKHUHVSRQGHQWV:HDWWHPSWHGWRUHDFKOHDGHUVKLSDWWKH
 232VDQGWUDQVSODQWFHQWHUVDVLVLQGLFDWHGDERYHLQRUGHUWROHVVHQWKHVHFRQFHUQV

 &RQFOXVLRQV7KH2SHUDWLRQVDQG6DIHW\&RPPLWWHH¶VJRDOLQGHYHORSLQJDQGH[HFXWLQJWKLV
 TXHVWLRQQDLUHZDVWRDVVLVWWKHUHOHYDQW81262371FRPPLWWHHVLQWKHLUZRUNWRZDUGVHOLPLQDWLQJ'6$V
 DQG5HJLRQDVXQLWVRIDOORFDWLRQ:HEHOLHYHWKDWWKHLVVXHVUHODWHGWRLQFUHDVHGDLUWUDYHODQGSRWHQWLDO
 25GHOD\VDQGFRVWVDUHLPSRUWDQWLVVXHVIRUWKHFRPPLWWHHVWRFRQVLGHUDQGKRSHWKDWRXUZRUNZLOOKHOS
 WKLVSURFHVV




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 $SSHQGL['3XEOLF&RPPHQW$QDO\VLV



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                      Eliminate the Use of DSAs and Regions in Liver and Intestine
                      Distribution
                      Liver and Intestine Distribution Using Distance from Donor Hospital
                      Version 2. Updated Nov 16, 2018




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 (OLPLQDWHWKH8VHRI'6$VDQG
 5HJLRQVLQ/LYHUDQG,QWHVWLQH
 'LVWULEXWLRQ
 /LYHUDQG,QWHVWLQH'LVWULEXWLRQ8VLQJ'LVWDQFHIURP'RQRU+RVSLWDO 

 &RQWHQWV
 &RQWHQWV
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 3DUWLFLSDWLRQ
 7KHPHVLQ3XEOLF&RPPHQW
 $OORFDWLRQ)UDPHZRUN
 &LUFOH6L]HV
 0(/''LVWULEXWLRQ7KUHVKROG
 $%29DULDQFH
 3HGLDWULF$OORFDWLRQ
 2WKHU&RQVLGHUDWLRQV
 &RPPHQWV5HFHLYHG
 &RPPLWWHH&RPPHQWV
 2WKHU&RPPHQWV
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 7KHSURSRVDOZDVUHOHDVHGIURP2FWREHUWR1RYHPEHU&RPPHQWVZHUHFROOHFWHGDQG
 PDQDJHGXVLQJ5('&DSHOHFWURQLFGDWDFDSWXUHWRROVKRVWHGDW8126 $OOFRPPHQWVZHUHSRVWHGWRWKH
 2371ZHEVLWHDQGDYDLODEOHWRWKHSXEOLFWKURXJKRXWWKHSXEOFFRPPHQWSHULRG'XULQJWKLVSHULRGVWDII
 DQG&RPPLWWHHOHDGHUVKLSSHULRGLFDOO\VKDUHGXSGDWHVRQSDUWLFLSDWLRQUDWHVDQGWKHPHVREVHUYHGIURP
 WKHFRPPHQWVVXEPLWWHGXSWRWKDWSRLQW2Q2FWREHUWKH&RPPLWWHHGLVFXVVHGWKHWKHPHVUHFHLYHG
 WRGDWH2Q1RYHPEHUWKH&RPPLWWHHUHFHLYHGDOORIWKHFRPPHQWVDQGWKLVZULWWHQSXEOLFFRPPHQW
 DQDO\VLV$VZLWKPRVWSXEOLFFRPPHQWSURSRVDOVWKHJHQHUDOWKHPHVGLGQRWFKDQJHVXEVWDQWLDOO\DIWHU
 WKHILUVWZHHNRIFRPPHQW,QVWHDGDGGLWLRQDOFRPPHQWVLOOXPLQDWHGGLIIHUHQWDVSHFWVRIWKHPDMRUWKHPHV
 RUVKRZHGFKDQJHVLQVHQWLPHQWEHWZHHQGLIIHUHQWVXESRSXODWLRQVWKDWKDGQRW\HWSDUWLFLSDWHG


 3DUWLFLSDWLRQ
 7KHSXUSRVHRISXEOLFFRPPHQWLVWRDVVXUH³WKDWWKHSHUVSHFWLYHVDQGFRQFHUQVRIWKHJHQHUDOSXEOLFDUH
 WDNHQLQWRDFFRXQWDQGDGGUHVVHGLQSROLF\SURSRVDOV´ 'XULQJWKHSXEOLFFRPPHQWSHULRGWKHUHZHUH
 FRPPHQWVVXEPLWWHG)RUFRPSDULVRQWKH/LYHU&RPPLWWHH¶VGLVWULEXWLRQSURSRVDOUHFHLYHG
 FRPPHQWVDQGWKHGLVWULEXWLRQSURSRVDOUHFHLYHGFRPPHQWV
                                                              )LJXUH3DUWLFLSDWLRQE\7LPH




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 3DXO$+DUULV5REHUW7D\ORU5REHUW7KLHONH-RQDWKRQ3D\QH1DWKDQLHO*RQ]DOH]-RVH*&RQGH5HVHDUFK

 HOHFWURQLFGDWDFDSWXUH 5('&DS ±$PHWDGDWDGULYHQPHWKRGRORJ\DQGZRUNIORZSURFHVVIRUSURYLGLQJWUDQVODWLRQDO
 UHVHDUFKLQIRUPDWLFVVXSSRUW-%LRPHG,QIRUP$SU  
 2371%\ODZV$SSHQGL[0'HILQLWLRQV




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 7KHFRPPHQWVZHUHVXEPLWWHGIURPDWOHDVWVWDWHVSOXV*XDPDQG3XHUWR5LFR $GLVSURSRUWLRQDWH
 QXPEHURIWKHFRPPHQWVRULJLQDWHGIURP7H[DV Q  6RXWK&DUROLQD Q  1HZ<RUN Q  
 DQG&DOLIRUQLD Q  )RUWKLVUHDVRQLWLVLPSRUWDQWWRHYDOXDWHWKHPHULWVRIHDFKFRPPHQWLQVWHDGRI
 XWLOL]LQJWKHYROXPHRILQGLYLGXDOFRPPHQWVDVDQDWLRQDOSXEOLFRSLQLRQVXUYH\
                                                         )LJXUH3DUWLFLSDWLRQE\*HRJUDSK\




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 7KHFRPPHQWVZHUHVXEPLWWHGE\PXOWLSOHGLIIHUHQWW\SHVRIPHPEHUV7KHODUJHVWPHPEHUW\SHZDV
 WUDQVSODQWKRVSLWDOV
                                                       )LJXUH3DUWLFLSDWLRQE\0HPEHU7\SH




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 1RWDOOUHVSRQGHQWVVXEPLWWHGWKHLUVWDWHRIUHVLGHQFH




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 :KHQDVNHGIRUWKHLUUHODWLRQVKLSWRWUDQVSODQWDWLRQWKHODUJHVWFDWHJRU\ZDV³RWKHU´)RUUHVSRQGHQWV
 WKDWVHOHFWHGDUHODWLRQVKLSWKHWZRODUJHVWFDWHJRULHVZHUHW\SHVRISDWLHQWVFDQGLGDWHRUFDQGLGDWH
 IDPLO\DQGUHFLSLHQWRUUHFLSLHQWIDPLO\
                               )LJXUH3DUWLFLSDWLRQE\5HODWLRQVKLSWR7UDQVSODQW




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 7KHPHVLQ3XEOLF&RPPHQW
 &RPPHQWHUVFRYHUHGPDQ\GLIIHUHQWWRSLFV3ROLF\GHFLVLRQVIRUWKHFRPPLWWHHIRFXVHGODUJHO\RQWKH
 IROORZLQJWKHPHV

      $OORFDWLRQ)UDPHZRUN
      &LUFOH6L]HV
      6KDULQJ7KUHVKROG
      %ORRG7\SH9DULDQFHIRU3XHUWR5LFR
      3HGLDWULF$OORFDWLRQ
 )RUHDFKWKHPHOLVWHGDERYHRSWLRQVUDLVHGGXULQJSXEOLFFRPPHQWDUHGHVFULEHGEHORZ

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 $OORFDWLRQ)UDPHZRUN
 2SWLRQV

      %URDGHU&LUFOHV %&  3XEOLFFRPPHQWSURSRVDO 
      $FXLW\&LUFOHV
      3RSXODWLRQEDVHG
      6WDWHEDVHG
      1DWLRQDO
      1R&KDQJH
 &RPPHQWHUVZHUHDVNHGZKHWKHUWKH\VXSSRUWHGRURSSRVHGWKH%&PRGHODQGZKHWKHUWKH\VXSSRUWHG
 RURSSRVHGWKHDFXLW\FLUFOHVPRGHO&RPPHQWHUVIHOOLQWRRQHRIJURXSV±WKRVHZKRRSSRVHGERWK
 PRGHOVQHXWUDOWKRVHZKRVXSSRUWHGERWKWKRVHZKRVXSSRUWHG%&DQGRSSRVHDFXLW\DQGWKRVHZKR
 VXSSRUWHGDFXLW\DQGRSSRVHG%&VXSSRUWHGDFXLW\DQGRSSRVHG%& 7KHGDUNEOXHER[
 EHORZ VXSSRUWHG%&DQGRSSRVHGDFXLW\FLUFOHV 7KHOLJKWEOXHER[EHORZ VXSSRUWHG
 ERWKPRGHOV 7KHOLJKWJUHHQER[EHORZ RSSRVHGERWKPRGHOV 7KHUHGER[EHORZ 
                             )LJXUH&RPSDULVRQRI6HQWLPHQWRQ)UDPHZRUNV




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 7KHUHZDVVRPHFRUUHODWLRQEHWZHHQORFDWLRQRIWKHUHVSRQVHVDQGWKHSUHIHUHQFHVRIWKHFRPPHQWHUV
 7KH&DUROLQDV*HRUJLD)ORULGD.HQWXFN\3HQQV\OYDQLD0LVVRXULDQG,RZDWHQGHGWRRSSRVHERWK
 PRGHOVZKLOH&DOLIRUQLD1HZ<RUN7H[DV&RORUDGR:LVFRQVLQDQG1HYDGDSUHIHUUHGWKHDFXLW\FLUFOHV
 DQG+DZDLL8WDK/RXLVLDQD2UHJRQ,QGLDQDDQG6RXWK'DNRWDSUHIHUUHG%&2WKHUVWDWHVKDGPRUH
 PL[HGUHVSRQVHV
                          )LJXUH&RPSDULVRQRI6HQWLPHQWRQ)UDPHZRUNVE\6WDWH

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 7KHQH[WFKDUWVKRZVWKHSUHIHUHQFHE\IUDPHZRUNE\HDFKVWDWH±ZLWKHDFKVWDWHZHLJKWHGE\WKHLU
 \HDUWUDQVSODQWYROXPH7KLVVKRZVDSUHIHUHQFHIRUDFXLW\FLUFOHV




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                    )LJXUH)HHGEDFNRQ)UDPHZRUN:HLJKWHGE\6WDWH7UDQVSODQW9ROXPH




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 2SWLRQ±%URDGHU&LUFOHV %& 
 7KHFXUUHQWSURSRVDOXVHVWKH%&DOORFDWLRQIUDPHZRUNPRGHOHGE\WKH6575

                &RPPHQWVLQ)DYRU                                 &RPPHQWVLQ2SSRVLWLRQ
      9 'HVLUHWRPLQLPL]HWKHDPRXQWRIFKDQJH          × /DFNRILPSURYHPHQWLQYDULDQFHLQ
         FRPSDUHGWRFXUUHQWV\VWHPDQG$FXLW\                 PHGLDQ0(/'DWWUDQVSODQWRYHUWKH
         &LUFOHV                                               'HFHPEHUSURSRVDOIRUQRQ
      9 /HVVRUJDQVIO\LQJWKDQ$FXLW\&LUFOHV                H[FHSWLRQFDQGLGDWHV
                                                           ×   *UHDWHUIRFXVRQJHRJUDSKLFSUR[LPLW\
                                                                WKDQ$FXLW\&LUFOHV
                                                           ×   /DFNRIDVLJQLILFDQWGHFUHDVHLQZDLWOLVW
                                                                PRUWDOLW\FRPSDUHGWRWKHDFXLW\FLUFOHV
                                                                PRGHO
                                                           ×   7KHLQFUHDVHLQIO\LQJZDVQRWGHIHQVLEOH
                                                                DVDMXVWLILFDWLRQIRUJHRJUDSKLFDOO\OLPLWLQJ
                                                                RUJDQDOORFDWLRQ
                                                           ×   6HYHUDOFRPPHQWHUVLQGLFDWHGWKHLUEHOLHI
                                                                WKDWWKH%&IUDPHZRUNLVQRWFRQVLVWHQW
                                                                ZLWKWKH2371)LQDO5XOH
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 %&UHIOHFWVWKHSROLF\ODQJXDJHWKDWWKH&RPPLWWHHSURSRVHV7KHJURXSWKDWVKRZHGWKHPRVWVXSSRUW
 IRUWKLVRSWLRQZDV232V/HVVWKDQRIDQ\RWKHUJURXSVXSSRUWHGRUVWURQJO\VXSSRUWHGWKLV




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 DSSURDFK7KHPDMRULW\RIHYHU\JURXSH[FHSWIRU232VDQGKLVWRFRPSDWLELOLW\ODEVVWURQJO\RSSRVHG
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                            )LJXUH6HQWLPHQWRI%&)UDPHZRUNE\0HPEHU7\SH




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 7KHVHQWLPHQWZDVGLYLGHGEHWZHHQVWDWHVZLWKWKHDYHUDJHVHQWLPHQWRIWKHFRPPHQWHUVLQHDFKVWDWH
 UHVXOWLQJLQDERXWDVPDQ\VWDWHVJHQHUDOO\LQIDYRURI%&DVJHQHUDOO\RSSRVHG
                               )LJXUH6HQWLPHQWRI%&)UDPHZRUNE\6WDWH




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 2SWLRQ±$FXLW\&LUFOHV
 7KLVRSWLRQLVWKHDFXLW\FLUFOHVIUDPHZRUNWKDWZDVDOVRPRGHOHGE\WKH6575WKLV\HDU

               &RPPHQWVLQ)DYRU                                   &RPPHQWVLQ2SSRVLWLRQ
      9 ,PSURYHVWKHGLVSDULW\LQDFFHVVPRUH             × 7KHLQFUHDVHLQIO\LQJZDVQRWGHIHQVLEOH
         WKDQ%&                                               DVDMXVWLILFDWLRQIRUJHRJUDSKLFDOO\OLPLWLQJ
      9 *UHDWHUIRFXVRQPHGLFDOXUJHQF\WKDQ                  RUJDQDOORFDWLRQ
         %&                                               ×   *UHDWHUFKDQJHFRPSDUHGWRFXUUHQW
                                                                 V\VWHPDQG%&
                                                            ×   2QHFRPPHQWHULQGLFDWHGWKHLUEHOLHIWKDW
                                                                 WKH$FXW\&LUFOHVIUDPHZRUNLVQRW
                                                                 FRQVLVWHQWZLWKWKH2371)LQDO5XOH
                                                            ×   0RUHIO\LQJWKDQ%&FRQFHUQZLWKFRVWV
                                                                 RXWFRPHVDQGGLVFDUGV
                                                            ×   &RQFHUQWKDWWKHIUDPHZRUNGRHVQRW
                                                                 VXIILFLHQWO\DGGUHVVDFFHVVIRUSDWLHQWVE\
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                       )LJXUH6HQWLPHQWRI$FXLW\&LUFOHV)UDPHZRUNE\0HPEHU7\SH




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                                         )LJXUH6HQWLPHQWRI$FXLW\&LUFOHV)UDPHZRUNE\6WDWH




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 2SWLRQ±3RSXODWLRQEDVHG
 6RPHFRPPHQWHUVUHTXHVWHGDSRSXODWLRQEDVHGIUDPHZRUNEXWGLGQRWSURYLGHDGGLWLRQDOLQIRUPDWLRQ
 DERXWWKHGHWDLOVRIVXFKDIUDPHZRUN7KHFRPPHQWHUVZHUHFRQFHUQHGZLWKWKHDUHDVRIWKHFRXQWU\
 WKDWKDYHODUJHDUHDVRIVSDUVHSRSXODWLRQLQEHWZHHQSRSXODWLRQFHQWHUV

 2SWLRQ±6WDWHEDVHG
 6RPHFRPPHQWHUVSURSRVHGDVWDWHEDVHGDOORFDWLRQWKDWZRXOGXVHWKHVWDWHDVWKHILUVWOHYHORI
 DOORFDWLRQ7KHFRPPHQWHUVVXJJHVWHGWKDWLWZRXOGSUHVHUYHDFFHVVWRWUDQVSODQWIRUFDQGLGDWHVLQDUHDV
 RIWKHFRXQWU\ZKHUHWKHUHLVDKLJKHULQFLGHQFHRIOLYHUGLVHDVHDQGPRUWDOLW\2WKHUFRPPHQWHUVZKR
 VXSSRUWHGVWDWHEDVHGDOORFDWLRQVXJJHVWHGWKDWWKH\ZRXOGQRWEHZLOOLQJWRGRQDWHLIWKHLUOLYHUZDVQRW
 SODFHGLQWKHLUORFDODUHD

 2SWLRQ±1DWLRQDO
 7KH$WWRUQH\*HQHUDOVRI1HZ<RUNDQG&DOLIRUQLDDQGRWKHUFRPPHQWHUVSURSRVHGDFRPSOHWHO\
 QDWLRQDOV\VWHPZLWKQRJHRJUDSKLFFRQVLGHUDWLRQV7KH\FRQWHQGWKDWHYHQWKHJHRJUDSKLFERXQGDULHV
 XVHGLQWKHSURSRVDOFRQWLQXHWRGLVDGYDQWDJHVRPHSDWLHQWVEDVHGRQWKHLUOLVWLQJORFDWLRQEHFDXVHWKHUH
 ZRXOGVWLOOEHDUHDVRIWKHFRXQWU\ZKHUHWKHOLNHOLKRRGRIGHDWKIURPOLYHUGLVHDVHLVKLJKHUWKDQRWKHUV
 HYHQZKHQWKHRYHUDOOPRUWDOLW\ULVNLVORZHUIRUWKDWDUHD

 2SWLRQ±1R&KDQJH
 $SSUR[LPDWHO\DTXDUWHURIWKHFRPPHQWHUVLQFOXGLQJ$676GLGQRWVXSSRUWDQ\FKDQJH7KHVH
 FRPPHQWHUVLQFOXGHDJURXSRIFHQWHUVWKDWLQFOXGHG,QGLDQD8QLYHUVLW\+HDOWK7KH8QLYHUVLW\RI.DQVDV
 +HDOWK6\VWHP9DQGHUELOW8QLYHUVLW\0HGLFDO&HQWHUDQG:DVKLQJWRQ8QLYHUVLW\LQ6W/RXLV%DUQHV
 -HZLVK+RVSLWDO7UDQVSODQW&HQWHU7KHWKHPHVLQWKHLUFRPPHQWVZHUH



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 7KH$G+RF*HRJUDSK\&RPPLWWHHUHYLHZHGWKLVFRQFHSWDQGFRQFOXGHGWKDWWKLVZDVDQRWKHUW\SHRISUHH[LVWLQJ

 DGPLQLVWUDWLYHERXQGDU\WKDWZDVQRWGHVLJQHGIRURURSWLPL]HGIRUDOORFDWLRQRIRUJDQVDQGZRXOGQRW7KH/LYHU
 &RPPLWWHHDOVRGLVFXVVHGWKLVWRSLFDQGUHFHLYHGDGYLFHIURP8126VWDIIWKDWDVWDWHEDVHGGLVWULEXWLRQPRGHOGLG
 QRWPHHWWKHUHTXLUHPHQWVRIWKH2371)LQDO5XOH




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     x     &RQFHUQVDERXWWKHIDFWWKDWDWUDQVSODQWKRVSLWDOPLJKWKDYHDUHDVWKDWDUHFRYHUHGLQZDWHURU
            DUHVSDUHO\SRSXODWHGZLWKLQQP
     x     %HOLHIWKDWLWLVPRUHLPSRUWDQWWRLQFUHDVHGRQDWLRQWKURXJKPHWKRGVOLNH232SHUIRUPDQFHJRDOV
            DQGHGXFDWLRQIRUWKHJHQHUDOSXEOLFWKDQWRFKDQJHDOORFDWLRQ
     x     'HVLUHQRWWRGRQDWHLIWKHLUOLYHUZRXOGQRWJRWRDORFDOFDQGLGDWH
     x     &RQFHUQVWKDWWKHSURFHVVLVPRYLQJWRRTXLFNO\
     x     'HVLUHWRSULRULWL]HRIIHUVWRSRSXODWLRQVWKDWKDYHKLJKHUZDLWOLVWPRUWDOLW\UDWHV
     x     'HVLUHWRSULRULWL]HRIIHUVWRSRSXODWLRQVWKDWKDYHKLJKHULQFLGHQFHRIOLYHUGLVHDVH
     x     'HVLUHWRSULRULWL]HRIIHUVWRSRSXODWLRQVWKDWKDYHOHVVDFFHVVWRWKHZDLWOLVW
     x     &RQFHUQVDERXWLQFUHDVHGFROGWLPH
     x     %HOLHIWKDW00D7LVQRWDSSURSULDWHZD\WRPHDVXUHGLVSDULW\EHFDXVH0(/'GRHVQ¶WSUHGLFW
            PRUWDOLW\ULVN
     x     &RQFHUQVDERXWLQFUHDVHGFRVWVZLWKDGGLWLRQDOWUDYHO
     x     &RQFHUQVWKDWDGGLWLRQDOWUDYHOPD\UHVXOWLQDGGLWLRQDOGLVFDUGV
     x     'LVEHOLHIWKDWWKHUHFDQEHDGHFUHDVHLQWUDQVSODQWQXPEHUVDQGDVLPXOWDQHRXVGHFUHDVHLQ
            ZDLWOLVWPRUWDOLW\
     x     &RQFHUQVWKDW232SHUIRUPDQFHLVQRWDIDFWRUWKDWLVFRQVLGHUHG
     x     %HOLHIWKDWFDQGLGDWHVFDQPRYHWRDUHDVZLWKPRUHVXSSO\

 &LUFOH6L]HV
 7KHFRPPLWWHHVSHFLILFDOO\DVNHGIRUIHHGEDFNRQWKHVL]HRIFLUFOHV7KHRSWLRQVSURYLGHGZHUHDV
 SURSRVHGVPDOOHURUODUJHU6HYHUDOFRPPHQWHUVSURYLGHGDGGLWLRQDOWH[WIHHGEDFNRQVSHFLILFVL]HVRU
 UHTXHVWLQJDSRSXODWLRQEDVHGFLUFOH

 2SWLRQV
     QDXWLFDOPLOHV 3XEOLFFRPPHQWSURSRVDO 
     /DUJHU VXFKDV 
     6PDOOHU
     3RSXODWLRQ%DVHG
 6HYHUDOFRQVWLWXHQWJURXSVZHUHUHSUHVHQWHGLQSXEOLFFRPPHQWUHVSRQGHQWV232VZHUHWKHRQO\
 FRQVWLWXHQWJURXSWKDWIDYRUHGWKHFRPPLWWHH¶VSURSRVHGFLUFOHVVL]HVWKHPRVW1RJURXSVKDGRU
 PRUHWKDWLQIDYRURIVPDOOHUFLUFOHV3DWLHQWVDQGJHQHUDOSXEOLFFRPPHQWHUVIDYRUHGODUJHUFLUFOHV




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 7KHUHZHUHUHVSRQVHVIURPPRVWVWDWHV7KHQH[WFKDUWVKRZVWKHSUHIHUHQFHIRUFLUFOHVL]HVZLWKLQHDFK
 VWDWH$FURVVWKHVWDWHVWKHUHLVQ¶WDFOHDUFRQVHQVXVIRUDFLUFOHVL]H
                                  )LJXUH)HHGEDFNRQ&LUFOH6L]HVE\6WDWH




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 /RRNLQJDWWKLVRQDPDSWKHUHLVDSUHIHUHQFHIRUVPDOOHUFLUFOHVL]HVLQWKHPLGZHVWDQGVRXWKHDVWHUQ
 VWDWHV
                                  )LJXUH)HHGEDFNRQ&LUFOH6L]HVE\6WDWH




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 7KHQH[WFKDUWVKRZVWKHSUHIHUHQFHIRUFLUFOHVL]HVE\HDFKVWDWHZWKWKHFRPPHQWVZHLJKWHGE\WKH
 WUDQVSODQWYROXPHZLWKLQHDFKVWDWH:HLJKWHGWKLVZD\WKHUHVKRZVPRUHSUHIHUHQFHIRUODUJHU
 GLVWULEXWLRQFLUFOHV
                   )LJXUH)HHGEDFNRQ&LUFOHV6L]HV:HLJKWHGE\6WDWH7UDQVSODQW9ROXPH




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 7KHUHDSSHDUWREHWUHQGVLQDFRPPHQWHU¶VIHHGEDFNRQFLUFOHVVL]HDQGWKHLURSLQLRQRQWKHGLVWULEXWLRQ
 WKUHVKROG&RPPHQWHUVZKRIDYRUHGODUJHUFLUFOHVWHQGHGWRIDYRUDORZHUWKUHVKROGDQGWKRVHZKR
 IDYRUHGDVPDOOHUFLUFOHIDYRUHGDKLJKHUWKUHVKROG7KLVLVQRWXQH[SHFWHGVLQFHDODUJHUFLUFOHVL]HDQG
 ORZHUWKUHVKROGERWKFUHDWHEURDGHUGLVWULEXWLRQDQGDVPDOOHUFLUFOHDQGKLJKHUWKUHVKROGUHVXOWLQOHVV
 EURDGGLVWULEXWLRQDQGPRUHWUDYHO,WGRHVDSSHDUWRVKRZWKDWPRVWFRPPHQWHUVHLWKHUZHLJKWWUDYHODQG
 ORJLVWLFVRUYDULDQFHDQGZDLWOLVWGHDWKVPRUHDFURVVWKHERDUG




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                         )LJXUH)HHGEDFN5HJDUGLQJ0(/'7KUHVKROGDQG&LUFOH6L]H




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 2SWLRQ±QDXWLFDOPLOHV
 7KHFXUUHQWSURSRVDOXVHVFLUFOHVRIDQGQPDURXQGWKHGRQRUKRVSLWDODVWKHXQLWVRI
 DOORFDWLRQ

 7KLVRSWLRQUHIOHFWVWKHSROLF\ODQJXDJHWKDWZHQWRXWIRUSXEOLFFRPPHQW2IWKHRSWLRQVLQFOXGHGLQWKH
 TXHVWLRQQDLUHWKLVKDGWKHVHFRQGPRVWVXSSRUWHUV

 2SWLRQ±/DUJHU
 7KHPDMRULW\RIFRPPHQWHUVSUHIHUUHGFLUFOHVODUJHUWKDQWKHSURSRVHGQP

 6RPHFRPPHQWHUVZHUHFRQFHUQHGWKDWWKHQPFLUFOHZDVWRRVPDOOEHFDXVHWKHLUKRVSLWDOZRXOGQRW
 EHZLWKLQWKHQPFLUFOHRIGRQRUKRVSLWDOVWKDWDUHFXUUHQWO\LQWKHWUDQVSODQWKRVSLWDO¶V'6$0DQ\
 VXJJHVWHGDFLUFOHRIDWOHDVWRUIDYRUHGWKHPRGHOHGZLWKDFXLW\FLUFOHVZKLOHRWKHUV
 SUHIHUUHGDQGQP2QHFRPPHQWHUVXJJHVWHGDFLUFOHRIIRU0(/'OHVVWKDQDQG
 QPIRU0(/'RIDQGKLJKHU7KHVSHFLILFDOWHUQDWLYHVSURSRVHGE\FRPPHQWHUVZHUH

       QP
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 SUHIHUHQFHIRUPRGHOLQJSRSXODWLRQEDVHGFLUFOHV VHHRSWLRQ DQGH[SUHVVLQJFRQFHUQVRYHUWKHIDFW
 WKDWWKHFLUFOHZRXOGLQFOXGHWKHRFHDQRUDQRWKHUFRXQWU\IRUPDQ\KRVSLWDOV$GGLWLRQDOFRPPHQWV
 PHQWLRQHGWKDWQPFLUFOHVZRXOGEHVPDOOHUWKDQPDQ\FXUUHQW'6$ERXQGDULHVDQGZRXOGUHVXOWLQ
 OHVVDFFHVVIRUFHUWDLQSDWLHQWV2WKHUVZHUHFRQFHUQHGZLWKPDLQWDLQLQJDFFHVVIRUDUHDVRIWKHFRXQWU\
 ZLWKKLJKSUHYDOHQFHRIOLYHUGLVHDVH

 2SWLRQ±6PDOOHU
 7KHOHDVWSUHIHUUHGRSWLRQRIWKRVHRQWKHIRUPZDVFLUFOHVWKDWZHUHVPDOOHUWKDQQP2QH
 FRPPHQWHUVSHFLILFDOO\VXJJHVWHGDFLUFOHRIQPIRUWKHVPDOOHVWXQLWRIDOORFDWLRQ




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 7KHFRPPHQWHUVWKDWSUHIHUUHGWKLVRSWLRQZHUHLQWKHPLQRULW\7KHFRPPHQWHUVZKRSUHIHUUHGWKLV
 RSWLRQDOVRJHQHUDOO\SUHIHUUHGDKLJKHUGLVWULEXWLRQWKUHVKROG&RPPHQWHUVZHUHFRQFHUQHGZLWKWKH
 LQFUHDVHGFRVWVDQGGLIILFXOW\ZLWKORJLVWLFVVXFKDVILQGLQJSLORWVZLWKWKHLQFUHDVHVLQIO\LQJSUHGLFWHGLQ
 WKHPRGHOV0DQ\RIWKHFRPPHQWHUVZKRVXSSRUWHGVPDOOHUFLUFOHVDOVRZHUHDJDLQVWDOORIWKHPRGHOHG
 RSWLRQV

 2SWLRQ±3RSXODWLRQ%DVHG
 ,QDGGLWLRQWRWKHRSWLRQVDERYHVRPHFRPPHQWHUVZURWHLQZLWKDQDGGLWLRQDOVXJJHVWLRQ7KHFRPPLWWHH
 UHFHLYHGFRPPHQWVUHTXHVWLQJFRQVLGHUDWLRQRISRSXODWLRQEDVHGFLUFOHVLQFOXGLQJTXLWHDIHZFRPPHQWV
 UHTXHVWLQJWKDWLWEHPRGHOHGEHIRUHWKHFRPPLWWHHGHFLGHGRQDVROXWLRQ6HYHUDOFRPPHQWHUVEHOLHYHG
 WKDWVHWGLVWDQFHFLUFOHVZRXOGGLVDGYDQWDJHDUHDVZKHUHDFLUFOHZRXOGLQFOXGHZDWHURUDQRWKHUFRXQWU\
 RUZKHUHWKHUHDUHODUJHUXUDODUHDVLQEHWZHHQSRSXODWLRQFHQWHUV7KH\KRSHWKDWFLUFOHVWKDWDGMXVW
 EDVHGRQSRSXODWLRQZRXOGHQVXUHDFFHVVIRUWKRVHDUHDV7KLVFRQFHSWZDVVXSSRUWHGE\$676


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      3XEOLFFRPPHQWSURSRVDO 
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 0RVWRIWKHFRPPHQWHUVZKRH[SUHVVHGDQRSLQLRQRQWKHGLVWULEXWLRQWKUHVKROGZHUHWUDQVSODQW
 KRVSLWDOV7KHUHZHUHPRUHFRPPHQWVIURP1HZ<RUNRQWKLVTXHVWLRQWKDQIURPDQ\RWKHUVWDWH
                          )LJXUH)HHGEDFNRQ'LVWULEXWLRQ7KUHVKROGE\0HPEHU7\SH




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                             )LJXUH)HHGEDFNRQ'LVWULEXWLRQ7KUHVKROGE\6WDWH




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 2SWLRQ±0(/'3(/'RI
 7KHFXUUHQWSURSRVDOLQFOXGHVD0(/'3(/'GLVWULEXWLRQWKUHVKROGRI,WDOORFDWHVOLYHUVWRFDQGLGDWHV
 ZLWKD0(/'RU3(/'RIRUKLJKHUZLWKLQQPRIWKHGRQRUKRVSLWDOEHIRUHFDQGLGDWHVZLWKD0(/'
 RU3(/'ORZHUWKDQZLWKLQQP

 7KLVRSWLRQUHIOHFWVWKHSROLF\ODQJXDJHWKDWZHQWRXWIRUSXEOLFFRPPHQW

 5RXJKO\RIFRPPHQWHUVSUHIHUUHGWKLVGLVWULEXWLRQWKUHVKROG

 2SWLRQ±0(/'3(/'RI
 7KH6575DOVRPRGHOHG%&ZLWKDGLVWULEXWLRQWKUHVKROGRIVLPLODUWR6KDUH7KLVRSWLRQZDV
 ODUJHO\SUHIHUUHGE\FRPPHQWHUVZKRDOVRVXSSRUWHGVPDOOHUFLUFOHV,WZDVVXSSRUWHGE\DSSUR[LPDWHO\
 RIFRPPHQWHUV0DQ\RIWKHVHFRPPHQWHUVDOVRSUHIHUUHGWRNHHSWKHDOORFDWLRQDVFORVHDV
 SRVVLEOHWRWKHYHUVLRQSDVVHGLQ'HFHPEHU

 2SWLRQ±0(/'3(/'RI
 7KHPDMRULW\RIFRPPHQWHUVSUHIHUUHGDGLVWULEXWLRQWKUHVKROGRI7KLVRSWLRQZDVQRWPRGHOHGE\WKH
 6575EXWDSSHDUHGWREHDSRLQWDWZKLFKWKHGLIIHUHQFHLQPRUWDOLW\UDWHVLQFUHDVHGPRUHGUDPDWLFDOO\

 2SWLRQ±0(/'3(/'RI
 2QHFRPPHQWHUSURSRVHGDGLVWULEXWLRQWKUHVKROGRIVWDWLQJWKDWLWZRXOGGHFUHDVHPRUWDOLW\UDWHV

 2SWLRQ±0(/'3(/'RIRUORZHU
 6HYHUDOFRPPHQWHUVSURSRVHGDGLVWULEXWLRQWKUHVKROGRILQRUGHUWRLQFUHDVHGLVWULEXWLRQDQGIXUWKHU
 UHGXFHZDLWOLVWPRUWDOLW\DQGYDULDQFHLQPHGLDQ0(/'DWWUDQVSODQW6RPHDOVRDVVHUWHGWKDWWKH\
 EHOLHYHGWKDWDQ\KLJKHUWKUHVKROGZDVDYLRODWLRQRIWKH)LQDO5XOH

 2SWLRQ±1RQH
 6HYHUDOFRPPHQWHUVVXJJHVWHGWKDWWKHUHZDVQRQHHGIRUDGLVWULEXWLRQWKUHVKROGDWDOO




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 $%29DULDQFH
 2SWLRQV
      2QO\DSSO\WKLVYDULDQFHWR+DZDLL SXEOLFFRPPHQWSURSRVDODQGFXUUHQWSROLF\ 
      $SSO\WKLVYDULDQFHWRERWK+DZDLLDQG3XHUWR5LFR
 2SWLRQ±2QO\DSSO\WKLVYDULDQFHWR+DZDLL
 7KHFXUUHQWSURSRVDOGRHVQRWLQFOXGHDYDULDQFHIRU3XHUWR5LFREXWGRHVLQFOXGHRQHIRU+DZDLL)RU
 EORRGW\SH2GRQRUVUHFRYHUHGLQ+DZDLLWKHYDULDQFHFKDQJHVWKHRUGHURIDOORFDWLRQWRLQFOXGHDQ\
 EORRGW\SHUHFLSLHQWVLQWKHVDPHFODVVLILFDWLRQV7KLVUHPRYHVWKHSULRULW\IRU2DQG%FDQGLGDWHVWKDW
 ZRXOGRWKHUZLVHH[LVWZKHQDOORFDWLQJ2GRQRUVDQGDOORZVIRUDOORFDWLRQRI2GRQRUVWR$DQG$%
 FDQGLGDWHVLQ+DZDLLEHIRUHQDWLRQDORIIHUVWR2DQG%FDQGLGDWHV

 7KLVRSWLRQUHIOHFWVWKHFXUUHQWSROLF\ODQJXDJHDQGWKHSURSRVDOWKDWZHQWRXWIRUSXEOLFFRPPHQW

 &RPPHQWHUVZKRH[SUHVVHGDQRSLQLRQRQWKHYDULDQFHDOODJUHHGWKDWLWVKRXOGFRQWLQXHWRDSSO\WR
 +DZDLL7KRVHZKRWKRXJKWLWVKRXOGQRWDSSO\WR3XHUWR5LFRGLGQ¶WEHOLHYHWKHVDPHORJLVWLFDOLVVXHV
 H[LVWIRUWUDYHOLQJWRWKHPDLQODQGIURP3XHUWR5LFRWKDWH[LVWIRU+DZDLL

 2SWLRQ±$SSO\WKHYDULDQFHWRERWK+DZDLLDQG3XHUWR5LFR
 7KHRWKHURSWLRQWKDWWKHFRPPLWWHHVRXJKWIHHGEDFNRQLQSXEOLFFRPPHQWZDVDSSO\LQJWKHVDPH
 YDULDQFHWR2GRQRUVUHFRYHUHGLQ3XHUWR5LFRDVZHOO

 6XSSRUWHUVRIWKLVRSWLRQSRLQWHGWRHTXLW\DQGDVVLVWLQJWKHSRSXODWLRQRI3XHUWR5LFR$OWKRXJKPRVW
 FRPPHQWHUVGLGQRWWDNHDVWDQFHRQWKLVTXHVWLRQWKRVHWKDWGLGZHUHIDLUO\HYHQO\VSOLWZLWKVOLJKWO\
 PRUHIDYRULQJH[WHQGLQJWKHYDULDQFHWR3XHUWR5LFR0DQ\FRPPHQWHUVIRFXVHGRQWKHLVRODWLRQRI
 3XHUWR5LFRZLWKRXWUHJDUGWRWKHLU$%2SRSXODWLRQ


 3HGLDWULF$OORFDWLRQ
 7KHFXUUHQWSURSRVDODOORFDWHVSHGLDWULFGRQRURUJDQVILUVWZLWKLQQPRIWKHGRQRUKRVSLWDODQGWKHQ
 QDWLRQDOO\,WDOORFDWHVWKHVHRUJDQVQDWLRQDOO\WRSHGLDWULFFDQGLGDWHVEHIRUHRIIHULQJWKHPWRDQ\DGXOW
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 7KLVRSWLRQUHIOHFWVWKHSROLF\ODQJXDJHWKDWZHQWRXWIRUSXEOLFFRPPHQW

 7KHFRPPHQWVUHFHLYHGUHJDUGLQJSHGLDWULFDOORFDWLRQHLWKHUGLUHFWO\H[SUHVVHGVXSSRUWIRUWKLVFKDQJHRU
 UHTXHVWHGWKLVNLQGRIFKDQJH7KHUHZHUHQRFRPPHQWVRSSRVHGWRWKHFKDQJH


 2WKHU&RQVLGHUDWLRQV
 $232DQGRWKHUVUHTXHVWHGFDUHIXOPRQLWRULQJRIRUJDQZDVWDJHVRWKDWWKHSROLF\FRXOGEHTXLFNO\
 FKDQJHGLIWKHDGGLWLRQDOWUDYHOUHVXOWVLQLQFUHDVHGZDVWDJHRIRUJDQV

 $232DQGWKH232&RPPLWWHHDOVRUHTXHVWHGDGGLWLRQDOHQKDQFHPHQWVWRWKHIXQFWLRQLQJRI'RQRU1HWႩ
 WRHQVXUHHIILFLHQWSODFHPHQWRIRUJDQVLQFOXGLQJWUDQVSDUHQF\DURXQGRIIHUVDQGH[SHGLWHGSODFHPHQW


 &RPPHQWV5HFHLYHG
 %HORZDUHWKHUHJLRQDODQGFRPPLWWHHFRPPHQWVVXEPLWWHGGXULQJWKHSXEOLFFRPPHQWSHULRG




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 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

     o %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\
        RSSRVH

     o 0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQIRU0(/'IRU0(/'6 for MELD 29
        DEVWDLQ

     o 6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQIRUUHPDLQWKHVDPHIRUVPDOOHU 7 for larger
        DEVWDLQ

     o $FXLW\FLUFOHV6 strongly supportVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\RSSRVH

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 0DQ\RQWKHFDOOVXSSRUWHGEURDGHUVKDULQJDQGGLGQRWWKLQNHLWKHUPRGHOSUHVHQWHGE\WKHFRPPLWWHH
 ZRXOGPDNHVLJQLILFDQWFKDQJHVWRWKHFXUUHQWV\VWHP2IWKHWZRPRGHOVSUHVHQWHGWKHUHZDVVXSSRUW
 IRUWKH$FXLW\&LUFOHPRGHODVWKHEHVWQH[WVWHSWRVXFFHVVIXOO\VKDUHPRUHEURDGO\7KRVHLQIDYRURIWKH
 DFXLW\PRGHODUHDZDUHWKDWWKHUHZLOOQHHGWREHFKDQJHVLQWKHZD\WKHFRPPXQLW\SURFXUHVDQG
 WUDQVSRUWVRUJDQV7KHUHLVQRZD\WRSUHGLFWWKHFKDQJHLQFRVWFROGLVFKHPLFWLPHRUGLVFDUGVEHFDXVH
 WKHUHLVQRZD\WRSUHGLFWFKDQJHVLQEHKDYLRU,I%URDGHU6KDULQJ&LUFOHLVFKRVHQWKHPRVWVXSSRUW
 YRLFHGZDVIRUXVLQJDVKDULQJWKUHVKROGRI7KRVHRQWKHFDOOVXSSRUWHGDOORZLQJ+DZDLLWRNHHSWKHLU
 YDULDQFHEXWGLGQRWVHHDQHHGWRH[SDQGWKHYDULDQFHWRLQFOXGH3XHUWR5LFR

 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

     o %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\
        RSSRVH

     o 0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQIRU0(/'RIIRU0(/'IRU0(/'8
        for MELD 35DEVWDLQ

     o 6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQIRUUHPDLQWKHVDPH7 for smallerIRUODUJHU
        DEVWDLQ

     o $FXLW\FLUFOHVVWURQJO\VXSSRUW5 supportDEVWDLQQHXWUDORSSRVHVWURQJO\RSSRVH

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 7KHUHLVDFRQFHUQDERXWSRSXODWLRQGHQVLW\LQUHODWLRQWRWKHVL]HRIVKDULQJFLUFOHV:LWKVXFKKLJK
 SRSXODWLRQGHQVLW\LQWKHQRUWKHDVWGLGWKHFRPPLWWHHFRQVLGHUDYDLODEOHUHVRXUFHVVXFKDVKRVSLWDOVWDII
 DQGWKHQXPEHUDLUSODQHV"6PDOOHUVKDULQJFLUFOHVZRXOGPDNHPRUHVHQVHLQDUHDVRIKLJKSRSXODWLRQ
 GHQVLW\

 7KHUHZDVDFRPPHQWWKDWLQUHJDUGVWRSHGLDWULFSDWLHQWV%&VHHPVWREHWKHPRVWIDYRUDEOHIRUWKDW
 JURXS

 $QRWKHUFRPPHQWHUVWDWHGWKDWWKH%&PRGHOVHHPVWREHIDYRUDEOHWRSDWLHQWVRQWKHZDLWOLVWZKLOH
 NHHSLQJFRVWVGRZQDWWKHVDPHWLPH



            
 &RPPHQWVIURPWKHUHJLRQVDUHDSSURYHGE\WKH5HJLRQDO&RXQFLORUDQGDUHPHDQWWRH[SUHVVWKH

 RYHUDOOVHQWLPHQWRIWKHSDUWLFLSDQWVRQWKHUHJLRQDOZHELQDU7KH\DUHQRWDWUDQVFULSWRIWKHUHJLRQDO
 PHHWLQJQRUGRWKH\UHIOHFWRWKHUFRPPHQWVVXEPLWWHGIURPWKHUHJLRQ



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 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

     o %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\
        RSSRVH

     o 0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQ6 for MELD of 35IRU0(/'DEVWDLQ

     o 6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQ: 7 for remain the sameIRUVPDOOHUDEVWDLQ

     o $FXLW\FLUFOHVVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVH7 strongly oppose

 
 :KLOHVRPHPHPEHUVQRWHGWKDWLWLVLPSRUWDQWIRUWKHUHJLRQWRSURYLGHIHHGEDFNDQGEHLQYROYHGLQ
 SLFNLQJDSROLF\WKDWDGGUHVVHVWKHOHJDOPDWWHUVDWKDQGWKHUHZHUHRWKHUPHPEHUVZKRVKDUHGWKH
 IROORZLQJFRQFHUQV

 )O\LQJLQFUHDVHVLQDOOUHJLRQVEXWRQO\VRPHDUHDVRIWKHFRXQWU\ZLOOJDLQZLWKWKLVSURSRVDO6RPH
 DUHDVZLOOEHIO\LQJPRUHEXWWKH\ZLOOLQFUHDVHWKHQXPEHURIOLYHUV+RZHYHUPHPEHUVEHOLHYHWKDW
 UHJLRQZLOOEHIO\LQJPRUHEXWZLOOEHORVLQJOLYHUV7KHUHZLOOEHQRODUJHULPSURYHPHQWVIRUWKHRYHUDOO
 V\VWHPIO\LQJZLOOLQFUHDVHORJLVWLFVZLOOEHFRPHPRUHFKDOOHQJLQJDQGEXUGHQVRPHYROXPHRIRYHUDOO
 OLYHUVWUDQVSODQWHGZLOOGHFUHDVH5HJLRQZLOOGROHVVEXWDWDKLJKHUFRVW0HPEHUVDOVREHOLHYHWKDW
 WKH6575PRGHOLQJXVHVROGHUGDWDWRDVVHVVWKH³FXUUHQW´VWDWHRIOLYHUDOORFDWLRQDQGPD\DIIHFWWKH
 FRPSDULVRQVPDGHWRWKHPRGHOHGRSWLRQVLQWHUPVRIWKHFRXQWVRIZDLWOLVWGHDWKVZDLWOLVWPRUWDOLW\UDWHV
 DQGWUDQVSODQWYROXPH

 7KHUHLVFRQFHUQWKDWDQ\RIWKHVHSURSRVDOVZLOOMHRSDUGL]HDFFHVVIRUSRRUDQGPLQRULW\
 SDWLHQWV2SHQLQJWKHGRRUWRIL[HGFLUFOHVDQGORZHULQJWKHVKDULQJ0(/'ZLOOZRUVHQGLVSDULW\IRUWKHVH
 JURXSVDQGVWLOOGRHVQRWKHOSFHUWDLQDUHDVRIWKHFRXQWU\VXFKDV&DOLIRUQLD7KHUHLVDVHQVHWKDWWKH
 OHJDOPDWWHUVKDYHFUHDWHGDUELWUDU\WLPHFRQVWUDLQWVDQGPRUHLQIRUPDWLRQLVQHHGHG&RVWVQHHGWREH
 EHWWHUH[DPLQHGEHIRUHPRYLQJIRUZDUG0HPEHUVIHOWWKDWIO\LQJLVDVXUURJDWHRIFRVW PRVWO\GXHWR
 MHWIXHO EXWWKHUHDUHRWKHULQFUHDVHGFRVWVWRFRQVLGHUDVZHOO3XWWLQJWKHFRVWLQWRGROODUVLQFUHDVHGYV
 WUDQVSODQWJDLQHGRUGROODUVLQFUHDVHGYV0(/'YDULDQFHGHFUHDVHGZRXOGEHPRUHPHDQLQJIXOZKHQ
 HYDOXDWLQJWKHYDOXHRIWKHSURSRVDO0HPEHUVZRXOGVWLOOOLNHWRVHHWKHVWDWHGLVWULEXWLRQLGHDPRGHOHG
 DQGFRQVLGHUHGEHIRUHDGRSWLQJDILQDOSROLF\

 2WKHUIHHGEDFN

 2QHPHPEHUFRPPHQWHGWKDWWKH\ZRXOGSUHIHUDVKDULQJWKUHVKROGRI7KLVZRXOGLQFUHDVHDFFHVV
 IRUVLFNHUSDWLHQWVUHJLVWHUHGDWWUDQVSODQWFHQWHUVWKDWDUHLQFLWLHVRQWKHFRDVWDQGDUHDVZLWKKLJKHU
 SRSXODWLRQGHQVLW\

 2QHPHPEHUFRPPHQWHGWKDW3XHUWR5LFRLVRQO\DKRXUIOLJKWDQGLWVGLVWDQFHIURPWKHPDLQODQG
 GRHVQRWMXVWLI\DYDULDQFH

 7KHUHZDVDVXJJHVWLRQWRSULRULWL]HUHWUDQVSODQWVGLIIHUHQWO\EHFDXVHWKH\KDYHDKLJKHUPRUWDOLW\UDWH

 5HJLRQ
 5HJLRQ YRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

     x     %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVH8 strongly
            oppose
     x     0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQ: 8 for MELD of 29IRU0(/'IRU0(/'
            IRU0(/'
     x     6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQIRUUHPDLQWKHVDPHIRUVPDOOHU9 for larger
     x     $FXLW\FLUFOHV7 strongly supportVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\RSSRVH



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 7KRVHDWWHQGLQJWKHZHELQDUZHUHHQJDJHGDQGSURYLGHGWKRXJKWIXOIHHGEDFN

 6RPHPHPEHUVFRPPHQWHGWKDWLQ7H[DVWKH\DUHDOUHDG\IO\LQJRIWKHWLPHWRJHWOLYHUVDQG
 KDYHDPXFKODUJHUGLVWULEXWLRQDUHDWKDQZKDWLVLQWKHSURSRVHGSROLF\7KHUHZDVFRQFHUQWKDWWKH
 SURSRVHGPRGHOZRXOGGLVDGYDQWDJHSDWLHQWVDWFHQWHUVQHDUWKHFRDVWZKHUHPXFKRIWKHFLUFOHZLOOEH
 RYHUZDWHU7KHUHZDVDOVRFRQFHUQWKDWWKH%&PRGHOZRXOGUHVXOWLQDQLQFUHDVHLQZDLWLQJOLVW
 PRUWDOLW\LQ7H[DV

 6RPHRQWKHZHELQDUFRPPHQWHGWKDWDQ\SURSRVDOVKRXOGKDYHYHU\ODUJHFLUFOHV SOXVQP DQGWKH
 VKDULQJIRU0(/'GRZQWRWRDIIHFWPRUWDOLW\IRUVLFNSHRSOHDQGWRLQFUHDVHDFFHVV

 7KHUHZDVVRPHVXSSRUWIRUWKHDFXLW\PRGHOVDQGIRUORZHULQJWKHWKUHVKROGIRUWKH%&PRGHOWR
 EHFDXVHWKHPRUWDOLW\FXUYHLQFUHDVHVDURXQGWKDWOHYHO7KHUHZDVFRQFHUQWKDWWUDQVSODQWLQJ
 FDQGLGDWHVZLWKKLJKHU0(/'VZRXOGLQFUHDVHFRVWVPRUHWKDQDGGLWLRQDOIO\LQJ

 7KHUHZDVIHHGEDFNWKDWEDVHGRQWKHGDWDFHQWHUVLQ7H[DVDQG2NODKRPDZLOOKDYHDQLQFUHDVHLQ
 WUDQVSODQWVXQGHUWKH%&PRGHO

 7KHUHZDVFRQFHUQWKDWLQFUHDVLQJWKH0(/'WKUHVKROGRUUHGXFLQJWKHFLUFOHVL]HZRXOGOLPLWDFFHVVIRU
 SDWLHQWVDWWKH9$KRVSLWDOVVLQFHWKHUHDUHDYHU\IHZDFURVVWKHFRXQWU\DQGYHWHUDQVKDYHWRWUDYHOWR
 RQHRIWKHVHFHQWHUVWRJHWDWUDQVSODQW

 7KHUHZDVDFRPPHQWWKDWWKHPRGHOLQJGRHVQRWUHIOHFWGLVSDULW\EHWZHHQVXSSO\DQGGHPDQG7KLVLV
 LQIOXHQFHGE\232SHUIRUPDQFHFHQWHUDFFHSWDQFHSUDFWLFHVDQGDFWLYLW\RIOLYLQJGRQRU
 SURJUDPV&HQWHUVQHHGWRFRQVLGHUPD[LPL]LQJUHVRXUFHVDQGFDSDELOLWLHV,QFUHDVLQJWKHVL]HRIWKH
 FLUFOHLVQRWWKHDQVZHUJLYHQWKHFRVWDVVRFLDWHGZLWKIO\LQJ$FRVWDQDO\VLVLVQHHGHGWRXQGHUVWDQG
 KRZFKDQJHVZLOOHIIHFWWUDQVSODQWFHQWHUV

 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

     x     %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\
            RSSRVH
     x     0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQIRU0(/'RIIRU0(/'IRU0(/'
            DEVWDLQ
     x     6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQIRUUHPDLQWKHVDPHIRUVPDOOHUIRUODUJHU
            DEVWDLQ
     x     $FXLW\FLUFOHVVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\RSSRVH

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 2QHPHPEHUFRPPHQWHGWKDWZHVKRXOGFRQVLGHU$FXLW\VLQFHLWKDVWKHPRVWVLJQLILFDQW
 UHGXFWLRQRI0(/'3(/'DWWUDQVSODQW

 0XOWLSOHPHPEHUVH[SUHVVHGWKH\ZRXOGKDYHOLNHGWRKDYHVHHQPRUHPRGHOLQJGDWDLQFOXGLQJWKH
 LPSDFWRIORZHULQJWKH0(/'WKUHVKROGWRRQWKHSHUFHQWRIWUDQVSODQWVWKDWZRXOGUHTXLUHIO\LQJDQG
 WKHRYHUDOOGDWDIRU0(/'WKUHVKROGVORZHUWKDQZLWKVSHFLILFPHQWLRQRIDQG

 2QHSHUVRQDVNHGZKRZRXOGDEVRUEWKHLQFUHDVHGWUDQVSRUWDWLRQFRVWVDVVRFLDWHGZLWKODUJHUQDXWLFDO
 PLOHGLVWDQFHV

 $PHPEHUUHFRPPHQGHGSKDVHGDSSURDFKZLWK%&IRU\HDUDQGWKHQ%&SKDVHGLQWRDOORZ
 IRUPRGHOLQJDQGREVHUYDWLRQRIEHKDYLRUDQGPRGLILFDWLRQRISROLF\

 0XOWLSOHPHPEHUVYRLFHGVXSSRUWIRUORZHU0(/'WKUHVKROGVLQFOXGLQJ ZLWKQP DQG




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 2QHPHPEHUYRLFHGWKDWWKH\IHHOWKDWFHQWHUVWKDWGRQRWVKDUHDVPXFKDUHXQGHUUHSUHVHQWHGRQWKH
 OLYHUFRPPLWWHHDQGWKDWWKLVSURSRVDOLVQRWUHSUHVHQWDWLYHRIWKHP

 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 'UDIWFRPPHQWV

      x %URDGHUFLUFOHGLVWULEXWLRQ17 strongly supportVXSSRUWDEVWDLQQHXWUDORSSRVH
         VWURQJO\RSSRVH
     x 0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQIRU0(/'RIIRU0(/'18 for MELD 35
     x 6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQ21 for remain the sameIRUVPDOOHUIRUODUJHU
     x $FXLW\FLUFOHVVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVH15 strongly oppose
 7KHUHJLRQH[SUHVVHGJUHDWFRQFHUQRYHUWKHODFNRIFRQVLGHUDWLRQIRU$ODVNDQGRQRUV6LQFHDQ\GRQRU
 LQ$ODVNDZLOOEHPRUHWKDQQDXWLFDOPLOHVIURPDWUDQVSODQWFHQWHUWKRVHOLYHUVZLOOJRVWUDLJKWWR
 QDWLRQDOVKDULQJ7KDWLVQRWDQHIILFLHQWPHDQVIRUOLYHUDOORFDWLRQGXHWRWKHGLVWDQFHWRVKLSWKHRUJDQ
 DQGWKHLQFUHDVHGFROGLVFKHPLFWLPH2QHPHPEHUSURSRVHGWKDWWUDQVSODQWFHQWHUVLQWKH3DFLILF
 1RUWKZHVWEHLQFOXGHGLQDQDXWLFDOPLOHFLUFOHDURXQGWKHGRQRUKRVSLWDOLQ$ODVNDWKDWZD\WKRVH
 RIIHUVZRXOGQRWJRVWUDLJKWWRQDWLRQDORIIHUVDQGKRSHIXOO\SUHYHQWXQQHFHVVDU\RUJDQGLVFDUGV

 ,WZDVQRWHGWKDWLQWKH%&PRGHOLWLVFRQFHUQLQJWKDWWKHUHDUHVKDUSFOLIIVZKHQLWFRPHVWR
 DOORFDWLRQ$SDWLHQWZLWKD0(/'RIWKDWLVQDXWLFDOPLOHVIURPDGRQRUZLOOJHWDOLYHURIIHUEHIRUH
 DSDWLHQWZLWKD0(/'RIWKDWLVQDXWLFDOPLOHVIURPWKHGRQRU

 $FRPPHQWZDVPDGHWKDWWKHUHJLRQZLOOVHHDQLQFUHDVHLQWKHQXPEHURIRUJDQVH[SRUWHGDQGWKH\DUH
 FRQFHUQHGWKDWZDLWOLVWPRUWDOLW\UDWHVZLOOLQFUHDVHEHFDXVHRIWKDW,WZDVDOVRQRWHGWKDWWKHDPRXQWRI
 IO\LQJZLOOLQFUHDVHDGGLQJDQH[RUELWDQWDPRXQWWRDWUDQVSODQWSURJUDP¶VFRVWV:LWKWKHLQFUHDVHLQ
 IO\LQJZLOOWKHUHEHHQRXJKSODQHV"

 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

      o %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUW4 support,DEVWDLQQHXWUDORSSRVH
         VWURQJO\RSSRVH

      o 0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQIRU0(/'5 for MELD 32IRU0(/'

      o 6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQ 6 for remain the sameIRUODUJHUDEVWDLQ

      o $FXLW\FLUFOHVVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\RSSRVH

 

 $Q232PHPEHUFRPPHQWHGWKDW

 7KH\XQGHUVWDQGWKHUHLVDQHHGIRUFKDQJHEHIRUHLQWHUYHQWLRQFRPHVIURPHQWLWLHVRXWVLGHWKHWUDQVSODQW
 FRPPXQLW\VXFKDV&RQJUHVV2XWVLGHLQWHUYHQWLRQZRXOGQHJDWLYHO\DIIHFWWKHWUDQVSODQWFRPPXQLW\LQ
 JHQHUDODQGHVSHFLDOO\GRQDWLRQ7KHUHZDVVXSSRUWH[SUHVVHGIRUWKHFLUFOHPRGHOZKLFKPDNHVORJLFDO
 VHQVHJLYHQWKHWLPHFRQVWUDLQWV,WZDVQRWHGWKDWWKHFKDQJHVWROXQJDOORFDWLRQFDXVHGDELJVKLIWLQWKH
 H[SRUWRIOXQJVLQWKHEHJLQQLQJEXWQRZVHHPVWREHUHDFKLQJDQHTXLOLEULXPLQWKHLUDUHDDQGQRWHGWKDW
 WKHUHLVFHUWDLQO\EHQHILWWRWUDQVSODQWLQJSDWLHQWVZKRDUHVLFNHU:KLFKHYHUVROXWLRQLVVHWWOHGRQIRUOLYHU
 ZLOOEHPRQLWRUHGDQGWKHUHZLOOEHGDWDFROOHFWHGWKDWFDQDVVHVVIRUXQLQWHQGHGFRQVHTXHQFHVVXFKDV
 WUDYHOLQJWRRPXFKZLWKWRROLWWOHEHQHILW7KHPHDVXUHRIPHGLDQ0(/'LVGULYHQE\VHYHUDOIDFWRUVEXW
 VXUJHRQWUDQVSODQWSURJUDPSUHIHUHQFHVLQRUJDQDFFHSWDQFHFDQFHUWDLQO\GULYHWKLVPHDVXUH%URDGHU
 VKDULQJFRXOGOHYHORXWWKLVIDFWRUE\HQFRXUDJLQJPRUHFRQVHUYDWLYHFHQWHUVWREHFRPHPRUHDJJUHVVLYH
 DQGFHQWHUVWKDWDUHDOUHDG\DJJUHVVLYHGXHWRODFNRIRUJDQRIIHUVWRUHFHLYHPRUHRIIHUVDQGUHGXFH
 VRPHRIWKHLUULVN




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 2QHPHPEHUQRWHGWKDWWKH\SUHIHUUHGWKHDFXLW\FLUFOHVPRGHO)RUWKHEURDGHUFLUFOHGLVWULEXWLRQWKLV
 PHPEHUWKRXJKWWKDWWKH0(/'PD\QRWEHWKHULJKWVKDULQJWKUHVKROG$GGLWLRQDOO\IRUWKHVLFNHVW
 SDWLHQWVDFFHVVVKRXOGQRWEHOLPLWHGWRQDXWLFDOPLOHV

 0HPEHUVOLNHWKHSROLF\¶VPRGHOHGHIIHFWVRQSHGLDWULFVDQGDGROHVFHQWVDQGEHOLHYHLWLVDQ
 DGYDQFHPHQWIRUWKLVSRSXODWLRQ

 2QHPHPEHUFRPPHQWHGWKDW+DZDLLDQG3XHUWR5LFRERWKZDUUDQWYDULDQFHV

 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

      x    %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUW3 supportDEVWDLQQHXWUDORSSRVH
            VWURQJO\RSSRVH

      x    0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQ4 for MELD of 35IRU0(/'

      x    6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQ: 4 for remain the sameIRUVPDOOHU

      x    $FXLW\FLUFOHVVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVH2 strongly oppose

 

 0HPEHUVDUHFRQFHUQHGDERXWWKHLQFUHDVHGDPRXQWRIIO\LQJSUHGLFWHGZLWKDQ\RIWKH6575PRGHOV
 DQGWKHLPSDFWRQFROGLVFKHPLDWLPHGLVFDUGUDWHVWUDQVSODQWUDWHDQGFRVWV0HPEHUVDOVREHOLHYH
 WKDWWKH6575PRGHOLQJLVQRWXVLQJWKHPRVWXSWRGDWHGDWD$GGLWLRQDOO\WKHUHZDVDUHTXHVWWR
 SURYLGHWKHPRGHOLQJGDWDRQVRFLRHFRQRPLFVDWDUHJLRQDOOHYHOWREHWWHUXQGHUVWDQGLPSDFWDQG
 DGGLWLRQDODQDO\VLVLVQHHGHGWRNQRZKRZWKLVZLOOLPSDFWUXUDODUHDV7KHWLPHOLQHIRUDGGUHVVLQJWKH
 OHJDOPDWWHUVLVFRPSUHVVHGDQGPRUHDQDO\VLVLQIRUPDWLRQPD\EHQHHGHG

 0HPEHUVGRQRWVXSSRUWORZHULQJWKH0(/'VKDULQJWKUHVKROGWRLQWKHEURDGHUFLUFOHPRGHO7KHUH
 ZDVVRPHVXSSRUWIRULQFUHDVLQJWKH0(/'VKDULQJWKUHVKROGIURPWKHSURSRVHGWR,WZDVQRWHG
 WKDWVRPHFLW\SURJUDPVOLNH'HQYHULQUHJLRQDUHQRWJRLQJWREHZLWKLQHYHQQDXWLFDO
 PLOHV7KHUHZDVDOVRDFRPPHQWWKDWDVWDWHILUVWGLVWULEXWLRQVKRXOGEHDQRSWLRQIRUFRQVLGHUDWLRQ

 0HPEHUVFRQWLQXHWRYRLFHFRQFHUQVDERXWDFFHVVWRFDUHDQGDFFHVVWRWKHZDLWLQJOLVW0RUWDOLW\RQWKH
 ZDLWLQJOLVWVWLOOQHHGVWREHEHWWHUDGGUHVVHG0HPEHUVXUJHG8126DQGWKH2371WRFRQVLGHUDOO
 DVSHFWVRIWKH)LQDO5XOHDQGQRWMXVWWKRVHWKDWUHODWHWRJHRJUDSK\

 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

      x%URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVH10
        strongly oppose
    x 0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQ12 for MELD of 29IRU0(/'IRU0(/'
        IRU0(/'
    x 6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQIRUUHPDLQWKHVDPHIRUVPDOOHU15 for
        largerDEVWDLQ
    x $FXLW\FLUFOHV13 strongly supportVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\RSSRVH
 7KRVHZKRDWWHQGHGWKHFDOOZHUHHQJDJHGDQGSURYLGHGWKRXJKWIXOIHHGEDFN

 7KHUHZDVRYHUDOOVXSSRUWIURPWKRVHRQWKHFDOOIRUWKHDFXLW\PRGHODQGEURDGHUVKDULQJ0DQ\DJUHHG
 WKDWWKHDFXLW\PRGHOPLQLPL]HVJHRJUDSK\DQGHPSKDVL]HVDFXLW\RILOOQHVV6RPHFRPPHQWHGWKDW
 EDVHGRQWKH6575DQDO\VLVWKHDFXLW\PRGHOGHFUHDVHVZDLWOLVWPRUWDOLW\DQGUHIOHFWVDPRUHHIILFLHQW
 ZD\RIDOORFDWLQJOLYHUVDQGLVWKHPRVWIDLUQDWLRQDOO\




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 7KHUHZDVVRPHVXSSRUWIRUQRWKDYLQJDQ\0(/'WKUHVKROGVIRUVKDULQJVLQFH0(/'VWUDWLILHVSDWLHQWDW
 ULVN,QDGGLWLRQGDWDVKRZVWKDW0(/'VFRUHVLQWKHPLG¶VKDYHLQFUHDVHGPRUWDOLW\RQWKHZDLWLQJ
 OLVW7KHORZHUWKHWKUHVKROGWKHPRUHHTXLW\IRUSDWLHQWV

 7KHUHZHUHFRPPHQWVWKDW5HJLRQKDVORQJWUDGLWLRQRIEHOLHYLQJLQEURDGVKDULQJDQGWKDWOLYHUVVKRXOG
 JRWRSDWLHQWVZLWKKLJKHVWVHYHULW\VFRUHVDQGKDVUHJLRQDOVKDULQJRIOLYHUVWKLVZD\IRUPDQ\
 \HDUV$OWKRXJKQRWLQWKHPRGHOOLQJWKHUHZLOOOLNHO\EHVXEVWDQWLDOEHKDYLRUDOFKDQJHVUHJDUGLQJ
 XWLOL]DWLRQRIRUJDQVDVDUHVXOWRIFKDQJHVLQSROLF\

 6RPHPHPEHUVFRPPHQWHGWKDWZKLOHWKHUHLVLQFUHDVHGFRVWWRWUDYHOFRVWVDYLQJVE\WUDQVSODQWLQJ
 VLFNHUSDWLHQWVHDUOLHURXWZHLJKVH[SHQVHRIWUDYHO7KHUHZRQ¶WEHSHRSOHVLWWLQJLQ,&8VZLWKYHU\KLJK
 0(/'VZKLFKWDNHVDORWRIUHVRXUFHV

 7KHUHZDVDFRPPHQWWKDW0(/'VFRUHVJXLGHXVWRWKHVLFNHVWSDWLHQWVWKHUHLVQRRWKHUVLWXDWLRQLQ
 KHDOWKFDUHZKHUHJHRJUDSK\GLUHFWVDFFHVVWRWKHUDS\IRU\RXUGLVHDVH HJFKHPRRULQVXOLQIRU
 GLDEHWLFV 7UDQVSRUWWLPHDQGKRZPDQ\RUJDQVDUHIORZQGHSHQGVRQIDFWRUVVXFKDVWUDIILFDQGWLPHRI
 GD\7KHUHLVQRZD\WRDFFXUDWHO\SUHGLFWWKLV

 7KHUHZDVIHHGEDFNWKDWPLOHFLUFOHZLOOUHVWULFWVKDULQJLQ1<DQGPDQ\DUHDVRIWKHFRXQWU\
 PLOHVKDULQJFLUFOHLVVPDOOHUWKDQDERXWRIFXUUHQW'6$DQGLVWRRUHVWULFWLYH

 7KHUHZDVIHHGEDFNWKDWWKHFRPPXQLW\QHHGVWRVWHSEDFNDQGIRFXVRQEDVLFSULQFLSOHVRIHTXLW\
 2UJDQVDUHDQDWLRQDOUHVRXUFH±WZRSHRSOHHTXDOO\DVVLFNVKRXOGKDYHHTXDODFFHVVWRJHWD
 WUDQVSODQW7KHUHQHHGVWREHHTXLW\DPRQJWUDQVSODQWSDWLHQWVZKRUHDOO\QHHGRUJDQVDQGQRWDPRQJ
 WUDQVSODQWKRVSLWDOVDQGSK\VLFLDQV,I\RXDUHVLFN\RXVKRXOGKDYHDFFHVVWRWKHVHRUJDQVUHJDUGOHVV
 RIORFDWLRQ

 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

     x     %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVH
            VWURQJO\RSSRVH

     x     0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQIRU0(/'RIIRU0(/'IRU0(/'IRU
            0(/'IRU0(/'DEVWDLQ

     x     6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQIRUUHPDLQWKHVDPHIRUVPDOOHUDEVWDLQ

     x     $FXLW\FLUFOHVVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVHVWURQJO\RSSRVH

     
 0HPEHUVLQWKHUHJLRQKDGFRQFHUQVDERXWJHRJUDSKLFEDUULHUVDQGFDOFXODWLQJGLVWDQFHIURPGRQRU
 KRVSLWDOIURPWKHWUDQVSODQWKRVSLWDODQGQRWSODFHRIFDQGLGDWHUHVLGHQFH&DQGLGDWHVZKROLYHLQWKH
 ZHVWHUQSDUWRI0LFKLJDQFRXOGSRWHQWLDOO\PLVVOLYHURIIHUVVLQFHWKH\DUHOLVWHGDWDWUDQVSODQWFHQWHULQ
 VRXWKHDVWHUQ0LFKLJDQDQGWKDWZRXOGLQFUHDVHWKHGLVWDQFHIURPDGRQRUKRVSLWDORQWKHRWKHUZHVWHUQ
 VLGHRI/DNH0LFKLJDQ7KH\ZRXOGDOVROLNHWRVHHWKDWSRSXODWLRQGHQVLW\LVFRQVLGHUHGE\WKH
 FRPPLWWHHEHIRUHVHOHFWLQJRQHRIWKHSURSRVHGPRGHOV

 7KHFRPPHQWZDVPDGHWKDWDQ\FKDQJHVPDGHWROLYHUDOORFDWLRQVKRXOGEHGRQHLQDQLWHUDWLYHIDVKLRQ
 VLQFHPRUHFKDQJHVZLOOVXUHO\FRPHZLWKWLPH,WZRXOGEHVHQVLEOHWRPDNHDPRUHFRQVHUYDWLYHFKDQJH
 DWWKLVWLPHHVSHFLDOO\ZLWKFKDQJHVLQ1/5%VWDUWLQJDVZHOO7KHODZVXLWKDVDVNHGIRU'6$DQGUHJLRQ
 WREHUHPRYHGIURPOLYHUDOORFDWLRQDQGWKDWVKRXOGEHWKHIRFXVRIDQ\FKDQJHVPDGHWROLYHUDOORFDWLRQ
 7KHJURXSIDYRUHGWKH%&PRGHODQGLQJHQHUDOIDYRUHGRYHUVLQFHWKHPRGHOLQJVKRZHGPLQLPDO
 GLIIHUHQFHVLQWKHRXWFRPHVPHDVXUHG7KHUHZDVFRQFHUQRYHUZK\ZDVIDYRUHGE\/LYHUDQG
 ,QWHVWLQDO&RPPLWWHHRYHUDQGKRZZLOOEHDGYRFDWHGZLWKRXWDQ\PRGHOLQJ




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 7KHUHLVFRQFHUQWKDWPRUWDOLW\UDWHVZLOOULVHLQWKHILUVW\HDUGXHWRWKHYROXPHRIH[FHSWLRQFDQGLGDWHV
 0DQ\H[FHSWLRQVFRUHVZLOOEHKLJKHUWKDQWKHVKDULQJWKUHVKROGGHFLGHGRQIRUWKHQHZDOORFDWLRQ
 V\VWHPVRSDWLHQWVZLWK0(/'VFRUHVZLOOEHGLVDGYDQWDJHFRPSDUHGWRH[FHSWLRQSDWLHQWV5HJLRQ
 KDVURXJKO\RIH[FHSWLRQFDVHVVRZLOOQRWEHDEOHWRWDNHDGYDQWDJHRIWKLVH[FHSWLRQEDFNORJ

 5HJLRQ
 5HJLRQ RIYRWLQJPHPEHUVVXEPLWWHGDYRWHRQOLQH 

     o %URDGHUFLUFOHGLVWULEXWLRQVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVH, 5
        strongly oppose

     o 0(/'VKDULQJWKUHVKROGUHFRPPHQGDWLRQIRU0(/'RIIRU0(/'RIIRU0(/'
        IRU0(/'RIDEVWDLQ

     o 6L]HRIIL[HGGLVWDQFHFLUFOHVUHFRPPHQGDWLRQ7 for remain the sameIRUVPDOOHUDEVWDLQ

     o $FXLW\FLUFOHVVWURQJO\VXSSRUWVXSSRUWDEVWDLQQHXWUDORSSRVH8 strongly oppose

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 2QHPHPEHUFRPPHQWHGWKDWWKH)LQDO5XOHKDVPXOWLSOHSULQFLSOHVQRWMXVWJHRJUDSK\7KLVPHPEHU
 DOVRVWDWHGWKLVLVDGLVUXSWLYHFKDQJHDQGDVNHGKRZPRUWDOLW\DQGEXUGHQRIGLVHDVHDUHEHLQJ
 FRQVLGHUHGLQWKLVSURSRVDO+HVWDWHGWKDWWKLVFRXOGSRWHQWLDOO\H[DFHUEDWHWKHKHDOWKRISRSXODWLRQVZLWK
 GLVSDULWLHVDQGWKDWDOOSDWLHQWVZLWKOLYHUGLVHDVHQRWMXVWWKHOLVWHGSDWLHQWVVKRXOGEHFRQVLGHUHG
 $QRWKHUPHPEHUDJUHHGDQGDGGHGWKDWWKHVWDWHVZLWKWKHORZHVWLQVWDQFHVRIOLYHUGLVHDVH EDVHGRQ
 &'&GDWD VWDQGWRJDLQWKHPRVWIURPWKLVSURSRVDODQGWKDWHYHU\FHQWHULQUHJLRQZLOOGROHVV
 WUDQVSODQWVDQGWKH\KDYHWKHKLJKHVWOHYHORIOLYHUGLVHDVH

 $QRWKHUPHPEHUFRPPHQWHGWKDWVKDULQJOLYHUVEHWZHHQUHJLRQVLVWKHEHVWWKLQJDERXWWKLVSURSRVDODQG
 GLVWULEXWLRQEHWZHHQERUGHUVLVDJRRGWKLQJ+HDOVRH[SUHVVHGFRQFHUQDERXWWKHLQHIILFLHQF\RI
 GLVWDQFHDQGLQFUHDVHGIOLJKWWLPHVQRWEHLQJFRPSOLDQWZLWKWKH)LQDO5XOHDQGLVVXUSULVHGDERXWWKH
 VWDJJHULQJLQFUHDVHVDQGDVVRFLDWHGFRVWV+HUHFRPPHQGHGDGMXVWLQJWKHGLVWDQFHDQG0(/'
 WKUHVKROGVWRSUHYHQW³DYHUDJHOLYHUV´FULVVFURVVLQJLQWKHDLU

 2QHPHPEHUVKDUHGWKDWZLWKWKHFKDQJHVWRH[FHSWLRQSRLQWVDVDUHVXOWRIWKH1/5%LWLVGLIILFXOWWR
 SUHGLFWZKDWVFRUHVZLOOEHIRUH[FHSWLRQSDWLHQWV7KLVLVHVSHFLDOO\WUXHRISHGLDWULFSDWLHQWVVLQFH3(/'
 VFRUHVDUHKLJKHUWKDQ0(/'VFRUHVDQGPRVWSHGLDWULFSDWLHQWVDUHWUDQVSODQWHGZLWK3(/'VJUHDWHU
 WKDQ)RUWKLVUHDVRQDKLJKHUFDSRQH[FHSWLRQVFRUHVVKRXOGEHFRQVLGHUHGWRJLYHPRUHRIDEXIIHU
 DQGPDNHVXUHWKHVHSHGLDWULFSDWLHQWVFDQJHWDQH[FHSWLRQVFRUHWKDWZLOOKHOSWKHPJHWRIIHUV

 7KHUHLVFRQFHUQWKDWRQHRIWKHGULYHUVLQYDULDQFHLQPHGLDQ0(/'LVWKHSUHYDOHQFHRIH[FHSWLRQ
 SDWLHQWVDQGKLJKH[FHSWLRQVFRUHVLQFHUWDLQDUHDV:K\GLGQ¶WWKHFRPPLWWHHXVHODERUDWRU\0(/' DQG
 H[FOXGHH[FHSWLRQV IRUWKH00D7FDOFXODWLRQ"


 &RPPLWWHH&RPPHQWV
 237181263DWLHQW$IIDLUV&RPPLWWHH
 7KH237181263DWLHQW$IIDLUV&RPPLWWHHWKDQNVWKH/LYHU ,QWHVWLQDO2UJDQ&RPPLWWHHIRUWKH
 RSSRUWXQLW\WRSURYLGHIHHGEDFNRQWKHLUSURSRVDOWRHOLPLQDWH'6$DQG5HJLRQIURPOLYHUGLVWULEXWLRQ
 8QDQLPRXVO\WKH3$&ZKROHKHDUWHGO\VXSSRUWVDSURSRVDOWKDWIDFLOLWDWHVEURDGHUGLVWULEXWLRQRIQRWMXVW
 OLYHUVEXWDOORUJDQVDQGWKXVPLQLPL]HVWKHVLJQLILFDQFHRIJHRJUDSK\LQDOORFDWLRQ$OWKRXJKWKHUHZDV
 VWLOOVRPHUHVLGXDOFRQIXVLRQDERXWWKHXVHRIFRQFHQWULFFLUFOHVLQOLJKWRIWKHIUDPHZRUNVUHFHQWO\RXW
 IRUSXEOLFFRPPHQWDPDMRULW\XQGHUVWRRGWKHFRQVWUDLQWVZLWKLQZKLFKWKH/LYHU&RPPLWWHHKDGWRPDNH
 UDSLGFKDQJHV7KH3$&VXSSRUWVDVROXWLRQWKDW




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 3ULRULWL]HVWKHVLFNHVWFDQGLGDWHVILUVW

 3URPRWHVXWLOL]DWLRQDQGPLWLJDWHVGLVFDUGV

 'RHVQRWSURORQJWKHDOORFDWLRQSURFHVV

 &RQVLGHUVUHFLSLHQWJUDIWRXWFRPHV

 7KH3$&ZDVHYHQO\VSOLWUHJDUGLQJZKHWKHUWKH%URDGHU&LUFOH %& RUWKH$FXLW\EDVHG0RGHOZDV
 WKHEHWWHUVROXWLRQ7KRVHIDYRULQJWKH%&WHQGHGWRDOVRZRUNLQWKHWUDQVSODQWRU232SURIHVVLRQRU
 KDGRWKHUILGXFLDU\H[SHULHQFHVRZHUHVHQVLWL]HGWRFRVWFRQFHUQV7KLVFRKRUWIHOWWKLVPRGHOEDODQFHV
 HTXLW\LQDFFHVVDQGSULRULWL]LQJWKHPRVWXUJHQWSDWLHQWVILUVWZKLOHRSWLPL]LQJVXFFHVVIXORUJDQ
 WUDQVSODQWVDYRLGLQJRUJDQZDVWDJHDQGPLWLJDWLQJFRVWV7KHVHPHPEHUVHPSKDVL]HGFRQFHUQVRWKHU
 WUDQVSODQWSURIHVVLRQDOVKDYHFLWHGSHUWDLQLQJWRFRVWLQFUHDVHV0HPEHUVDFNQRZOHGJHGWKDWDOWKRXJK
 EH\RQGWKH2371¶VSXUYLHZUHLPEXUVHPHQWVKRXOGEHDGGUHVVHGZLWKDOOSD\HUVQRWMXVWE\&06WR
 MXVWLI\DQGGRFXPHQWWKDWSDWLHQWVHYHQVLFNHURQHVUHFHLYLQJWUDQVSODQWVVRRQHUWKDQWKRVHXQGHUWKH
 FXUUHQWDOORFDWLRQV\VWHPFDQUHWXUQWRKHDOWKLHUOLIHVW\OHVDQGXOWLPDWHO\UHGXFHWKHLUFRVWRIFDUHRYHUDQ
 H[WHQGHGSHULRGRIWLPH$IHZPHPEHUVIHOWWKH2371VKRXOGEURDFKWKLVVXEMHFWZLWKWKLUGSDUW\SD\HUV
 +RZHYHUWKHDYHUDJHSDWLHQWKDVQRNQRZOHGJHRIWKHILVFDOLPSDFWWKHVHFKDQJHVZLOOKDYHWRSURJUDPV
  RU232V RUWKHGRZQVWUHDPILQDQFLDOHIIHFWV7KH3$&GLGDFNQRZOHGJHWKDWLIWKHFRVWLQFUHDVHVZHUH
 VRVLJQLILFDQWWKDWWKH\FDXVHGDWUDQVSODQWSURJUDPFORVXUHWKLVFRXOGLPSDFWDFFHVV,QWHUPVRIFLUFOH
 VL]HWKH3$&FRQWLQXHVWRVHHNDILUPUHFRJQLWLRQWKDWWKHYDULDEOHRIFRQFHUQLVUHDOO\WLPHQRWGLVWDQFH
 6KRXOGWKLVV\VWHPEHDGRSWHGVRPHPHPEHUVVXSSRUWHGD0(/'WKUHVKROGRIEDVHGXSRQ
 LQFUHDVHGPRUWDOLW\ULVNRIWKHRWKHURSWLRQV2WKHUPHPEHUVVXSSRUWHGDKLJKHUWKUHVKROGVXFKDV
 ZKLFKLVZKDWWKH2371%RDUGRI'LUHFWRUVDSSURYHGLQ'HFHPEHU

 7KRVHZKRVXSSRUWHGWKHDFXLW\PRGHOIHOWWKLVV\VWHPZRXOGSURYLGHDPRUHHTXLWDEOHGLVWULEXWLRQRI
 OLYHUVEDVHGXSRQ0HGLDQ0(/'DW7UDQVSODQW 00D7 DQG:DLWOLVW0RUWDOLW\5DWHV)URPDSDWLHQW
 SHUVSHFWLYHDQGDOOWKLQJVEHLQJHTXDOWKH3$&IHOWWKLVPRGHOZDVPRUHHTXLWDEOHDQGLQOLQHZLWKWKH
 )LQDO5XOH,GHDOO\QHLWKHUFRVWQRUJHRJUDSK\ZRXOGGLVDGYDQWDJHFDQGLGDWHV7KH\DOVRGHEDWHG
 ZKHWKHURXWFRPHVZRXOGEHEHWWHU WUDQVSODQWLQJVLFNHUSDWLHQWVHDUOLHUEHIRUHWKH\DUHWRRVLFNWREH
 WUDQVSODQWHGRUGLHRQWKHZDLWLQJOLVW RUSRWHQWLDOO\QHJDWLYHO\LPSDFWHG IURPWKHHIIHFWVRISRWHQWLDOO\
 ORQJHULVFKHPLFWLPHVRUWUDQVSODQWLQJVLFNHUFDQGLGDWHV 

 7KHUHZDVPL[HGVXSSRUWIRUH[WHQGLQJWKH&ORVHG9DULDQFHIRU$OORFDWLRQRI%ORRG7\SH2'HFHDVHG
 'RQRU/LYHUVLQ+DZDLLWR3XHUWR5LFR 35 7KRVHZKRIDYRUHGDSSO\LQJWKHYDULDQFHWR35IHOWLWZDV
 UHDVRQDEOHDVWKHJHRJUDSKLFFKDOOHQJHVIRUWKHVHQRQFRQWLJXRXVVWDWHVZHUHOLNHO\VLPLODU,QDGGLWLRQ
 WKHUHZDVVRPHVXSSRUWIRUIXUWKHUH[WHQGLQJDYDULDQFHWR$ODVNDDQGRWKHUDUHDVLQZKLFKWKHUHLVQRWD
 WUDQVSODQWKRVSLWDOZLQWKHQDXWLFDOPLOHFLUFOH SHUKDSVH[WHQGLQJWKHDOORFDWLRQDUHDWRDVOLJKWO\
 ODUJHUDUHDHJDQDGGLWLRQDORUQDXWLFDOPLOHV +RZHYHUVRPHPHPEHUVIHOWWKDW35ZDVQRWLQ
 WKHVDPHSRVLWLRQDV+DZDLLDQGZDVQRWDWDVPXFKRIDGLVDGYDQWDJH2WKHUVSURSRVHGUHYLVLWLQJWKLV
 TXHVWLRQDVSDUWRIWKHSRVWLPSOHPHQWDWLRQPRQLWRULQJ

 :KLOHQRWGLUHFWO\UHODWHGWRWKHSURSRVDOGHFLVLRQUHTXHVWHGWKH3$&HPSKDVL]HGHGXFDWLRQQRWRQO\IRU
 WKHWUDQVSODQWFRPPXQLW\EXWSDUWLFXODUO\IRUWKHJHQHUDOSXEOLFDQGSDWLHQWV$VWKH2371PRGLILHVWKH
 JHRJUDSKLFGLVWULEXWLRQIRUWKHRWKHURUJDQV\VWHPVDSURDFWLYHPHVVDJLQJVWUDWHJ\ZRXOGEHKHOSIXOWR
 HQVXUHSXEOLFWUXVWLQWKHRUJDQDOORFDWLRQV\VWHPSURPRWLQJHTXLW\DQGIDLUQHVVDQGHQFRXUDJLQJ
 GRQDWLRQ

 )LQDOO\DQGQRWVSHFLILFWRWKLVSURSRVDOWKH3$&FRQWLQXHVWRHQFRXUDJHDOO2371FRPPLWWHHVWRZULWH
 SROLF\SURSRVDOVDWDOHYHODQDYHUDJHFDQGLGDWHRUUHFLSLHQWZRXOGXQGHUVWDQG7KLVLVHVVHQWLDOWRPRUH
 SDWLHQWVVXEPLWWLQJIHHGEDFN$SDJHSURSRVDOZULWWHQLQ³SURIHVVLRQDOVSHDN´LQWLPLGDWHVDQG
 GLVFRXUDJHVPHPEHUVRIWKHJHQHUDOSXEOLFIURPFRPPHQWLQJRQWKHVHSROLF\SURSRVDOV,IWKHHQWLUH
 SURSRVDOFDQQRWEHZULWWHQLQSODLQODQJXDJHZHZRXOGDGYRFDWHIRUDQDFFRPSDQ\LQJ³OD\PDQ¶V
 DEVWUDFW´RUVXPPDU\



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 3$&PHPEHUVDVNHGWKHIROORZLQJTXHVWLRQVZKLFKZHUHDQVZHUHGWRWKHVDWLVIDFWLRQRIWKHJURXS

 4XHVWLRQ0RVWOLYLQJGRQRUUHFLSLHQWVGRQRWUHFHLYHWKHLUWUDQVSODQWEDVHGRQWKHLU0(/'RU3(/'
 VFRUHEHFDXVHWKH\DUHRIWHQUHFLSLHQWVRIGLUHFWHGGRQDWLRQVZKHUHWKHGRQRUQDPHVWKHUHFLSLHQW
 UDWKHUWKDQWKHUHFLSLHQWEHLQJDOORFDWHGIROORZLQJDPDWFKUXQ7KH/LYHU&RPPLWWHHLVSURSRVLQJ
 H[FOXGLQJWKHVHGRQRUV¶IURPWKHFDOFXODWLRQRI00D7DQG03D7EHFDXVHWKHVFRUHVDWWUDQVSODQWIRU
 WKHVHUHFLSLHQWVWHQGWREHRXWOLHUV:K\"

            $QVZHU7KHVHDUHEHLQJH[FOXGHGDVWKHVHFDQGLGDWHVDUHW\SLFDOO\WUDQVSODQWHGDWDORZHU
            00D7DQGPD\GLVDGYDQWDJHRWKHUSDWLHQWVLIWKH\ZHUHLQFOXGHGLQWKHV\VWHPWKDWFDOFXODWHV
            00DWDQG03D7

 4XHVWLRQ+RZH[DFWO\ZLOOWKH%&YV$FXLW\PRGHOLPSURYHPRUWDOLW\UDWHVRQZDLWOLVWV"

            $QVZHU7KHH[SHFWHGVXUYLYDORQWKHZDLWOLVWZDVFDOFXODWHGWRKDYHLPSURYHGXQGHUWKHVH
            PRGHOEHFDXVHSDWLHQWVZKRZRXOGKDYHEHHQWRRVLFNWREHWUDQVSODQWRUZHUHDWKLJKHVWULVNWR
            GLHZKLOHZDLWLQJZLOOEHWUDQVSODQWHG

 4XHVWLRQ+RZZLOOVSOLWOLYHUVEHDOORFDWHG"

            $QDVZHU([DFWO\DVWKH\DUHWRGD\

 4XHVWLRQ:KDWWLPHIUDPHGLGWKHPRGHOOLQJFRYHU"

            $QVZHU7KHPRGHOOLQJLQFOXGHGWUDQVSODQWVFRQGXFWHGRYHUD\HDU¶VWLPH

 4XHVWLRQ,IWKHSHGLDWULFOLVWLVH[KDXVWHGQDWLRQDOO\WKHQZRXOGWKHRIIHUFRPHEDFNWRDGXOWDOORFDWLRQ
 DQGVWDUWRYHU"

            $QDVZHU<HVWKHRIIHUVZLOOEHH[WHQGHGWRDGXOWFDQGLGDWHVDIWHUSHGLDWULFFDQGLGDWHVDVLV
            GRQHWRGD\

 4XHVWLRQ,IWUDYHOLVUHVWULFWHGGXHWRZHDWKHUUHODWHGHYHQWVLVWKHUHDFRQWLQJHQF\GLVWULEXWLRQPRGHO
 LQSODFHVRGLVFDUGVGRQRWRFFXUGXHWRZHDWKHUUHODWHGLQFLGHQWV":RXOGWKHRUJDQWKHQEHDOORFDWHG
 ZLWKLQDQRQIO\DUHDPLOHV"

            $QVZHU7KHUHLVQRW8VXDOO\WKLVLVQRWDQLVVXHLWLVUDUHWKDWSURFXUHPHQWWHDPVFDQ¶WJHWDQ
            RUJDQWRDSRWHQWLDOUHFLSLHQW6RPHWLPHVWKHSDWLHQWFDQ¶WWUDYHO7HDPVW\SLFDOO\KDYHDUREXVW
            EDFNXSSODQVRRUJDQVGRQRWJRWRZDVWH

 4XHVWLRQ:KDWLVWKHWLPHWDEOHIRULPSOHPHQWDWLRQ"

            $7KH1DWLRQDO/LYHU5HYLHZ%RDUGLVH[SHFWHGWREHLPSOHPHQWHGLQWKHILUVWTXDUWHURI
            DQGWKHDOORFDWLRQFKDQJHVZLOOWDNHHIIHFWDIWHUWKDW

 237181260LQRULW\$IIDLUV&RPPLWWHH
 2Q2FWREHUWKH0LQRULW\$IIDLUV&RPPLWWHH 0$& KHDUGDSUHVHQWDWLRQRQWKH/LYHU
 &RPPLWWHH¶VSURSRVHGFKDQJHVWRJHRJUDSKLFOLYHUDOORFDWLRQ7KH0$&WKDQNVWKH/LYHU&RPPLWWHHIRU
 LWVZRUNRQWKHSURSRVDO7KHIROORZLQJTXHVWLRQVZHUHDVNHGE\0$&PHPEHUVDQGDQVZHUHGE\WKH
 /LYHU&RPPLWWHHFKDLU

 4XHVWLRQ'RHVWKH6575PRGHOLQJXSRQZKLFKWKHSURSRVDOLVEDVHGVKRZDQLPSDFWRQPLQRULW\
 SRSXODWLRQV"

            R$QVZHU1RWKHPRGHOLQJJHQHUDOO\GLGQRWVKRZSRVLWLYHRUQHJDWLYHLPSDFWRQPLQRULW\
            SRSXODWLRQVFRPSDUHGWRWKHFXUUHQWV\VWHP:KLOHHWKQLFLW\DQGJHQGHUZHUHQHXWUDOFRPSDUHG
            WRWKHFXUUHQWV\VWHPWKHUHZDVDVOLJKWO\SRVLWLYHLPSDFWRQSHGLDWULFOLYHUFDQGLGDWHV




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 4XHVWLRQ&RXOGWKHSURSRVHGFKDQJHVOHDGWROLYHUVEHLQJVKLSSHGVLJQLILFDQWGLVWDQFHVEHIRUHWKHOLYHU
 VXUJHRQDVVHVVHVWKHRUJDQLQFUHDVLQJGLVFDUGUDWHV"

            o $QVZHU,WLVVWDQGDUGIRUOLYHUVXUJHRQVWRWUDYHOWRSURFXUHWKHRUJDQVQRZRUXVHWKHORFDO
               FHQWHUWKDWWKH\KDYHDUHODWLRQVKLSZLWKWRGRVRWKHUHIRUHWKHVXUJHRQVZRXOGNQRZDWWKH
               WLPHRISURFXUHPHQWWKHOLYHUTXDOLW\DQGGLVFDUGUDWHVVKRXOGQ¶WEHLPSDFWHG

 4XHVWLRQ:KDWZLOOEHWKHLPSDFWZLWK6/."

            o $QVZHUQP WKHVL]HEHLQJFRQVLGHUHGE\WKH/LYHU&RPPLWWHH LVVPDOOHUWKDQPRVW
               UHJLRQVDOWKRXJKLWZRXOGEHDPRYLQJFLUFOHEDVHGRQGRQRUKRVSLWDO7KHUHLVQRLQGLFDWLRQ
               WKHUHZRXOGEHEURDGHUVKDULQJRINLGQH\VZLWK6/.WKDQZKDWLWLVDWWKHFXUUHQWWLPHEXWWKH
               &RPPLWWHHZLOOPRQLWRUFORVHO\

 4XHVWLRQ:LOOWKH/LYHU&RPPLWWHHFDUHIXOO\FRQVLGHUUXUDOJHQGHUUDFHDQGRWKHUPLQRULW\DQG
 VRFLRHFRQRPLFSRSXODWLRQVLQWKHSRVWLPSOHPHQWDWLRQPRQLWRULQJSODQ"

            o $QVZHU<HVFRQVLGHUDWLRQRIWKHVHSRSXODWLRQVLVFULWLFDODQGZLOOEHLQFOXGHGLQWKHSRVW
               LPSOHPHQWDWLRQPRQLWRULQJSODQ

 4XHVWLRQ'LGWKH/LYHU&RPPLWWHHFRQVLGHUWKHLPSDFWRQZDLWOLVWPRUWDOLW\DQGFRVWV"

            o $QVZHU<HV±ZDLWOLVWPRUWDOLW\IRUERWKWKH%&DQGDFXLW\FLUFOHVZRXOGEHVOLJKWO\EHWWHU
               WKDQWKHFXUUHQWV\VWHPDQGWKH%RDUGDSSURYHGRSWLRQ$OWKRXJKDVVHVVLQJLPSDFWRQ
               FRVWVFDQEHGLIILFXOWWKHPRGHOLQJGLGORRNDWIO\LQJUDWHVDQGWKHUHZDVDQLQFUHDVHZKLFK
               LQGLFDWHVDSRWHQWLDOLQFUHDVHLQFRVWV

 237181263DQFUHDV7UDQVSODQWDWLRQ&RPPLWWHH
 2Q2FWREHUWKWKH3DQFUHDV&RPPLWWHHUHYLHZHGWKH/LYHU&RPPLWWHH¶VSURSRVDOWRFKDQJH
 JHRJUDSKLFDOORFDWLRQ7KH3DQFUHDV&RPPLWWHHWKDQNVWKH/LYHU&RPPLWWHHIRULWVHIIRUWVDQGIRUWKH
 RSSRUWXQLW\WRFRPPHQWRQLWVSURSRVDO7KHIROORZLQJTXHVWLRQVZHUHDVNHGE\3DQFUHDV&RPPLWWHH
 PHPEHUVDQGDQVZHUHGE\WKH/LYHU&RPPLWWHHDQDO\VW

 4XHVWLRQ+RZZHUHWKHSHUFHQWDJHVRIRUJDQVIORZQFDOFXODWHG"

            o $QVZHU7KH6575EDVHGWKH/6$0HVWLPDWHRQGLVWDQFHVSHFLILFDOO\RQWKHGLVWDQFHDW
               ZKLFKGULYLQJZRXOGVZLWFKWRIO\LQJ7KHUHZLOOEHYDULDWLRQEDVHGRQGLIIHUHQFHVLQSRSXODWLRQ
               GHQVLW\LQWKHFRXQWU\

 4XHVWLRQ:LOOWKHFKDQJHVUHVXOWLQDVLJQLILFDQWFKDQJHLQ6/.WUDQVSODQWV"

            o $QVZHU7KHUHLVQRWHVWLPDWHGWREHDVLJQLILFDQWFKDQJHLQ6/.WUDQVSODQWV7KHVDPH
               TXDOLILFDWLRQVZLOOH[LVWWREHFRQVLGHUHGIRUDQ6/.WUDQVSODQWLWZLOOQRWFKDQJHWKHRUGHULQ
               ZKLFKDQRUJDQLVRIIHUHGDFFRUGLQJWRJHRJUDSKLFGLVWULEXWLRQ

 4XHVWLRQ:KDWZLOOEHWKHHIIHFWRQVPDOOOLYHUSURJUDPV±FRXOGVRPHVKXWGRZQEHFDXVHWKH\GR
 IHZHUWUDQVSODQWV"

            o $QVZHU7KHUHZLOOEHYDULDWLRQLQKRZLQGLYLGXDOSURJUDPVUHVSRQGWRWKHFKDQJHVVRPH
               SURJUDPYROXPHPD\LQFUHDVHZKLOHRWKHUSURJUDPVPD\VHHYROXPHVKULQN,WLVLPSRUWDQWWR
               QRWHWKDWWKHPRGHOLQJFDQQRWDFFRXQWIRUFKDQJHVLQEHKDYLRUWKDWPD\UHVXOWIURPFKDQJHV
               LQDOORFDWLRQ

 237181267UDQVSODQW&RRUGLQDWRUV&RPPLWWHH
 7KH237181267UDQVSODQW&RRUGLQDWRU&RPPLWWHH 7&& WKDQNVWKH/LYHU ,QWHVWLQDO2UJDQ
 &RPPLWWHHIRUWKHRSSRUWXQLW\WRSURYLGHIHHGEDFNRQWKHLUSURSRVDOWRHOLPLQDWH'6$DQG5HJLRQIURP




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 OLYHUGLVWULEXWLRQ7KH7&&UHYLHZHGWKHSURSRVDODQGSURYLGHGWKHIROORZLQJIHHGEDFNEDVHGRQWKH
 TXHVWLRQVWKH/LYHU&RPPLWWHHSRVHG

 D:KDW0(/'VKDULQJWKUHVKROGGRHVWKH&RPPLWWHHUHFRPPHQG"

 7KH7&&VXSSRUWVD0(/'WKUHVKROGRI2QDYHUDJHZLWKDIHZH[FHSWLRQVPRVWSURJUDPVDUH
 WUDQVSODQWLQJFDQGLGDWHVZLWKD0(/'RIDURXQGRUORZHU$OWKRXJKWKLVZRXOGPHDQPRUHFDQGLGDWHV
 ZRXOGEHLQWKHFDWFKPHQWDUHDWKHJURXSIHOWWKLVZRXOGEHPRUHHTXLWDEOH

 E:KHWKHUWKHVL]HVRIWKHIL[HGGLVWDQFHFLUFOHVVKRXOGEHODUJHUVPDOOHURUUHPDLQWKHVDPH

 7KH7&&GLGQRWH[SOLFLWO\UHVSRQGWRWKLVTXHVWLRQ

 F:KHWKHUWKH&RPPLWWHHSUHIHUVWKHEURDGHUFLUFOHPRGHORUWKHDFXLW\FLUFOHVPRGHO

 7KH7&&VXSSRUWVWKHDFXLW\PRGHO7KHWUDYHOWLPHLQFUHDVHVHHPVDFFHSWDEOHLQOLJKWRIWKHLPSDFWRQ
 ZDLWOLVWPRUWDOLW\,QRWKHUZRUGVLWDSSHDUVPDQ\PRUHOLYHVZRXOGEHVDYHGZLWKDPDUJLQDOLQFUHDVHLQ
 WUDYHOWLPH

 G'R\RXVXSSRUWH[SDQGLQJ3ROLF\%&ORVHG9DULDQFHIRU$OORFDWLRQRI%ORRG7\SH2'HFHDVHG
 'RQRU/LYHUVLQ+DZDLLWRDSSO\WR3XHUWR5LFRDVZHOO"

 7KH7&&VXSSRUWVH[SDQGLQJWKHYDULDQFHWR+DZDLLDVLWVWDQGVWKDW3XHUWR5LFROLNHO\IDFHVVLPLODU
 FKDOOHQJHV

 7KH7&&QRWHGWKDWDVRUJDQUHFRYHU\FHQWHUVSUROLIHUDWHDOORFDWLRQEDVHGRIIRIWKRVHORFDWLRQVZLOOKDYH
 WREHDGGUHVVHG

 237181262SHUDWLRQVDQG6DIHW\&RPPLWWHH
 7KH2SHUDWLRQVDQG6DIHW\&RPPLWWHHGLVFXVVHGWKLVSURSRVDODQGRIIHUVWKHIROORZLQJUHVSRQVHV7KH
 &RPPLWWHHVXSSRUWVWKHSURSRVHGVL]HRIWKHIL[HGGLVWDQFHFLUFOHV7KH&RPPLWWHHVXSSRUWVWKH
 H[SDQVLRQRIWKH+DZDLLYDULDQFHWR3XHUWR5LFRLQRUGHUWRPLWLJDWHWKHQHJDWLYHLPSDFWRQFDQGLGDWHVLQ
 3XHUWR5LFR7KH&RPPLWWHHDJUHHGWKDWYDULDQFHZRXOGQRWFKDQJHLQWKHQHZDOORFDWLRQSROLFLHV7KH
 &RPPLWWHHDJUHHGWKHUHZLOOEHDQLQFUHDVHLQWUDYHOIRUOLYHUDOORFDWLRQVZKLFKZLOOLPSDFWFRVWVIRU232
 DQGWUDQVSODQWFHQWHUV7KH&RPPLWWHHKDVDFNQRZOHGJHGWKHUHLVDFXUUHQWUHJLRQDOVKRUWDJHRISLORWV
 DQGSODQHVQDWLRQDOO\ZKLFKPD\LQFUHDVHVWUHVVRQSURFXUHPHQWDQGRUJDQWUDQVSRUWORJLVWLFV7KH
 &RPPLWWHHDFNQRZOHGJHVWKHUHLVUHJLRQDOYDULDELOLW\DQGSURSRVHIXUWKHUHYDOXDWLRQDQGGDWDFROOHFWLRQ
 WRKHOSHQVXUHWKDWWKHVDIHW\RIRUJDQSODFHPHQWLVDVWUDQVSDUHQWDQGHIILFLHQWDVSRVVLEOH

 23718126(WKLFV&RPPLWWHH
 7KH(WKLFV&RPPLWWHHUHYLHZHGWKH/LYHU&RPPLWWHH VSURSRVDOGXULQJWKH2FWREHULQSHUVRQPHHWLQJ
 LQ&KLFDJR,/7KH(WKLFV&RPPLWWHHDSSUHFLDWHVWKHRSSRUWXQLW\WRFRPPHQWDQGWKHZRUNWKDWWKH/LYHU
 &RPPLWWHHKDVGRQHLQSUHSDULQJWKLVSURSRVDO7KH(WKLFV&RPPLWWHH VFRPPHQWVFHQWHUHGRQWKH
 GLIILFXOW\RIIXOO\FRQVLGHULQJWKHLPSOLFDWLRQVRIWKH/LYHU&RPPLWWHH VSURSRVDOJLYHQWKHOLPLWHGWLPHDQG
 ODFNRIDGHTXDWHMXVWLILFDWLRQVIRUWKHLUUHFRPPHQGDWLRQ6RPHVXJJHVWHGWKDWFRVWDQGHIILFLHQF\
 FRQVLGHUDWLRQVGRQRWVXSHUVHGHWKHLPSRUWDQFHRIHTXLW\LQFKDQJLQJJHRJUDSKLFDOORFDWLRQ$FRXSOHRI
 FRQFHUQVZHUHUDLVHG,QDGHTXDWHHWKLFDOMXVWLILFDWLRQIRUSURSRVHGFKDQJHV7KH&RPPLWWHHZDV
 FRQFHUQHGWKDWLWFRXOGQRWDGHTXDWHO\HYDOXDWHWKH/LYHU&RPPLWWHH VUHFRPPHQGDWLRQVEHFDXVHWKH
 UDWLRQDOHVIRUWKHWZRRSWLRQV %&DQGDFXLW\ ZHUHQRWSURYLGHGLQUHODWLRQWRRWKHURSWLRQV,Q
 SDUWLFXODUWKHGLIIHUHQFHVEHWZHHQWKH%&DQGDFXLW\FLUFOHRSWLRQVZHUHQRWDGHTXDWHO\H[SODLQHGQRU
 ZDVWKHMXVWLILFDWLRQIRUSUHIHUULQJ%&WRDFXLW\7KH/LYHU&RPPLWWHHVKRXOGFOHDUO\LGHQWLI\WKHUDWLRQDOH
 IRUVHOHFWLQJRQHRSWLRQRYHUDQRWKHUDVZHOODVWKHUHODWLYHLPSDFWRIHDFKFRQVLGHUHGRSWLRQRQHTXLW\
 DQGXWLOLW\&RQFHUQIRUKDUPLQJXQGHUVHUYHGYXOQHUDEOHSRSXODWLRQV0DQ\WKHRULHVRIGLVWULEXWLYH
 MXVWLFHVXJJHVWWKDWZKLOHDVLQJOHSROLF\FDQQRWUHFWLI\H[LVWLQJLQHTXDOLWLHVDSROLF\RXJKWQRWWR
 H[DFHUEDWHLQHTXDOLWLHV7KHDFFHOHUDWHGWLPHOLQHXQGHUZKLFKWKH/LYHU&RPPLWWHHZDVUHTXLUHGWRPDNH




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 FKDQJHVWROLYHUJHRJUDSKLFDOORFDWLRQPLJKWKDYHXQLQWHQGHGFRQVHTXHQFHVIRUYXOQHUDEOHSRSXODWLRQV
 EHFDXVHWKHDQDO\VHVPD\QRWKDYHFRQVLGHUHGDOOSRWHQWLDORXWFRPHV,QSDUWLFXODUPHPEHUVH[SUHVVHG
 FRQFHUQWKDWUXUDOSDWLHQWVFRXOGEHDGYHUVHO\DIIHFWHGDQGWKH/LYHU&RPPLWWHHVKRXOGFRQVLGHUWKH
 SRWHQWLDOLPSDFWWRWKHVHDQGRWKHUSDWLHQWVZKHQGHYHORSLQJWKHLUUHFRPPHQGDWLRQV(IIRUWVPXVWEH
 PDGHWRHQVXUHWKDWWKHSHUVSHFWLYHVRIKLVWRULFDOO\XQGHUUHSUHVHQWHGJURXSVDQGWKHYXOQHUDEOHEH
 LQFOXGHGLQDOORFDWLRQSROLFLHV7KH/LYHU&RPPLWWHHVKRXOGDOVRDVVHVVWKHSURMHFWHGLPSDFWRIWKHLU
 UHFRPPHQGDWLRQRQWKHSRWHQWLDOFORVXUHRIWUDQVSODQWSURJUDPVVHUYLQJUXUDODUHDVDQGXQGHUVHUYHG
 SRSXODWLRQV7KH/LYHU&RPPLWWHHVKRXOGEHWWHUH[SODLQWKHLPSOLFDWLRQVRIVXSSRUWLQJRQHVROXWLRQRYHU
 DQRWKHU(WKLFV&RPPLWWHHPHPEHUVLQGLFDWHGWKDWFRVWDQGHIILFLHQF\VKRXOGQRWGULYHDVROXWLRQ
 FKDUDFWHUL]HGE\JUHDWHUHIILFLHQF\DQGOHVVHTXLW\(QVXULQJHTXLW\PHDQVJLYLQJSDWLHQWVUHDVRQDEOH
 OLNHOLKRRGWRDFFHVVWUDQVSODQWDWLRQUHJDUGOHVVRIWKHLUJHRJUDSKLFORFDWLRQ

 237181262UJDQ3URFXUHPHQW2UJDQL]DWLRQ&RPPLWWHH
 7KH232&RPPLWWHHGLVFXVVHGWKLVSURSRVDODQGRIIHUVWKHIROORZLQJUHVSRQVHV

 7KH&RPPLWWHHVXSSRUWVWKHSURSRVHGVL]HRIWKHIL[HGGLVWDQFHFLUFOHV7KH&RPPLWWHHDFNQRZOHGJHG
 WKDWWKHUHDUHGLIIHUHQFHVLQSRSXODWLRQVDFURVVWKHFRXQWU\EXWIRUVLPSOLFLW\LWLVEHVWWRNHHSWKH
 GLVWDQFHVWKHVDPHXQWLOIXUWKHUHYDOXDWLRQRISRSXODWLRQGHQVLW\FDQEHFRPSOHWHG

 7KH&RPPLWWHHVXSSRUWVWKHEURDGHUFLUFOHPRGHODQGUHFRPPHQGWKDWWKH/LYHU&RPPLWWHHFRQWLQXH
 WRHYDOXDWHWKLVPRGHOEDVHGRQWKHGDWD

 7KH&RPPLWWHHVXSSRUWVWKHH[SDQVLRQRIWKH+DZDLLYDULDQFHWR3XHUWR5LFRLQRUGHUWRPLWLJDWHWKH
 QHJDWLYHLPSDFWRQFDQGLGDWHVLQ3XHUWR5LFRZLWKWKHSURSRVHGFKDQJHIURPUHJLRQVWRIL[HGGLVWDQFH
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 7KH&RPPLWWHHDJUHHGWKDWWKHUHZLOOEHDEXGJHWDU\LPSDFWIRUERWKWKH2371DQG232FRPPXQLW\
 7KH&RPPLWWHHDJUHHGWKDWXSJUDGHVWR'RQRU1HWDUHQHHGHGDVEURDGHUGLVWULEXWLRQPRGHOVDUH
 HYDOXDWHGDQGLPSOHPHQWHG7KLVZLOOKHOSHQVXUHWKDWRUJDQSODFHPHQWLVWUDQVSDUHQWDQGHIILFLHQWDQG
 FRXOGSRWHQWLDOO\SURYLGHLPSRUWDQWGDWDIRUIXWXUHHIIRUWV7KH&RPPLWWHHDOVRDJUHHGWKDW232VZLOOKDYH
 DQLQFUHDVHLQFRVWVUHODWHGWRGDWDFROOHFWLRQWUDQVSRUWDWLRQDQGORJLVWLFDOLVVXHVVXFKDVFRRUGLQDWLQJ
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